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EXHIBIT 2

 

 
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VERITEXT

LEGAL SOLUTIONS

Deposition of:

Robert Buczkowski
August 22, 2019

In the Matter of:

Madison Mechanical, Inc. Vs. Twin
City Fire Insurance Company

Veritext Legal Solutions
800.808.4958 | calendar-dmv@veritext.com |

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

MADISON MECHANICAL, INC.,:

et al.
Plaintiffs
Vs. : Case No.:
TWIN CITY FIRE INSURANCE : 1:17-cv-01357-GLR

COMPANY, et al.

Defendants

Deposition of ROBERT BUCZKOWSKI, was
taken on Thursday, August 22, 2019, commencing at
11:08 a.m., at Baxter, Baker, Sidle, Conn & Jones,
120 Bast Baltimore Street, 21st Floor, Baltimore,

Maryland, before MICHELE D. LAMBIE, Notary Public.

Reported By:

Michele D. Lambie, CSR-RPR

 

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Page 2 Page 4
1 APPEARANCES: 1 BUCZKOWSKI EXHIBITS CONTINUED: MARKED
2 ON BEHALF OF THE PLAINTIFFS: 2 Exhibit 13 Email dated March 6, 2015 with 61
3 Baxter, Baker, Sidle, Conn & Jones attachment
3
4 DANIELLE M. VRANIAN, ESQUIRE ..
Exhibit 14 Email dated March 17, 2015 63
5 dmv@bbsclaw.com 4
6 CAROLINE PAYTON, ESQUIRE Exhibit 15 Complaint 66
7 120 East Baltimore Street, 21st Floor 5
8 Baltimore, Maryland 21202 6
9 (410) 230-3800 ?
10 ON BEHALF OF THE DEFENDANTS: 8
9
11. Wiley Rein LLP 0
12 CHARLES C. LEMLEY, ESQUIRE ll
13 clemley@wileyrein.com 12
14 ANNA J. SCHAFFNER, ESQUIRE 13
15 aschaffner@wileyrein.com I4
16 1776 K Street, N.W Is
17 Washington, D.C. 20006 16
17
18 (202) 719-7000 -
19 19
20 20
21 ALSO PRESENT: Edward J. Longosz, II, Esquire | 21
Page 3 Page 5
1 EXAMINATION INDEX l PROCEEDINGS
2 ROBERT BUCZKOWSKI
WITNESS: ROBERT BUCZKOWSKI PAGE —_
3. BY MR. LEMLEY 5 3 the Deponent, called for examination by the
BY MS. VRANIAN 67 4 Defendants, being first duly sworn to tell the
4 RBY MR. LEMLEY Ul 5 truth, the whole truth, and nothing but the truth,
5 6 testified as follows:
6 EXHIBIT INDEX
7 (Attached to Transcript.) 7 EXAMINATION
8 MARKED 8 BY MR. LEMLEY:
ROBERT BUCZKOWSKI 9  Q. Good morning still, Mr, Buczkowski, is
9 Exhibit 1 Renewal Application 11 10 that how you pronounce it?
10 Exhibit 2 Email dated September 25,2015 21 1 AY
Il Exhibit 3 Letter dated November 11,2015 29 , es.
12 Exhibit 4 Letter dated November 18,2015 33 12 Q. Buczkowski, okay. I may say Bob
13 Exhibit 5 Stockholder's Agreement 37 13 sometimes, because if I have to say Mr. Buczkowski
14 Exhibit 6 Letter dated January 14, 2016 4] 14 so many times. we'll be here till 4:00.
15 Exhibit 7 Letter dated May 10, 2016 44 '
16 Exhibit 8 Letter dated May 11,2016 48 15 A. That's fine. -
17 Exhibit 9 Consent of Sole Director 51 16 Q. What do you do for a living?
18 Exhibit 10 Affidavit of Robert Buczkowski 51 17. A. Right now I do construction, home
19 Exhibit 11 Confidential Settlement Agreement 51 18 improvement.
20 and Release 19 Q. Who do you work for?
Exhibit 12 Email dated November 19, 2011 with 59 20 A. Myself.
21 attachment 21 Q. Tunderstand there was a time when you

 

 

 

2 (Pages 2- 5)

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1 were affiliated with Madison Mechanical OS Corp. | what were done by Madison Mechanical, Inc.?
2 and Madison Mechanical, Inc.; is that correct? 2 <A. No.
3. A. Yes. 3. Q. And what did you have -- you also had a
4  Q. When did you first become involved with 4 position as an officer of one of those entities; is.
5 either of those companies? 5 that correct?
6 A. Ibelieve it was around about 2000, the 6 =A. Yes.
7 summer of 2000. 7  Q. What was that position?
8 Q. How did you come to be involved with 8 A. I believe it was secretary.
9 them? 9 Q. Secretary of which one, do you know? It
10 A. In 2000, I was actually doing some 10 probably didn't matter.
11 consulting work. I went over there to help out, 11 =A. Madison Mechanical, Inc. --
12 get their books straight. Mr. Garofalo, from 12) Q. Okay.
13 Harkins Builders, had called me. 13. A. --I believe.
14 Q. Harkins Builders you said? 14. Q. And were you also -- were you the chief
15 A. Yes. 15 financial officer?
16 Q. What was the -- I think I know this, but 16 A. Yes.
17 what was the relationship between Harkins Builders | 17 QQ. During what period of time was that when
18 and Madison Mechanical? 18 you were the chief financial officer?
19 <A. Back in 2000, Blase Cooke was the owner 19 A. Iwas in charge of the accounting
20 of both entities. 20 from -- I think I started at Madison in 2002 --
21 Q. And then at some point, did Mr. Garofalo 21 Q. Okay.
Page 7 Page 9
1 and others end up buying what is -- what became 1 A. -- fulltime. Roughly I believe that's
2 Madison Mechanical from him? 2 the time period, until termination.
3. A. Blase Cooke passed away, -- 3. Q. And termination, when was that?
4 Q. Oh. 4 A. Ireceived a letter, I believe, in
5 A. --and we purchased Madison from the 5 October of 2015.
6 estate. 6 Q. Did you have any other employment during
7  Q. Okay. So, do you remember approximately 7 that time frame, other than with Madison
8 what year that was? 8 Mechanical?
9 A. Ibelieve that was 2007. 9 A. No.
10 Q. Were you one of the -- were you one of 10 Q. How were you compensated at Madison
11 the shareholders in Madison Mechanical at that 11 Mechanical? I know that you were a shareholder of
12 time? 12 the corporation and also an officer. What was your
13. A. When we purchased it, yes. 13 compensation?
14 Q. And, as I understand it, Madison 14. A. There was a base salary and then a
15 Mechanical OS Corp. was the corporation that you | 15 percentage of profits.
16 owned shares in, and then Madison Mechanical, Inc.| 16 QQ. What was the base salary?
17 was the wholly-owned operating subsidiary; isthat |17 A. The base, I think, was 83 to 88,000. I
18 right? 18 can't recall exactly.
19 A. Yes, 19 Q. So, Mr. Garofalo, was he also employed by
20 Q. Did Madison Mechanical OS Corp. do 20 Madison Mechanical?
21 anything -- have any other operations, other than 21 A. He was not employed by Madison

 

 

3 (Pages 6 - 9)

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! Mechanical. He did -- I believe he -- he got a 1 Q. So, Ihave showed you what was marked as
2 percentage of profits. 2 Exhibit | to your deposition, and the first page
3. Q. Okay. Did he work for someone else, do 3 has numbers at the bottom. It's PLO00121; do you
4 you know? 4 see that?
5 A. He worked for Harkins Builders. 5 A. Yes.
6 Q. How about Mr. Haslam, was he employedby | 6 Q. Ifyou flip to the -- on the front page,
7 Madison Mechanical? 7 it says it's a private company renewal application
8 A. He was the president. 8 for The Hartford, and if you look at the last page,
9 Q. Did he also work for Harkins? 9 it ends in 127. It has your signature there and
10 A. No, he did not. 10 the date of April 6th, 2015; do you see that?
11 Q. Did you work for Harkins at any time? 11 A. Yes.
12. A. No, I didn't. I did some -- I'm trying 12 Q. Do you -- how did you come to be the
13. to remember exactly. I think it was just Madison 13 person who signed this application?
14 that I did work for when I did consulting back in 14. A. Twas the individual at Madison that
15 2000. I don't believe it was anything for Harkins. 15 worked with the insurance company on the renewals.
16 Q. While you were employed with Madison 16 Q. So, you would -- this was, I would
17 Mechanical, did you have an employment 17 presume, not the only application that you signed
18 agreement -- 18 while you were with Madison Mechanical?
19 A. No. 19 A. Correct.
20 Q. --a formal employment agreement? No 20  Q. When you say you worked with the
21 employment agreement? 21 insurance, who did you work with?
Page II Page 13
1 A. No employment agreement. 1 A. [would work with an individual named
2  Q. You were a party to the shareholder's 2 Kevin Bartley and Pat Bierderman. They were
3 agreement, correct? 3 employed with Alliant Insurance, --
4 A. Yes. 4  Q. Okay.
5 Q. As Tunderstand it, there was a 5 A. --and then I'd also work with Bill
6 shareholder's agreement that was dated 2007, and 6 Franey, who was employed with Alliant Insurance.
7 that was the shareholder's agreement throughout the | 7 Q. So, what was the relationship between
8 time period -- 8 Alliant and Madison Mechanical?
9 <A. Correct. 9 A. Alliant provided the business insurance
10 Q. -- that you were with Madison Mechanical; 10 for Madison Mechanical.
11 is that right? I'm going to just show you some 11 Q. Okay. Did Alliant -- did Madison
12 documents, and just walk through and ask you a few | 12 Mechanical purchase all of its insurance through
13 questions with those, and if -- if -- obviously, if 13 Alliant?
14 Task anything you don't understand, which is 14. A. Tbelieve everything was through Alliant.
15 possible, just let me know. 15 Q. What other kinds of insurance did Madison
16 A. Okay. 16 Mechanical have during the 2015/2016 time frame, if
17 MR. LEMLEY: And we'll have the court 17 you can recall?
18 reporter mark this one as Exhibit 1. 18 A. The normal business insurance; Workers’
19 (Whereupon, Buczkowski Deposition Exhibit | 19 Comp, general liability, you know, excess
20 1, Renewal Application, marked for identification.) | 20 lability.
21 BY MR. LEMLEY: 21 Q. Okay. And in this policy -- how would

 

 

 

4 (Pages 10 - 13)

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1 you refer to The Hartford policy that we're talking { Q. Okay.
2 about? The D&O policy, is that -- I have seen that 2 A. I don't recall any product lines on the
3 used in there. 3 msurance side of the house from Chubb.
4 A. Yes, I'm sure that was part of it. We 4  Q. So, did you have any dealings with
5 had a full -- full line of insurance products from 5 Mr. Franey or anyone else at Alliant regarding
6 them. 6 anything other than insurance?
7  Q. Was all of the other -- were all of the 7 A. Wehad the bonding with Mr. Franey, and
8 other insurance policies through The Hartford, or 8 Mr. Franey also would -- we'd meet with him, you
9 did you get those through other companies? 9 know, sometimes during the course of the year and
10 A. I don't recall exactly who provided all 10 talk about business.
11 of the underwriting. 11 Q. Was he sort of an advisor to Madison
12. Q. And do you recall, as far as directors 12 Mechanical?
13 and officers insurance, do you recall having 13. A. He was an advisor to us, yes.
14 directors and officers insurance as far back as 14. Q. Would he advise about business affairs
15 2007/2008? 15 that weren't necessarily related to insurance?
16 A. I believe we had it the entire time I was 16 <A. He became -- over the course of time, I
17 there. 17 know we met with him over the years. He became
18 Q. Do you recall Madison Mechanical having 18 heavily involved as we were having some financial
19 directors and officers insurance with any companies | 19 difficulties in the '13/'14/'15 time period.
20 other than The Hartford? 20 Q. And wasn't there a time period in which
21 A. The only one I really recall is The 21 he was contemplating investing in Madison
Page 15 Page 17
1 Hartford as the company. 1 Mechanical?
2  Q. Did you purchase insurance through 2 A. Yes.
3 Mr. Franey from -- you may have answered this, but 3 Q. Do you know whatever became of that? Did
4 let me just make sure. Did you purchase insurance 4 he ever invest or --
5 from Mr. Franey -- through Mr. Franey from other 5 A. He never invested where -- there was a
6 insurance companies? 6 lot of back and forth and us sending him reports
7 A. Ipaid -- my dealings was with Alliant on 7 and discussions, but nothing came of it.
8 the renewals. 8 Q. Did Madison Mechanical work with Alliant
9  Q. Alliant? 9 throughout the time that you were there from 2007
10 A. Yes. Alliant insurances or with Bill 10 through 2015?
11 Franey, and then we would typically pay Alliant on 11 A. For insurance renewals?
12 a monthly basis, or whatever the payment plan was. 12 Q. Yes.
13 So, I don't recall exactly who the other carriers 13. A. Yes.
14 were, the underlying carriers were. 14 Q. Okay. During that time period. Okay.
15 Q. Like, for example, I have seen documents 15 Did you ever work with Alliant in making claims on
16 referencing Chubb Insurance Company. Do you know 16 insurance or on surety bonds?
17 what kind of insurance came from Chubb? 17 A. Yes.
18 A. To my recollection, Chubb was our bonding 18  Q. How would you work with Alliant in that
19 company. 19 regard?
20. Q. Okay. 20 <A. Ifwe had a -- an insurance event that
21. +A. They provided the bonding. 21 took place on one of the jobs, then I would be the

 

 

 

5 (Pages 14 - 17)

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1 point person that would gather up all of the 1 ones from The Hartford, the 2015 or 2016 policies?
2 documentation, put the package together, and submit! 2 A. The actual policy itself?
3 it over to Alliant. 3. Q. Yes.
4  Q. Do you know, what did you anticipate 4 A. Indetail? Mr. Franey would come in once
5 Alliant would do with what you sent them? 5 he got the policies after the renewal, and we'd sit
6 <A. Hopefully, process it, go through it, and 6 and briefly go through them.
7 push it to get us money. 7 Q. Okay.
8 Q. Did you ever ask anyone at Alliant for 8 A. Ifthere was -- you know, if there was
9 advice on how to deal with a claim under an 9 anything in particular, I would assume he would
10 insurance policy? 10 have told me about it, but I did not read the
11 <A. I worked in great detail with Kevin 11 policy in detail.
12 Bartley mostly on the claims that were submitted. 12. Q. What about as far as the -- for example,
13, Q. Okay. 13 on the second page of this document, it ends in
14 A. Bill Franey and Pat Bierderman somewhat 14 122. Isee there's some check marks in some of the
15 on them in discussions. 15 boxes down towards the bottom of the page?
16 Q. So, would they advise you on whether to 16 A. Yes.
17 provide notice or how to provide notice of claims 17. Q. And then there's some numbers filled in
18 to insurance companies, for example? 18 here. Did you fill in those numbers and those
19 A. NotthatI recall. I mean, I would 19 check marks?
20 package it, any information. I would contact them |20 A. I would submit to Mr. Franey a
21 about a claim and then send the information over to |21 handwritten form, --
Page 19 Page 21
1 them, and that's pretty much the process that I had 1 Q. Okay.
2 with them. 2 A. --and then they would -- I never typed
3 Q. Okay. Did you -- while you were there 3 this up. Mine would be in handwriting, and then
4 from 2007 through 2015, did you ever -- were you 4 they would, I guess, fill it in online.
5 ever involved in making any other claims on 5  Q. You can set that aside for now.
6 directors and officers liability policies? 6 MR. LEMLEY: Mark that as Number 2,
7 A. Nothing on directors and officers. 7 please.
8 Q. What other kinds of claims can you 8 (Whereupon, Buczkowsk1 Deposition Exhibit
9 recall, other than surety bond claims? 9 2, Email dated September 25, 2015, marked for
10 A. Well, we didn't make any -- well, we 10 identification.)
11 never made any surety bond claims. Just basic, you | 11 BY MR. LEMLEY:
12 know, liability claims. 12. Q. So, we have handed you a document marked
13. Q. And did you -- on those claims, did you 13 as Exhibit 2, and there's two sets of numbers
14 ever provide notice directly to the insurance 14 there. The first set of numbers starts with a PL.
15 company, or was it always through Alliant? 15. A. Um-hum.
16 A. The only thing I recall contacting any of 16 Q. Actually, it looks like there's three
17 the underlying policyholders or -- was The Hartford | 17 sets of numbers.
18 for Workers' Comp claims. 18 MS. VRANIAN: Yeah.
19 Q. Did you -- for example, did you read the 19 MR. LEMLEY: There's something underneath
20 insurance policy that is -- either the insurance 20 that.
21 policies that have been at issue in this case, the 21 BY MR. LEMLEY:

 

 

 

6 (Pages 18 - 21)

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Oo OO IND NW BPW YP —

NN Se Fe Se ew Se ee eH
ee OF OO Om HM BPW YH — |

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Q. Two sets of numbers that are more than
one digit long. So, the first set starts with a
PL, and then the first page ends in 3782. And then
the other one on the lower right-hand corner says
DEFS'3419; do you see that?

A. Yes.

Q. Okay. Do you know what those numbers are
or how they came to be on the paper?

A.

case, to the documents that were used in the case I

I'm assuming they're references to my

had against Madison.
Q. Okay.

MS. VRANIAN: Charlie, just for the
record to make it clear, I'm not sure why the
plaintiff one has an overlay on there.

MR. LEMLEY: Yes.

MS. VRANIAN: The defendants’ 3419
through, you know, wherever this one ends, 3422,
that was the original Bates stamp number from
Mr. Buczkowski's underlying litigation in the

Buczkowski vs. Madison case, and then we rebates it

21

Page 24

Q. Sure.

A. Okay. Yeah, just to refresh my memory.

(Whereupon, there was a pause for
document examination.)

THE WITNESS: Okay. What was your
question again?
BY MR. LEMLEY:

Q.
prompted you to be writing to Mr. Rogan on
September 25th, 2015?

A. AsI mentioned earlier, Madison had

I just want to know what happened that

gotten itself into some financial difficulties and
some problem jobs. There was disagreement among
one partner and others of what we should be doing
and how we should be approaching things.

That had been going on for -- since the
2012/13 time period, so I guess there was a little
tension in the office on some things. So, there
had been discussions of setting up new companies,
continuing on as we were, a lot of different

scenarios, and in this time period, I learned that

 

 

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so that we could track it here. But it looks like
it got a little bit messed up because there is an
overlay on the last number.

MR. LEMLEY: Yes. Although, it looks
like maybe there was like a -- there was a number
there, like it was in page numbers or something.

MS. VRANIAN: Maybe.

MR. LEMLEY: Anyway, I’m happy.

MS. VRANIAN: Okay.

BY MR. LEMLEY:

Q. So, on the first page, that's -- let's
just say the lower right-hand number is 3419. It's
an email dated September 25th, 2015 from you to
Chris Rogan?

A. Yes.

Q. And Chris Rogan was a lawyer; is that
right?

A. Yes.

Q. Do you recall why you were writing to
Mr. Rogan at the time?

A. Can read the document real quick?

 

Oo OA Dw FP WH VP —

DRO a ei ei i a i ei
oO OD OH DN FP WY KS

21

Page 25

they were going to set up a new company without me,
and I was looking to reach out to Chris here
for some advice.

Q. On the second page of the document, which
in the lower right-hand corner is 3420, --

A. Um-hum.

Q.

people involved in Madison, and the third one is

-- you're identifying the different

yourself?

A. Yes.

Q. And it says 13 percent. So, does that
mean you were a |3-percent shareholder of Madison?

A. Yes.

Q. Was that the percentage that you owned
from the first time that you owned shares, which I
think was 2007?

A. Yes. That's the beginning percentage,
yes.

Q. And that was the percentage that you held
until you were terminated; is that right?

A. Yes.

 

 

7 (Pages 22 - 25)

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1 Q. Inoticed in the paragraph down below 1 Q. And what does that mean, earned in? It's
2 Larry Kraemer, there's a paragraph that begins, 2 in quotation marks.
3 There was no upfront cash payment required in the 3. A. Well, Glenn, myself, and Gary were
4 purchase of Madison. Do you see that? 4 involved with Madison for -- you know, myself since
5 A. Correct. Um-hum. 5 2002, when I came on, up until 2007; Glenn and Gary
6  Q. Itsays in the third sentence, In 6 from the beginning.
7 discussions leading up to bringing Dick and Larry, 7 Dick and Larry had no involvement
8 it was verbally discussed that the ownership 8 whatsoever in Madison. As it mentions in the email
9 interests of Glenn, myself, and Gary were earned 9 there, Gary wanted to bring Dick and Larry in as
10 via sweat equity over the years. What does that 10 partners, give them an opportunity, but the
11 mean? 11 discussion we had was since they had nothing to do
12. A. Well, Glenn and I actually were employed 12 with building Madison that there would be a -- some
13 at Madison working at getting things turned -- they | 13 sort of preferential distribution paid out to the
14 had some financial problems early in the 2000s and | 14 three of us, and it would be, you know, whatever
15 turning things around and growing the company. 15 the actual number was, 20 percent of like 3.8 or
16 Gary always had received -- Gary 16 3 -- 3.5 million. So, 720,000 roughly I believe it
17 was -- was there when I set up, but my 17 was, but it was never written down.
18 understanding is that Gary was tasked with 18 Q. Okay.
19 overseeing Madison for Blase for quite a few years. |19 A. It was just discussion between Gary
20 And he got a management fee for doing that, that we | 20 Garofalo and myself.
21 paid to him, and that fee continued on from, you 21 Q. And the last paragraph on the
Page 27 Page 29
1 know, prior to me getting there until -- he got it 1 page -- wait a minute. I might be on the wrong
2 till the day I left, I believe. 2 page. I'm sorry, I lost -- I was going to ask you
3. Q. So, as far as your understanding, your 13 3 a question about the last paragraph on the page,
4 percent of stock was -- was earned essentially? 4 but I think I'm wrong. Okay. Never mind. It was
5 You didn't owe money for your stock, right? Is 5 probably a brilliant question, too. Okay. | think
6 that right? 6 that's all [ had on that one.
7 A. The way the transaction was done is it 7 MR. LEMLEY: Let's mark this one as
8 was all paid for out of profits from the company. 8 Exhibit 3, please.
9 Q. Okay. 9 (Whereupon, Buczkowski Deposition Exhibit
10. A. So, no one wrote a check upfront for the 10 3, Letter dated November 11, 2015, marked for
11 purchase of Madison. 11 identification.)
12 Q. Okay. 12 BY MR. LEMLEY:
13. A. There was a note taken by the Cooke 13. Q. I'm showing you what was marked as
14 Estate that we paid when we did distributions from | 14 Exhibit 3, and this is the November | 1th, 2015
15 profits each year, and that went to pay the note 15 letter that your counsel sent to Mr. Haslam,
16 down. 16 Mr. Garofalo, Mr. Lombardo, Mr. Kraemer and Richard
17. Q. And in the next sentence it says, Dick 17 Amold; do you see that?
18 and Larry's interests were supposed to be earned 18 A. Yes.
19 in. I guess that's referring to Dick Lombardo and 19 Q. And do you recall this document?
20 Larry Kraemer; is that right? 20 =A. Yes.
21 A. Yes. 21 Q. And just for the record, Richard Armold

 

 

 

8 (Pages 26 - 29)

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1 is -- who is Richard Arnold? 1 A. Yes.
2 A. Wehad started discussions with 2 Q. Can you just explain that in your own
3 Mr. Amold in 2014 some time I believe about -- 3 words? What was the -- what was your dispute that
4 there were a couple of different scenarios. One 4 was being raised in this letter?
5 was us purchasing his company that he owned with 5 A. Basically, they were setting up -- they
6 his brothers and making it part of Madison. 6° set up a new company to take the place of Madison
7 Q. Yes. 7 Mechanical and continue the operation of the
8 A. The other was him coming on board as a 8 company.
9 partner with the rest of us. 9 Q. So, why was that a concern to you?
10 Q. Okay. And had he come on board as a 10 A. Well, I was 13-percent owner of Madison
{1 partner with the rest of you as of November 11th, 11 Mechanical, and if they are setting up a new
12 2015? 12 company to transfer the jobs over and any new
13) A. No. 13 projects, then that would mean that Madison
14. Q. So, on the second page of that document, 14 Mechanical would suffer going forward.
15 it identifies -- well, beginning at the bottom of 15 Q. So, fair to say that with this letter,
16 the first page you say, It is my understanding the 16 you're asserting your interest as a shareholder of
17 ownership of Madison Mechanical OS Corp. is as 17 Madison Mechanical OS Corp.; is that right?
18 follows: And it lists the five. It has Garofalo, 18 A. Yes.
19 Lombardo, Kraemer, and yourself, and it identifies | 19 Q. At this point, as of November 1 Ith, 2015,
20 you as a 13-percent sharcholder; is that right? 20 your employment had not actually been terminated
21 A. Yes. 21 yet; is that right?
Page 31 Page 33
1 Q. Is that your understanding of your 1 A. Honestly, the exact date I don't recall,
2 ownership as of November 11th, 2015? 2 but I would -- I believe the letter was after.
3. A. Yes. 3 Q. Ithink I'm going to show it to you.
4  Q. And then you identify the -- another 4 A. Okay.
5 limited liability company had been formed called 5 Q. It doesn't mention --
6 Madison Mechanical Contracting, LLC, and that one | 6 A. The exact dates I can't remember, yeah.
7 includes Mr. Arnold, right? 7 Q. The letter doesn't mention anything about
8 <A. Yes. 8 being terminated, and I was just making that point.
9 Q. So, it was your understanding that 9 A. Um-hum.
10 Mr. Arnold had come on board with Mr. Haslam, 10 Q. Okay. Set that aside.
11 Garofalo, Lombardo, and Kraemer, but not with you, | 11 MR. LEMLEY: Mark this as Exhibit 4.
12 correct? 12 (Whereupon, Buczkowski Deposition Exhibit
13. A. They had set up a new LLC. 13 4, Letter dated November 18, 2015, marked for
14 Q. And in the next paragraph after the list 14 identification.)
15 of the owners of the new LLC, it starts off, It 15 BY MR. LEMLEY:
16 appears to my client that the purpose of Madison 16 Q. What we have just marked as Exhibit 4 I
17 Mechanical Contracting, LLC is to divert the 17 believe is the letter that I was just telling you I
18 business and client base of Madison Mechanical for | 18 thought I was going to be doing. This is a letter
19 the benefit of Madison Mechanical Contracting, LLC] 19 dated November 18, 2015 to you from Glenn Haslam,
20 and to the detriment of Madison Mechanical. Do youl 20 president, Madison Mechanical, Inc. Do you
21 see that? 21 recognize that letter?

 

 

 

9 (Pages 30 - 33)

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1 A. Yes. 1 originally scheduled termination date of November
2  Q. And you can take the time to look at it 2 25th, 2015. Did they do that, do you recall?
3 if you don't recall it in detail, but is this the 3 A. Ibelieve I got paid through the end of
4 letter where you were terminated, your employment | 4 November.
5 was terminated? 5 Q. And the next paragraph says that, The
6 <A. Yes. 6 company previously offered to pay you severance.
7 QQ. And it says -- at the beginning, it says, 7 It is the understanding of the company that you
8 For the reasons that have been discussed with you 8 have rejected that offer. Was that accurate?
9 on numerous occasions, you were previously advised] 9 A. The discussion with Mr. Garofalo and
10 that your employment with Madison Mechanical, Inc] 10 Mr. Haslam leading up to -- J can't recall exact
11 was being terminated for cause. Do you recall 11 dates, but prior to this, there was discussion
12 being advised before this date that your employment | 12 about some form of payments contention upon some
13 was being terminated for cause? 13 other activities, financial, and I can't recall
14 A. No. 14 exactly what it was. So, yes, there was something
15. Q. Do you recall being advised before this 15 there.
16 date that your employment was being terminated? 16 Q. Atthis time, you said before, I believe,
17. A. There were some discussions that I had 17 you did not have an employment agreement, right?
18 with Glenn and Gary Garofalo during -- leading up [18 <A. Correct.
19 to the November time frame. 19 Q. So, the for cause -- I know that for
20 Q. Just to the best of your recollection, 20 cause is mentioned in the shareholder's agreement?
21 can you describe those conversations? What was 21 A. Yes.
Page 35 Page 37
1 discussed? 1 Q. Butas far as just terminating your
2 A. We discussed Madison and going forwards 2 employment, as far as your understanding, you were
3 and different things. There was discussion of not 3 employed at will; is that right?
4 being part of Madison, but them wanting me to 4 A. Yes.
5 continue to work on closing up projects and jobs 5  Q. What did you do like for work after you
6 and working on closing out Madison. 6 were terminated here?
7 Q. So, was this the first time you had ever 7 A. Jactually went into construction,
8 heard that they were talking about terminating you 8 renovating homes, flipping houses, and home
9 for cause? 9 improvements.
10 A. Yes. 10 Q. Allright. You can set that aside.
11 Q. What did that mean to you, being 11 MR. LEMLEY: Can you mark this Number 5?
12 terminated for cause? Is there any significance to 12 (Whereupon, Buczkowski Deposition Exhibit
13 that? 13 5, Stockholder's Agreement, marked for
14 A. The significance for me would be that 14 identification.)
15 that would be them stating that there was something | 15 BY MR. LEMLEY:
16 I did that would be a basis for termination, which 16 Q. So, we just handed you Exhibit 5, and
17 I do not believe there was. 17 that's the Madison Mechanical OS Corp.
18 Q. Itsays at the end of that paragraph, 18 shareholder's agreement; is that right?
19 Despite having no obligation to do so, the company |19 A. Yes.
20 will continue to pay your regular pay less 20 Q. And if you look at page 4 of the
21 applicable taxes and withholdings through the 21 document, and it's number 4088 in the lower

 

 

 

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1 right-hand corner, there's a section there 1 ownership up until the time of the settlement; is
2 that -- Section 4A, it says, Transfers By Reason of 2 that right?
3 Termination of Employment, do you see that? 3. A. Yes.
4 A. Yes. 4 Q. Allright. So, if you could turn to page
5 Q. And the third one, sub-paragraph 3, says, 5 6 of the document. It's 4090 at the lower
6 In the event that a stockholder has been terminated 6 right-hand corner.
7 for cause, then the purchase price shall be the 7 A. Um-hum.
8 lesser of the formula for purchase price as 8 QQ. Subsection D, it talks about transfer due
9 determined in Section 6 or the amount the offering 9 toa failure of the stockholder to contribute upon
10 stockholder paid for such shares, do you see that? 10 a default of the corporation's obligations to
ll A. Yes. {1 transferor, do you see that?
12. Q. Do you understand that the reason for 12. A. Yes.
13 your being terminated for cause was for the purpose |13. Q. Do you know if the corporation ever
14 of purchasing your shares pursuant to this 14 defaulted on its obligations to the transferor?
15 provision? 15 A. No.
16 MS. VRANIAN: Objection. 16 Q. The transferor was Dawn Cooke that's
17 THE WITNESS: My belief was that 17 described on the first page?
18 the -- was that there was no cause. There hadbeen |18 A. The Cooke Estate, yes.
19 no discussions leading up to the receipt of the 19 Q. So, they did not default on their
20 letter that we just looked at, so my understanding 20 obligations to the Cooke Estate as far as you know?
21 was that the reason they were putting for cause in 21 A. No. We actually paid the note to the
Page 39 Page 41
1 there was because of this section. 1 Cooke Estate off I think -- I believe at the end of
2 BY MR. LEMLEY: 2 2012.
3. Q. In fact, they -- I think I can show you a 3 Q. You can set that aside.
4 document, but did they not shortly after this, 4 MR. LEMLEY: The good thing is we can use
5 they -- did they offer to purchase your shares for 5 these exhibits. Most of the marking is being done
6 zero dollars per share as book value? 6 now, I think.
7 A. There was a communication, I believe, 7 So, will you mark that as 6, please?
8 with Mr. Scarlett that had a reference to that. 8 (Whereupon, Buczkowski Deposition Exhibit °
9 QQ. And you never did sell your shares back 9 6, Letter dated January 14, 2016, marked for
10 to them, did you? 10 identification.)
11 A. The actual shares, the physical shares 11 BY MR. LEMLEY:
12 were left at Madison Mechanical, I believe, in the 12. Q. Exhibit 6 is a letter dated January 14th,
13 safe. I don't -- I believe they got lost. There 13 2016 to your attorney, Robert Scarlett, regarding
14 was a settlement with the parties. At that point, 14 you, and it came from a Daryl Sidle of THE Baxter,
15 I believe I -- my understanding on my side is that 15 Baker law firm where we are now; is that right?
16 [sold the shares at that point in time. 16 (Whereupon, there was a pause for
17. Q. I'msorry. I should have put a time 17 document examination.)
18 frame on it. 18 BY MR. LEMLEY:
19 A. I'msorry. 19 Q. Is that what you have in front of you?
20 Q. Up until the time of the settlement, your 20 A. Yes.
21 understanding is that you retained your 13-percent |21 Q. Okay.

 

 

 

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1 A. I'msorry. 1 A. Yes.
2  Q. And so the first paragraph of this 2 Q. Were you aware of that before this
3 document is, I write to you as counsel for Madison 3 letter -- before your lawyer received this letter
4 Mechanical OS Corp. As you are aware, your client, 4 on January 14th, 2016?
5 Robert J. Buczkowski's employment with Madison 5 A. Ibelieve that Mr. Scarlett had come
6 terminated on November 24th, 2015. Accordingly, 6 across some information online when he was doing
7 pursuant to the Madison stockholder's agreement, of 7 some research that showed that they had filed
8 which your client is a party, Mr. Buczkowski is now 8 paperwork with the state.
9 obligated to sell his stock in Madison, do you see 9 Q. Okay. And Madison Mechanical that was
10 that? 10 dissolved, Madison Mechanical, Inc., that was the
11 A. Yes. 11 company for which you were the CFO; is that right?
12 MS. VRANIAN: Can we go off the record 12. A. Madison Mechanical, Inc., yes.
13 for a second? 13. Q. Okay. You can set that aside.
14 (Recess taken -- 11:52 a.m.) 14 MR. LEMLEY: Let's mark this as Number 7.
15 (After recess -- 11:52 a.m.) 15 (Whereupon, Buczkowski Deposition Exhibit
16 BY MR. LEMLEY: 16 7, Letter dated May 10, 2016, marked for
17 Q. So, this January 14th, 2016, -- 17 identification.)
18 A. Yes. 18 BY MR. LEMLEY:
19 Q. --to the best of your recollection, was 19 Q. What's been marked as Exhibit 7 is a
20 this the first time that anyone on behalf of 20 letter dated May 10th, 2016 from you to Mr. Haslam
21 Madison proposed to purchase your stock in Madison? 21 and to Madison Mechanical OS Corp., care of
Page 43 Page 45
1 A. Ibelieve it was. 1 Mr. Haslam, correct?
2 Q. Allright. And then the third paragraph 2 A. Yes.
3 begins, Accordingly, pursuant to the stockholder's 3. Q. And it says it's a RE: Shareholder Demand
4 agreement, the purchase price for your client's 4 and Request to Inspect Corporate Records, do you
5 capital stock in Madison is currently calculated to 5 see that?
6 be zero. And the paragraph ends, Please have your 6 A. Yes.
7 client endorse the stock certificate in blank and 7 QQ. Okay. In the first sentence you say, I'm
8 forward it to me to consummate the stock purchase. 8 writing to you in my capacity as a minority
9 So, you did not accept that offer? 9 shareholder of Madison Mechanical OS Corp. What
10 A. No. 10 did you mean by that?
11 Q. The second page that ends in 214 at the 11 A. Tobe honest with you, the letter was
12 lower right-hand corner, it says -- the third 12 drafted by Mr. Scarlett, my attorney.
13 sentence says, In late December 2015, Madison 13. Q. Okay.
14 Mechanical, Inc., the wholly-owned subsidiary of 14. A. I guess you can probably guess that, so I
15 Madison Mechanical OS Corp., entered into a {5 just transferred it to my letterhead.
16 voluntary dissolution. At this point, Madison 16 Q. Okay.
17 Mechanical, the operating subsidiary, exists solely 17. A. ButI was a minority shareholder at 13
18 for the purpose of winding up its existing business 18 percent.
19 and consummating the orderly liquidation and 19 Q. Ifyou look at the second page, I guess
20 distribution of its net assets, if any, do you see 20 it's the second full paragraph that begins,
21 that? 21 Furthermore?

 

 

 

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1 A. Um-hum. 1 A. Inregards to the?
2 Q. Itsays, Furthermore, you purported to 2 Q. For termination of your employment. Did
3 terminate my employment from Madison Mechanical OS 3 you --
4 Corp. allegedly for cause despite the fact that 4 <A. From memory, I believe that as part of
5 there was no cause for my termination. You did 5 the lawsuits, there -- there were initial
6 this for the improper purpose of attempting to 6 conversations with, I believe, Mr. Scarlett. Early
7 force me to transfer my shares to the corporation. 7 on there was discussions of pursuing that maybe. I
8 In furtherance of this effort, your lawyer demanded 8 don't believe the lawsuit that JGL did for me,
9 that I transfer my stock back to the corporation 9 Joseph, Greenwald, had that in it. I can't recall
10 for no consideration. 10 exactly.
11 Understanding that you didn't draft the 11 Q. Allright. You can set that aside.
12 exact words, do you recall what you were -- what 12 MR. LEMLEY: Mark this one as Exhibit 8.
13 you meant by that, the allegations in that 13 (Whereupon, Buczkowski Deposition Exhibit
14 paragraph? 14 8, Letter dated May 11, 2016, marked for
15 A. Again, based upon the couple of years of 15 identification.)
16 discussions and everything that was going on at 16 BY MR. LEMLEY:
17 Madison and how things were playing out from what I 17° Q. What I have marked -- have had marked as
18 found out was that, again, my side there was no 18 Exhibit 8 is a letter dated May 11th, 2016 from
19 basis for termination. It was a -- you know, the 19 Daryl Sidle to you responding to your letter of May
20 letter was to get me out of ownership of Madison 20 10th, 2016, correct?
21 Mechanical. 21 =A. Yes.
Page 47 Page 49
1 Q. So, it seems to me that it's saying that 1 Q. And the third paragraph begins, As you
2 they terminated you purportedly for cause, even 2 are well aware, --
3 though you didn't think there was cause, and that 3. A. Um-hum.
4 they did that to force you to sell your stock, is 4 Q. -- your employment with the corporation
5 that what you were saying? 5 terminated on November 24th, 2015. Pursuant to the
6 A. Yes. 6 terms of the corporation's stockholder's agreement,
7  . Just to be clear, you weren't alleging 7 of which you are a party, upon the termination of
8 that you were terminated because of your race or 8 your employment, you are obligated to sell your
9 your sex or your national origin or your religion 9 stock pursuant to the agreement, do you see that?
10 or anything along those lines. It was you were 10 A. Yes,
11 being terminated allegedly for cause to force your 11 Q. So, as of this time, May 11th, 2016, you
12. sale of stock; is that right? 12 had not sold your stock, correct?
13. A. Yes. 13. A. No, Thad not.
14 Q. And you weren't alleging that there was a 14. Q. And at the end of the next paragraph, the
15 breach of any employment agreement, because there | 15 second to the last sentence in the next paragraph
16 was not an employment agreement, right? 16 says -- it's underlined, Your failure to cooperate
17. A. Correct. 17 with that request in no way changes the fact that
18 Q. Do you recall in this letter or in your 18 you have ceased to be a stockholder in the
19 Complaint in the lawsuit, do you recall if you ever 19 corporation, do you see that?
20 asked for back-pay or front-pay or anything along 20 A. Yes.
21 those lines? 21 Q. Do you know if any -- do you know how you

 

 

 

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1 ceased to be a stockholder in the corporation if 1 A. Yes.
2 you hadn't sold back your shares? 2  Q. And did you -- you've seen this document
3 MS. VRANIAN: Objection. 3 before?
4 BY MR. LEMLEY: 4 A. Yes.
5 Q. You may not know. I'm asking if you know 5 Q. Did you see it in the course of your
6 what that meant. 6 litigation?
7 A. JTdon't know. 7 A. Yes, during litigation.
8 QQ. And then on the next paragraph -- the 8 Q. Do you have an understanding of what this
9 next page, excuse me, the second full paragraph 9 document was intended to accomplish?
10 that begins, Again, contrary to, and the fourth 10 A. The document refers to, I guess, capital
11 sentence in there says, You were an at-will 11 contributions, on the first page, made by the
12 employee whose employment could be terminated at | 12 shareholders, and then the second page is showing a
13 any time for any reason or for no reason, do you 13 reallocation of the original ownership percentages.
14 see that? 14 Q. So, if you look at the bottom of the
15 A. Yes. 15 first page it says, Now, therefore, the
16 Q. Ibelieve you already told me before you 16 undersigned, being the sole director of the
17 do agree that you were an at-will employee, 17 corporation, does hereby declare that the actions
18 correct? 18 expressed in the following resolutions shall be and
19 A. I'msorry? 19 are hereby taken by the director of the corporation
20  Q. You were an at-will employee, correct? 20 as of the date first herein above written. That
21 A. Yes. 21 seems to refer back to the September 15th, 2016,
Page 51 Page 53
1 Q. Allright. Set that aside. 1 would you agree?
2 MS. VRANIAN: Charlie, can we take a 2 A. Yes.
3 five-minute break when it's good for you? 3. Q. On the next page it says, Resolved, that
4 MR. LEMLEY: Yeah. Yeah. Absolutely. 4 effective April lst, 2015, the corporation's stock
5 It's always good for me to take a break. 5 certificates numbered | through 6 are hereby
6 (Recess taken -- 12:03 p.m.) 6 voided, and the corporation's stock certificates
7 (Whereupon, Buczkowski Deposition Exhibit 7 numbered 7 through 11 be issued to reflect the
8 9, Consent of Sole Director, marked for 8 aggregate capital contribution set forth above and
9 identification.) 9 the resulting shares of stock owned by the
10 (Whereupon, Buczkowski Deposition Exhibit 10 stockholders as calculated based on a consistent
11 10, Affidavit of Robert Buczkowski, marked for 11 per-share value of the corporation from March Ist,
12 identification.) 12 2014 through March 31st, 2015. All of said
13 (Whereupon, Buczkowski Deposition Exhibit 13 certificates to be dated as of April 1st, 2015.
14 11, Confidential Settlement Agreement and Release, 14 And below that it has the reallocated ownership
15 marked for identification.) 15 percentages, correct?
16 (After recess -- 12:10 p.m.) 16 A. Yes.
17 BY MR. LEMLEY: 17. Q. And that shows you owning 7.006 percent,
18 Q. Allright. So, what I have handed you 18 right?
19 marked as Exhibit 9 is Consent of Sole Director 19 <A. That's what it reflects, yes.
20 Madison Mechanical OS Corp. dated September 15th, 20 Q. To the best of your knowledge, did you
21 2016, do you see that? 21 own 13 percent of the shares up until this action

 

 

 

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1 was taken on September 15th, 2016? 1 with your settlement of the underlying litigation,
2 A. My contention and my lawsuit was based 2 right?
3 upon my belief that J owned 13 percent. This is a 3. A. Yes.
4 document that Mr. Haslam executed that I was 4  Q. And paragraph 5 says, As of April Ist,
5 unaware of until the litigation occurred. 5 2015, Mr. Haslam and OS Corp. diluted my ownership
6 Q. But is it your understanding this 6 interest from 13 percent to 7.74 percent, correct?
7 document was -- this action was taken on September | 7 A. Yes.
8 15th, 2016, correct? 8 Q. And paragraph 6 says, The dilution
9 A. It's dated September 15th, 2016, yes. 9 occurred and was effective as of April Ist, 2015,
10 Q. And it was made retroactive to -- it was 10 correct?
11 made effective as of April Ist, 2015, right? II A. Yes.
12 A. Yes, that's what it states. 12. Q. Those two numbers, you are referring to
13. Q. Are you aware of any other action that 13 the corporate action that we just looked at that
14 was taken before September 15th, 2016 to reduce 14 was taken in September of 2016, correct?
15 your percentage ownership of stock? 15 A. There -- it appears to be referencing it,
16 A. A formal document executed by Mr. Haslam? | 16 but the percentages between the two documents are
17. Q. Are you aware of anything, any action 17 off slightly.
18 that was taken before September 15th, 2016? 18 QQ. You can set those aside. I will show
19 A. During the course of litigation, there 19 you -- after I find mine here, there it is -- what
20 were some emails that I saw that went back through | 20 we have marked as Exhibit 11. So, Exhibit 11 is
21 acouple different scenarios that they were looking | 21 the settlement agreement dated May 24th, 2018 by
Page 55 Page 57
1 at, I believe. 1 and among yourself, Madison Mechanical OS Corp.,
2 Q. Okay. 2 Madison Mechanical Contracting, LLC, Glenn Haslam,
3 A. But-- 3 Gary Garofalo, Lawrence Kraemer, Richard Lombardo,
4 Q. As far as you know, this is -- is 4 and Richard Amold, correct?
5 this -- and I'm not trying to -- this is not a 5 A. Yes.
6 trick question. 6 Q. And at the bottom of the second page,
7 A. Yeah. 7 paragraph 4 starts off, Release by Plaintiff, and
8 QQ. Were there any other scenarios that, as 8 it says, In consideration for -- in consideration
9 far as you know, actually came to fruition where 9 of the sum of $725,000 to be paid as provided in
10 there was an actual action taken to reduce your 10 paragraph 6 and in consideration for the dismissal
11 ownership, other than this one? 11 of the action, the promises and agreements of the
12. A. Ibelieve this is the only written 12 parties contained herein and other good and
13 executed document. 13 valuable consideration, the receipt of which is
14. Q. And I will show you what we have marked 14 hereby acknowledged, Plaintiff releases and forever
15 as Exhibit 10. 15 discharges, and I will not read the rest of that.
16 MR. LEMLEY: [If you can pass those along. 16 So, do you know how the sum of $725,000
17 BY MR. LEMLEY: 17 was calculated or what's the basis for that number?
18 Q. Exhibit 10 is your Affidavit dated May 18 A. There had been a valuation report that I
19 25th, 2018, correct? 19 had paid to have done that assigned a value to the
20 A. Yes. 20 value of the stock or the value of Madison.
21 Q. This Affidavit was executed in connection 21 Q. Okay.

 

 

 

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1 A. So, there was some back and forth at 1 Madison's office, we discussed that since the
2 mediation, and it was an agreed-upon amount. 2 current stockholder's agreement was silent on what
3. Q. Do you recall what that valuation was, 3 would happen if a shareholder did not make their
4 even roughly? 4 requested cash-call obligation, that [ would look
5 A. From the report, a million 2, somewhere 5 into some alternatives from which we could generate
6 in that neighborhood. 6 a policy that we would use to amend the SA, which
7  . So, would it be fair to say this is a 7 is stockholder's agreement, --
8 negotiated figure for the valuation of your 8 A. Um-hum.
9 ownership of Madison Mechanical? 9 Q. --do you see that?
10 A. That's how J look at it, yes. 10 A. Yes.
11 Q. Then on page 5 of 9, paragraph 8 says, 11 Q. And the document that's attached is a
12 Cooperation in insurance coverage litigation, 12 memorandum from Mr. Garofalo dated October 17th,
13 Plaintiff agrees that upon execution of this 13 2011 that has some various alternatives, correct?
14 agreement by all parties, he will execute an 14. A. Yes.
15 Affidavit concerning his ownership interest in OS 15 MS. VRANIAN: Just to clarify, it's a
16 Corp., do you see that? 16 memo to Mr. Garofalo.
17. A. Yes. 17 MR. LEMLEY: A memo to Mr. Garofalo. I
18 Q. Was that the Affidavit that we just 18 apologize. Thank you. That's correct. A memo to
19 looked at that was marked as Exhibit 10? Is that 19 Mr. Garofalo.
20 the Affidavit that you -- 20 BY MR. LEMLEY:
21 A. Yes. 21 Q. And, for example, the first alternative
Page 59 Page 61
1 Q. -- executed? Did you draft that 1 is personal debt to the company. The unpaid
2 Affidavit, or did someone else draft that for you? 2 contribution is considered a personal debt due to
3 A. Someone else drafted it. 3 the company from Stockholder B and is repaid with
4  Q. Do you know who drafted it? 4 interest from future distributions, dividends to
5 A. Ibelieve Madison group's attorneys. 5 Stockholder B or upon the sale of the company.
6 Q. Okay. 6 There would be no adjustment of ownership interest.
7 A. I'mnot sure. 7 This is a relatively benign approach, do you see
8 QQ. You can set that aside. 8 that?
9 MR. LEMLEY: Mark that as Number 12. 9 A. Yes.
10 (Whereupon, Buczkowski Deposition Exhibit |10  Q. And then there are four other
11 12, Email dated November 19, 2011 with attachment,| 11 possibilities, correct?
12 marked for identification.) 12. A. Um-hum.
13 BY MR. LEMLEY: 13. Q. But the stockholder's agreement was never
14. Q. Exhibit 12 is an email from back in 14 amended to reflect any of these, was it?
15 October 19th, 2011 from Gary Garofalo to Glenn 15 A. No, the stockholder agreement was never
16 Haslam, you, Dick Lombardo, and Larry Kraemer. 16 amended.
17. A. Yes. 17 Q. Allright. You can set that aside.
18 Q. The Subject is Consequences of Failure to 18 MR. LEMLEY: Thirteen.
19 Pay Call, right? 19 (Whereupon, Buczkowski Deposition Exhibit
20 A. Yes, 20 13, Email dated March 6, 2015 with attachment,
21 Q. Itsays, At our September Ist meeting in 21 marked for identification.)

 

 

 

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1 BY MR. LEMLEY: | Bill: Here's the draft that was sent over to
2 Q. Exhibit 13 is a memo, I think, from Glenn 2 Reznick. Any questions, let me know. Do you know
3 Haslam dated March 6th, 2015 to you, Mr. Garofalo, ] 3 who Reznick is?
4 Mr. Lombardo, and Mr. Kraemer, and the Subject is,| 4 A. The auditors.
5 Forward Madison Equity 03-01-2015, right? 5 Q. I'm sorry?
6 A. Yes. 6 A. The audit company.
7 Q. Okay. And it says, Guys: Sce attached 7 Q. Auditors.
8 accounting of capital calls/loans by all partners. 8 A. Reznick and -- well, Reznick Cohn now I
9 We need to do a capital call to pay BBT next week. | 9 believe it is called.
10 You will see the amounts needed listed as March 10 Q. Was Mr. Franey somehow involved in the
11 bank payment. As always, we will follow the 11 audit of Madison Mechanical?
12 operating agreement as it relates to capital calls. 12. A. Like I said, Bill, or Mr. Franey, was
13 Thanks, Glenn. 13 used as a consultant or a sounding board by
14 Do you know what operating agreement 14 Mr. Haslam and Mr. Garofalo.
15 that's referring to? 15 Q. I may have asked you this before, but was
16 <A. We only had one operating agreement. 16 that true, that Mr. Franey was a consultant or
17. Q. And what was that? Was that the 17 sounding board throughout the time from 2002 all of
18 shareholder's agreement? 18 the time that you were there?
19 A. Yes. The shareholder's agreement, yes. 19 A. Idon't recall how much involvement
20 Q. Thanks. You can set that aside. 20 Mr. Franey had leading up to the 2011/2012 time
21 (Whereupon, Buczkowski Deposition Exhibit |21 period. We would meet with them every so often
Page 63 Page 65
1 14, Email dated March 17, 2015, marked for 1 during the course of the year.
2 identification.) 2  Q. Was there a time in -- 2011/2012 you
3 BY MR. LEMLEY: 3 mentioned. Was there -- did something happen then?
4 Q. So, Exhibit 14 is from you dated March 4 Did his involvement increase or --
5 17th, 2015 to Bill Franey, Sr., copied Brenda 5 A. Well, as I've mentioned previously, we
6 Patterson and Jerry Russell. The Subject is RE: 6 ran into some severe financial difficulties and
7 Madison Mechanical's Financials 2014, do you see 7 problem jobs with Clark Construction, and Bill
8 that? 8 became heavily involved with us.
9 A. Yes. 9 Q. Okay. So, is it fair to say -- and I'm
10 Q. Do you know why you were sending this 10 not -- I'm probably making these questions sound
11 information to Mr. Franey? 11 more difficult than they are.
12. A. Why I was sending it to him? 12 So, Mr. Franey, there was a relationship
13. Q. Yes. 13 between Madison and Mr. Franey going back as far as
14. A. Why -- I cannot recall why I was sending 14 2002; is that correct?
15 it to him -- 15. A. Mr. Franey has -- was involved, my
16 Q. Okay. 16 understanding, with Harkins Builders from back in
17. A. -- exactly. I mean -- 17 the early '70s --
18 Q. On the second page of this document, it 18 Q. Okay.
19 says 4080 in the lower right-hand corner. Rightin |19 A. --as an insurance broker, and then
20 the middle, there's something from you to 20 Madison's inception from '93 has been involved.
21 Mr. Franey dated March 17th, 2015, and it says, 21 Q. Okay. Thank you.

 

 

 

17 (Pages 62 - 65)

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1 (Whereupon, Buczkowski Deposition Exhibit | is that accurate?

2 15, Complaint, marked for identification.) 2 A. Yes,

3 MR. LEMLEY: Don't worry, we're not going 3 Q. Then TI also believe that later in that

4 to go through every paragraph. 4 same email to Mr. Rogan on the third page of it,

5 MS. VRANIAN: Thank you. 5 which is marked Defendant's 3421, you're talking

6 BY MR. LEMLEY: 6 about reasons for your departure. And you say, My

7 Q. So, what was marked as Exhibit 15, I 7 take on it was for various reasons.

8 believe, is -- this is the Complaint that you filed 8 Is it fair to say that as of that Friday,

9 in your lawsuit in Baltimore County. 9 September 25th, 2015 date, you were aware that your
10 A. Yes. 10 employment with Madison was coming to an end?
11. Q. Twon't go through this, but there are 11. A. There was discussions with Mr. -- I would
12 numerous places in here where it alleges that you 12 have discussions with Mr. Haslam, and during the
13 were a 13-percent shareholder of Madison 13 course of the time that we started having problems
14 Mechanical, and is it a fair representation of your 14 and stuff, that there were 20 different scenarios
15 testimony today that that was your position up 15 that would come up. He would talk about him and I
16 until the time that you settled the lawsuit? 16 going and just doing something. He would talk
17 A. Yes. 17 about me not being part of it. He'd talk about him
18 Q. [don't think I have anything else to ask 18 not being part of it, so there were a lot -- a lot
19 on that. I wanted to get it in the record and have 19 of discussions.

20 it. You can set it aside now. 20 So, at this point, there was discussions
21 MR. LEMLEY: Do you have any questions? | 21 of me not being part of it, and I wasn't one
Page 67 Page 69

1 MS. SCHAFFNER: No. 1 hundred percent sure of what the final result would

2 MR. LEMLEY: I don't think I have any 2 be, but I was trying to do whatever I could to

3 more questions. 3 possibly protect myself.

4 THE WITNESS: Okay. 4  Q. So--

5 MS. VRANIAN: I just have a couple. 5 A. So, as of this date, whatever the

6 EXAMINATION 6 discussion was is I was not going to be part of.

7 BY MS. VRANIAN: 7 Q. So, it's fair to say that as of September

8 QQ. Ipromise to be quick and go totally out 8 25th, you knew that you weren't going to be a part

9 of order because I'm just going -- 9 of it?

10 A. Okay. 10. A. Nota hundred percent, again, because of

11 Q. --to respond to what Mr. Lemley had to 11 the discussions with Mr. Haslam that things just

12 say. Okay. So, I want to go back to Exhibit 2. 12 may stay. The discussions that I was having with
13 Mr. Buczkowski, if you look at Exhibit 2, it's an 13 Mr. Haslam, he was having other discussions at the
14 email from you dated September 25th of 2015; is 14 same time. The -- I believe the operating

15 that correct? 15 agreement for the new co was done in August, but he
16 A. Yes. 16 was still telling me, at points in time, that we'll

17. Q. On page -- well, on the first page there 17 probably just keep Madison just the way it is and
18 under 4, you say you're looking for guidance on, 18 keep going forward.

19 and 4 is negotiating some type of settlement in 19 Q. But you put this in this email --

20 regards to my exit either some time in the near 20 A. At this point, there's a distinct

21 future or hanging around and closing up of Madison, | 21 possibility based on everything that I was not

 

 

 

18 (Pages 66 - 69)

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going to be part of things going forward.

Page 72
A. Yes. ,

 

2 Q. You put in this email that you 2 Q. And you agree that your equitable
3 were -- that you were going to "exit", as you put 3 percentage, which was 13 percent, totaled $283,609?
4 it, Madison? 4. A. Yes.
5 A. It appeared that way, yes. 5  Q. And you agree that you only contributed
6  Q. So, then let's go to Exhibit 4, which is 6 $143,609?
7 the November 18th termination letter. You 7 A. Yes.
8 testified earlier about there not having been any 8 Q. So, you also agree that as of April Ist,
9 discussions about your employment with Madison, but 9 Mr. Haslam and OS Corp. diluted your ownership from
10 you just testified just now that there had been 10 13 percent down to the 7.774 percent?
11 discussions with Mr. Haslam about Madison and your 11 A. Right. The item number 5 where it says
12 continued employment there, right? 12 that Mr. Haslam diluting it, that is what he did.
13. A. There were -- there were discussions with 13. Q. You agree that he did that effective
14 Mr. Haslam back and forth about nothing changing at 14 April Ist of 2015, --
15 Madison and us continuing on with operations with 15 A. Based on the documents --
16 the way they were. There were discussions about he 16 Q. - fair?
17 would say that he was going to just leave. 17 A. -- that I was given; yes.
18 So, you know, again, it's not a clear 18 Q. Now, give me just a minute to go through
19 that I was not going to be part of it. There was 19 my notes. I think I only have a couple more for
20 discussions, again, on various different avenues. 20 you.
21 Q. So, let me try to make it just a little 21 At the time that you signed this
Page 71 Page 73
1 bit clearer. 1 Affidavit, you were still represented by Joseph,
2 A. Yes. 2 Greenwald & Laake?
3. Q. With respect to the timing of this 3. A. Yes.
4 letter, it's fair to say that you had had 4 Q. And did Joseph, Greenwald & Laake give
5 discussions with Mr. Haslam, prior to being 5 you advice? We don't want to know anything about
6 terminated, about your future with Madison? 6 what they told you about it, but is it fair to say
7 A. Yes. 7 that you were advised by them with respect to this
8 Q. Okay. Now, you testified multiple times 8 Affidavit, so you had counsel?
9 that up until your termination, you were a 9 A. Yes.
10 13-percent shareholder, correct? 10 Q. Now, let's go to Exhibit 13. Exhibit 13
11 A. Yes, 13 percent. 11 is an email from Mr. Haslam dated March 6th of
12. Q. Now, you don't disagree that there were 12 2015, and it's to you, Gary Garofalo, Dick
13 capital calls made, correct? 13 Lombardo, and Larry Kramer; is that correct?
14 A. There were requests for capital or moncy 14 A. Yes. |
15 to be put into the company, yes, by Mr. Haslam. 15 Q. Ifyou go to the second page of that
16 Q. And let's go to -- let me find the 16 email, can you tell us what that is?
17 exhibit. Hold on one second. Could you look at 17. ‘A. ‘It's a schedule that reflects the owners
18 Exhibit 10, which is your Affidavit? You agree 18 of the company, their ownership percentages --
19 that in March and December of 2014 and throughout |19 Q. And --
20 the months of January through March of 2015 that |20 A. -- monies -- oh.
21 capital calls were made by Mr. Haslam? 2! Q. I'msorry. On that schedule, which is

 

 

 

19 (Pages 70 - 73)

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1 labeled Madison Equity Balances, what does itshow] 1 Q. Ifyou then turn to page 26, there's a

2 your ownership percentage at, at that time? 2 declaratory judgment count there. And if you

3. A. Thirteen percent. 3 go -- contained within that account, but -- within

4 Q. Where do you see 13 percent? 4 that count, but several pages later on page 30, it

5 A. At the top. 5 says, Wherefore, the Plaintiff demands, A, that

6 Q. Right. If you look under the 13 percent 6 this court issue a declaratory judgment that

7 under your column, Percentage of Capital Funded, 7 Plaintiff remains an employee and a shareholder of

8 what does it show your percentage of capital funded | 8 Madison Mechanical OS Corp.

9 to be? 9 Is it fair to say that at the time that
10. A. 9.71 percent. 10 you filed this Complaint, that you were requesting
11 Q. And TI assume you're better at math than I 11 that the court reinstate you as an employee of
12 am, -- 12 Madison Mechanical?

13. A. Well, maybe. 13. AL. Yes,
14. Q. -- but do you know if that 9.71 percent 14. Q. And is it fair to say that at the time
15 figure includes your loans as well as the capital 15 Mr. Scarlett sent the November 1 lth, 2015 letter,
16 calls? 16 which is marked as Exhibit 3, that at that time,
17. A. I-- 17 you had already had discussions with Mr. Haslam and
18 QQ. Ifyou don't know off of the top of your 18 were aware that you would not be a part of the new
19 head, that's fine. 19 entity?
20 A. It appears to be the total cash fundings. 20 MR. LEMLEY: Object to the form.
21 Q. So, it appears to include the loans as 21 THE WITNESS: Based on the time frame,
Page 75 Page 77

1 well? 1 yes.

2 A. Yes. 2 MS. VRANIAN: That's all I have.

3. Q. Okay. And then let's look at 14, Exhibit 3 MR. LEMLEY: I have one follow-up on

4 14. That is an email from you to Mr. Franey, 4 that. It was a compound question, so that's why I

5 copying Brenda Patterson and Jerry Russell, and if 5 objected to the form.

6 you turn to the last page of that exhibit, is that 6 REEXAMINATION

7 the same Madison equity balances chart that we just | 7 BY MR. LEMLEY:

8 looked at? 8 QQ. She said you had discussions with him,

9 A. It appears to be the exact same thing. 9 and you were aware that you would not be with the
10 Q. Okay. Now, your -- the underlying 10 company. And a little while ago you were very
11 Complaint in this action that was marked as Exhibit | 11 clear that you had a discussion, and one
12 15, let's look at that quickly. 12 possibility was that you would not be with the

130 A. Um-hum. 13 company, but there were other possibilities. So, I
14 MS. VRANIAN: I'm going to go through 14 just want to make sure you answered both parts of
15 every paragraph. No, I'm not. 15 the question.

16 BY MS. VRANIAN: 16 A. The exact dates of -- in November are a

17. Q. If you'd turn to page 18 of that 17 little -- it's been a few years. I can't remember

18 Complaint, it starts in the middle of the page with 18 the exact dates. The confusion is that, again,

19 Section F, Termination of Mr. Buczkowski, and then | 19 based on the lawsuit and everything, there were
20 there's numerous paragraphs about your termination. | 20 apparently a lot of conversations taking place that
21 A. Um-hum. 21 I was not aware of while I was also being told that

 

 

20 (Pages 74 - 77)

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things are going to stay the same.

So, you know, you know, I'm being told
that, you know, there is no -- you know,
the -- there is no new company, no new co being set
up, that we're just going to keep -- probably keep
things the same, but that was not exactly a true
statement that I was being told. So, I was a
little bit confused on what direction we were
ultimately going to end up in if that's fair to
say.

Q. Okay.

MR. LEMLEY: We're good. I'm good unless
you have anything.

MS. VRANIAN: No. Thank you.

(Whereupon, the deposition of Robert
Buczkowski was concluded at 12:44 p.m., and the

reading and signing of the transcript was waived.)

 

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17
18

20
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State of Maryland
County of Baltimore, to wit:

I, Michele D. Lambie, a Notary Public of
the State of Maryland, County of Baltimore, do
hereby certify that the within-named witness
personally appeared before me at the time and place
herein set out, and after having been duly sworn by
me, according to law, was examined by counsel.

I further certify that the examination
was recorded stenographically by me and this
transcript is a true record of the proceedings.

I further certify that I am not of
counsel to any of the parties, nor related to any
of the parties, nor in any way interested in the
outcome of this action.

As witness my hand this 27th day of
August 2019.

“f hectic Dd Parhre
Michele Lambie

My Commission Expires: April 29, 2020

 

 

 

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21 (Pages 78 - 79)

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FORD

 

 

Name of Insurance Company to which application'ls made
PRIVATE COMPANY RENEWAL APPLICATION

NOTICE: LIABILITY COVERAGE PARTS PROVIDE CLAIMS MADE COVERAGE. EXCEPT AS OTHERWISE
SPECIFIED: COVERAGE APPLIES ONLY TO A CLAIM FIRST MADE AGAINST THE INSUREDS DURING THE
POLICY PERIOD AND WHICH HAS BEEN REPORTED TO THE INSURER IN ACCORDANCE: WITH THE
APPLICABLE NOTICE PROVISIONS. COVERAGE |S SUBJECT TO THE INSURED'S PAYMENT OF THE
APPLICABLE RETENTION. PAYMENTS OF DEFENSE COSTS ARE SUBJECT TO, AND REDUCE, THE
AVAILABLE LIMIT OF LIABILITY. PLEASE READ THE POLICY CAREFULLY AND DISCUSS THE COVERAGE
WITH YOUR INSURANCE AGENT OR BROKER.

1. GENERAL INFORMATION

a) Name of Applicant Company. Madison Mechanical, Inc.
(Together with any subsidiaries for whom thie policy Is intended, hereinafter, “Applicant(s).")

b) Address: 1539 Fannie Dorsey Road Sykesville, MD 21784

 

 

2. COVERAGE RENEWING

®) Are the Applicants requesting to renew coverage as-expiring? [2]Yes[_No
If °YES,” please proceed directly to section 4.
If"NO,” please compiete the rest of this section and section 3 before proceeding to section 4.

b) Are the Applicant requesting higher Imits at renewal for any coverage renewing? CvesNo
Please check the boxes below with an "X™ to indicate which coverage Is being renewed. If you ara not renewing a
type of coverage, please leave the rest of the row blank.

 

 

 

 

 

 

 

 

 

Coverage Renewing Higher Limit Requested { Limits Requested {| Current Limits
Directors, Officers & Entity Liabiltty
[elver/sINe [TYes[No
Practices Liability
Fives Fes No
“Fidi Liability
[yes [lves[JNo
Crime . ee
[dYes{JNo [lves[ZNo
‘Kidnap & Na ansomvextortion
iCly iGivesEINo_

 

 

 

This application Is not used to request a » Coverage ‘Part net currently purchased. !f you would ike to purchase a
Coverage Part for the first time, please request a new business application. -

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3. PRIOR KNOWLEDGE
The following question must be answered if the Applicants are requesting higher limits at renewal,

Does an Applicant or any natural person for whom Insurance Is Intended have any knowledge or Information of

any error, misstatement, misleading statement, act, omission, neglect, breach of duty or other matter that may give
rise to a clalm? [lVesfZINo

If “YES.” provide full detalls (attach a separate sheet If necessary).

 

 

 

 

 

(T IS AGREED THAT IF ANY SUCH KNOWLEDGE OR INFORMATION EXISTS, ANY CLAIM BASED ON, ARISING
FROM, OR IN ANY WAY RELATING TO SUCH ERROR, MISSTATEMENT, MISLEADING STATEMENT, ACT,
OMISSION, NEGLECT, BREACH OF DUTY OR OTHER MATTER OF WHICH THERE IS KNOWLEDGE OR
INFORMATION SHALL BE EXCLUDED FROM COVERAGE REQUESTED. HOWEVER, THIS EXCLUSION SHALL
APPLY UNDER A SPECIFIC COVERAGE PART ONLY TO THE EXTENT THAT THE “LIMITS REQUESTED" ARE
HIGHER THAN THE “CURRENT LIMTS* PURCHASED FOR THAT COVERAGE PART.

 

4. APPLICANT INFORMATION
a) Total number of employees currently:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Please provide the following based on the Applicants’ _| Most Reoant FYE
most recent fiscal year end ("FYE") and the year prior. (Month/Year)
Please Indicate negative figurers using “()* or *~’ 42/2044

Current Assets $8,443,124.00
Total Assets $9,718,478.00
Current Uabiities $8,317,928.00

| Long Term Debt $1,863,544.00
Total Llablities $10,171,475.00
Retained Eamings -$453,197.00
Shareholder Equity $200.00
Total Ravenues $23,814,491.00
Net Income after taxes -$196,363.00
Interest Expense $192,285.00
Cash flow fram Operations

ifthe response Is "YES to any question below, please provide full details (attach separate shest If necessary).
b) Has an Applicant experienced, within-the past 12 months, any of the foRowing events:

_ 1 Merger, acquisition, sale of any assets or other similar transaction? CyYes[ZNo

i. Any financial restructuring, reorganization or fillng for bankruptcy? Flvesteno

li. Any downsizing, layoffs, reduction in force, plant or office closings? YesL_iNo

Does an Applicant anticipate any of the preceding events within the next 12 months? [21 YesfZINo

cn Is an n Applicant a Federal! or other Governmental Contractor? Dlves{zINo

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5. DIRECTORS, OFFICERS & ENTITY LIABILITY COVERAGE PART (Complete Only if Renewing this Coverage)
a) How many tofa! Indlviduals/entitles own shares in the Appiicant listed In 1(a) above? 5

 

b) Whats the total:number of outstanding shares in the Applicant listed in 1{a) above? 200

¢) What Is the tofal number of shares referenced in question (b) above held directly or beneficially by directors,
officers or equivalents? 134

classes of stock or other ownership

‘| Glenn-Haslam 54
‘Robert:Buozkowakl 13

Larry Kraemer 40
Richard Lambardo 10
Garofalo 13

 

if the response Is “YES" to any question below, please provide full detalis (attach separate sheet if necessary).
d) Within the past 12-months, has there been any change in an Applicants’ ownership? ivesiZNo

®) Withiri the past 12 months; has an Appticant been In breach or violation of any debt covenant or. loan
agreement or any other material contractual obligation? [vesIZNo

1) Are the Applicants currently anticipating any public or private offering of securtties (Including, but not_fmited
to, PO, Secondary Exchanges, or Crowd Funding/Crowd Financing}? ClYes[zNo

i PLEASE PROVIDE THE FOLLOWING INFORMATION: 4

6. EMPLOYMENT PRACTICES LIABILITY COVERAGE PART (Complete Only If Renewing this Coverage)

 

 

a) Piease list the following Infarmation based on the Applicants’ current facts as of today:

I. Non-Union Full Time US Employees 40

fl.  Non-Union:Part Time US Employees 1

il. Independent Contractors

tv. Unlon Employees

v. _ Foreign Based Employees

vi. ‘TOTAL EMPLOYEES and CONTRACTORS a

(line vi should be the sum of lines Fv.)
vil. Of the total number of employees/contractors Iisted above, please Indicate how many are located ..

In:
Currently
Callfomla 0
New Jersey 0

 

b) Please also list: the following:
: Within Laat 12 months; Within Last 24 months:

 

I Involuntary Terminations: 7
1. Layoffs: 25
e Was severance avallable Te AT aTOGEGT NIA
idee “eo Yost servi, Osa af .pDldLall, severance reciplents slog arelease? oo oy oe cgeecdeWA Les
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If *NO* to either question, please provide full detalls (attach a separate sheet if necessary).
c) Do the Applicants have written procedures In place regarding:
1. Sexual Harassment esl’ INo
i. Discrimination fey 1S

d) Within the past 12 months, has an Applicant updated or modified its employment practices handbook, or
human resources policies, procadures, or department? [ChyYesENo

7. FIDUCIARY LIABILITY COVERAGE PART {Complete Only if Renewing this Coverage)
a) For each plan to be covered, please list the following:

ASSETS

Madison Mechanical, inc 404k oc 54,167,000.00

   

, Defined (WY),
(0). ‘-
* Plan Status: Active (A), Merged (M), Terminated (1) or Frozen (F).
If the response Is “YES" to any question below, please provide full details (attach separate sheet If necessary).

b) Are any plane not In compliance with ERISA or plan agreements? Eres[7No

¢) Within the past 12 months hae there been any reduction in benefits, Including the merging,
termination or creation of any plan(s)? EiyYes[Z)No

d) Does an Appiicant anticipate any reduction In benefits In the coming 12 months Including the
merging, termination or creation of any plan(s)?? ENves[zNo

8. CRIME COVERAGE PART (Complete Only If Renewing this Coverage)

a) Are all of the Applicants’ locations In the United States? [}yYes[No
h) Do the Appiicants prohibit any employee (other than the owner) who reconciles bank statements from also:
i. Signing checks es| IN
fi. Handlirig bank deposits es] No

I. Making withdrawals es
if "NO° to any of the questions above, please provide full details (attach separate sheet If necessary).

c) Have there been any changes to the Applicants’ system of Intemal controls in the past 12 months? [[]Yes[ZNo

oO

9. KIDNAP AND RANSOM/EXTORTION COVERAGE PART (Complete Only: f Requesting this Coverage)
a) Please completes me following regarding the Applicants for each foreign (non-U.S.) location:

. leave th
, a

 

b) Please complete the following regarding travel to foreign countries;
Aft none, leave this space blank) —

Laethcs Vg"? STRETTON eS ha RI aE Ea PR Tet

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9) ifan Applicant has foreign locations or travel, describe security precautions.on a separate sheet.

California Notice: The Hartford may charge a fee If this bond or pollcy is cancelled before the end of Its term. The fee
can range between 5% to 100% of the pro rata unearned premium. Please refer to the terms and conditions stated in
the policy of bond. This notice does not apply to cancellations Initiated by The Hartford.

FRAUD WARNING STATEMENTS

ALABAMA: ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM FOR PAYMENT
OF A LOSS OR BENEFIT OR WHO KNOWINGLY PRESENTS FALSE INFORMATION IN AN APPLICATION FOR
INSURANCE IS GUILTY OF A CRIME AND MAY BE SUBJECT TO RESTITUTION FINES OR CONFINEMENT IN

PRISON, OR ANY COMBINATION THEREOF.

ARKANSAS APPLICANTS: ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM -
FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE INFORMATION IN AN

APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND MAY BE SUBJECT TO FINES AND

CONFINEMENT IN PRISON.

COLORADO APPLICANTS: IT IS UNLAWFUL TO KNOWINGLY PROVIDE FALSE, INCOMPLETE, OR
MISLEADING FACTS OR INFORMATION TO AN INSURANCE COMPANY FOR THE PURPOSE OF DEFRAUDING
OR ATTEMPTING TO DEFRAUD THE COMPANY, PENALTIES MAY INCLUDE IMPRISONMENT, FINES, DENIAL
OF INSURANCE, AND CIVIL DAMAGES, ANY INSURANCE COMPANY OR AGENT OF AN INSURANCE
COMPANY WHO KNOWINGLY PROVIDES FALSE, INCOMPLETE, OR MISLEADING FACTS OR INFORMATION
TO A POLICY HOLDER OR CLAIMANT FOR THE PURPOSE OF DEFRAUDING OR ATTEMPTING TO DEFRAUD
THE POLICY HOLDER OR CLAIMANT WITH REGARD TO A SETTLEMENT OR AWARD PAYABLE FROM
INSURANCE PROCEEDS SHALL BE REPORTED TO THE COLORADO DIVISION OF INSURANCE WITHIN THE
DEPARTMENT OF REGULATORY AGENCIES.

DISTRICT OF COLUMBIA APPLICANTS: !T IS A CRIME TO PROVIDE FALSE OR MISLEADING INFORMATION
TO AN INSURER. FOR THE PURPOSE OF DEFRAUDING THE INSURER OR ANY OTHER PERSON. PENALTIES
INCLUDE IMPRISONMENT AND/OR FINES. IN ADDITION, AN INSURER MAY DENY INSURANCE BENEFITS IF
FALSE INFORMATION MATERIALLY RELATED TO A CLAIM WAS PROVIDED BY THE APPLICANT."

FLORIDA APPLICANTS: ANY PERSON WHO KNOWINGLY AND WITH INTENT TO INJURE, DEFRAUD OR
DECEIVE ANY INSURER FILES A STATEMENT OF CLAIM OR AN APPLICATION CONTAINING ANY FALSE,
INCOMPLETE, OR MISLEADING INFORMATION IS GUILTY OF A FELONY OF THE THIRD DEGREE.

HAWAII APPLICANTS: FOR YOUR PROTECTION, HAWAI! LAW REQUIRES YOU TO BE INFORMED THAT
PRESENTING A FRAUDULENT CLAIM FOR PAYMENT OF A LOSS OR BENEFIT IS A CRIME PUNISHABLE BY
FINES OR IMPRISONMENT, OR BOTH.

KANSAS APPLICANTS: A " FRAUDULENT INSURANCE ACT " MEANS AN ACT COMMITTED BY ANY PERSON
WHO, KNOWINGLY AND WITH INTENT TO DEFRAUD, PRESENTS, CAUSES TO BE PRESENTED OR
PREPARES WITH KNOWLEDGE OR .BELIEF THAT IT. WILL BE PRESENTED TO OR BY AN INSURER,
PURPORTED INSURER, BROKER OR ANY AGENT THEREOF, ANY WRITTEN STATEMENT AS PART OF, OR IN
SUPPORT OF, AN APPLICATION FOR THE ISSUANCE OF, OR THE RATING OF AN INSURANCE POLICY FOR
PERSONAL OR COMMERCIAL INSURANCE, OR A CLAIM FOR PAYMENT OR OTHER BENEFIT PURSUANT TO
AN INSURANCE POLICY FOR COMMERCIAL OR PERSONAL INSURANCE WHICH ‘SUCH PERSON KNOWS TO
CONTAIN MATERIALLY FALSE INFORMATION CONCERNING ANY FACT MATERIAL THERETO; OR
CONCEALS, FOR THE PURPOSE OF MISLEADING, INFORMATION ° CONCERNING ANY FACT MATERIAL

THERETO.

KENTUCKY APPLICANTS: ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY
INSURANCE COMPANY OR OTHER PERSON FILES AN APPLICATION FOR INSURANCE CONTAINING ANY
MATERIALLY FALSE INFORMATION OR CONGEALS FOR THE PURPOSE OF! MISLEADING, INFORMATION

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CONCERNING ANY FACT MATERIAL THERETO COMMITS A FRAUDULENT INSURANCE ACT, WHICH IS A
CRIME.

LOUISIANA APPLICANTS: ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM
FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE INFORMATION IN AN
APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND MAY BE SUBJECT TO FINES AND

CONFINEMENT IN PRISON.

MAINE APPLICANTS: IT IS A CRIME TO KNOWINGLY PROVIDE FALSE, INCOMPLETE OR MISLEADING
INFORMATION TO AN INSURANCE COMPANY FOR THE PURPOSE OF DEFRAUDING THE COMPANY.
PENALTIES MAY INCLUDE IMPRISONMENT, FINES OR A DENIAL OF INSURANCE BENEFITS.

‘MARYLAND APPLICANTS: EFFECTIVE JANUARY 1, 2018, ANY PERSON WHO KNOWINGLY OR: WILLFULLY
. PRESENTS A FALSE OR FRAUDULENT CLAIM FOR PAYMENT OF A LOSS OR BENEFIT:OR WHO. KNOWINGLY

OR WILLFULLY PRESENTS FALSE INFORMATION IN AN APPLICATION FOR INSURANCE IS' GUILTY OF A
CRIME AND MAY BE SUBJECT TO FINES AND CONFINEMENT IN PRISON.

NEW JERSEY APPLICANTS: ANY PERSON WHO INCLUDES ANY FALSE OR MISLEADING INFORMATION ON
AN APPLICATION FOR AN INSURANCE POLICY IS SUBJECT TO CRIMINAL AND CIVIL PENALTIES.

NEW MEXICO APPLICANTS: ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM
FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE INFORMATION IN AN.
APPLICATION FOR INSURANCE IS GUILTY OF A GRIME AND MAY BE SUBJECT TO CIVIL FINES AND

CRIMINAL PENALTIES.

OHIO APPLICANTS: ANY PERSON WHO, WITH INTENT TO DEFRAUD OR KNOWING THAT HE IS
FACILITATING A FRAUD AGAINST AN INSURER, SUBMITS AN APPLICATION OR FILES A CLAIM CONTAINING
A FALSE OR DECEPTIVE STATEMENT IS GUILTY OF INSURANCE FRAUD.

OKLAHOMA APPLICANTS: WARNING: ANY PERSON WHO KNOWINGLY, AND WITH INTENT TO INJURE,
DEFRAUD OR DECEIVE ANY INSURER, MAKES ANY CLAIM FOR THE PROCEEDS OF AN INSURANCE POLICY
CONTAINING ANY FALSE, INCOMPLETE OR MISLEADING INFORMATION IS GUILTY OF A FELONY.

OREGON APPLICANTS: ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD OR SOLICIT
ANOTHER TO DEFRAUD AN INSURER: (1) BY SUBMITTING AN APPLICATION OR; (2) FILING A CLAIM
CONTAINING A FALSE STATEMENT AS TO ANY MATERIAL FACT MAY BE VIOLATING STATE LAW.

PENNSYLVANIA APPLICANTS: ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY
INSURANCE COMPANY OR OTHER PERSON FILES AN APPLICATION FOR INSURANCE OR STATEMENT OF
CLAIM CONTAINING ANY MATERIALLY FALSE INFORMATION OR CONCEALS FOR THE PURPOSE OF
MISLEADING, INFORMATION CONCERNING ANY FACT MATERIAL THERETO COMMITS A FRAUDULENT
INSURANCE ACT, WHICH IS A CRIME AND SUBJECTS SUCH PERSON TO CRIMINAL AND CiVIL PENALTIES,

PUERTO RICO APPLICANTS: ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD AN
INSURANCE COMPANY PRESENTS FALSE INFORMATION IN AN INSURANCE APPLICATION, OR PRESENTS,
HELPS, OR CAUSES THE PRESENTATION OF A FRAUDULENT CLAIM FOR THE PAYMENT OF A LOSS ‘OR
ANY OTHER BENEFIT, OR:PRESENTS MORE THAN ONE CLAIM FOR THE SAME DAMAGE OR LOSS, SHALL
INCUR A FELONY AND, UPON CONVICTION, SHALL BE SANCTIONED FOR EACH VIOLATION. WITH THE
PENALTY OF A: FINE OF NOT LESS THAN FIVE THOUSAND (5,000) DOLLARS AND NOT MORE THAN TEN
THOUSAND (10,000). DOLLARS, OR A FIXED TERM OF IMPRISONMENT FOR THREE (3) YEARS, OR BOTH
PENALTIES. IF AGGRAVATED ‘CIRCUMSTANCES PREVAIL, THE FIXED ESTABLISHED IMPRISONMENT MAY
BE INCREASED TO A MAXIMUM OF FIVE (5) YEARS; IF EXTENUATING CIRCUMSTANCES PREVAIL, IT MAY
BE REDUCED TO A MINIMUM OF TWO (2) YEARS.

RHODE ISLAND APPLICANTS: “ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT
CLAIM FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE INFORMATION IN AN
APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND MAY BE SUBJECT TO FINES AND

CONFINEMENT IN PRISON.”

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TENNESSEE APPLICANTS: (T{S A CRIME TO KNOWINGLY PROVIDE FALSE, INCOMPLETE OR MISLEADING
INFORMATION .TO AN INSURANCE COMPANY FOR THE PURPOSE OF DEFRAUDING THE COMPANY.
PENALTIES INCLUDE IMPRISONMENT, FINES AND DENIAL OF INSURANCE BENEFITS.

VIRGINIA APPLICANTS: IT IS A CRIME TO KNOWINGLY PROVIDE FALSE, INCOMPLETE OR MISLEADING
INFORMATION TO AN INSURANCE COMPANY FOR THE PURPOSE OF DEFRAUDING THE COMPANY.
PENALTIES INCLUDE IMPRISONMENT, FINES AND DENIAL OF INSURANCE BENEFITS.

VERMONT APPLICANTS: ANY PERSON WHO KNOWINGLY PRESENTS A FALSE STATEMENT IN. AN
APPLICATION FOR INSURANCE MAY BE GUILTY OF A CRIMINAL OFFENSE AND SUBJECT TO PENALTIES ©

UNDER STATE LAW.

WASHINGTON APPLICANTS: IT IS A CRIME TO KNOWINGLY PROVIDE FALSE, INCOMPLETE, OR
MISLEADING INFORMATION TO AN INSURANCE COMPANY FOR THE PURPOSE OF DEFRAUDING THE
COMPANY. PENALTIES INCLUDE IMPRISONMENT, FINES, AND DENIAL OF INSURANCE BENEFITS.”

WEST VIRGINIA APPLICANTS: ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT
CLAIM FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE INFORMATION IN AN
APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND MAY BE SUBJECT TO FINES AND

CONFINEMENT IN PRISON.

NEW YORK APPLICANTS: ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY
INSURANCE COMPANY OR OTHER PERSON FILES AN APPLICATION FOR INSURANCE OR STATEMENT OF
CLAIM CONTAINING ANY MATERIALLY FALSE INFORMATION, OR GONCEALS FOR THE PURPOSE OF
MISLEADING, INFORMATION CONCERNING ANY FACT MATERIAL THERETO, COMMITS A FRAUDULENT
INSURANCE ACT, WHICH IS A CRIME, AND SHALL ALSO BE SUBJECT TO A CIVIL PENALTY NOT TO EXCEED
FIVE THOUSAND DOLLARS AND THE STATED VALUE OF THE CLAIM FOR EACH SUCH VIOLATION.”

THE UNDERSIGNED AUTHORIZED OFFICER OF THE APPLICANT DECLARES THAT THE STATEMENTS SET
FORTH HEREIN ARE TRUE, THE UNDERSIGNED AUTHORIZED OFFICER AGREES THAT IF THE INFORMATION
SUPPLIED ON THIS APPLICATION. CHANGES. BETWEEN THE DATE OF THIS APPLICATION AND THE EFFECTIVE
DATE OF THE INSURANCE, HE/SHE (UNDERSIGNED) WILL, IN ORDER FOR THE INFORMATION TO BE
ACCURATE ON THE EFFECTIVE DATE OF THE INSURANCE, IMMEDIATELY NOTIFY THE INSURER OF SUCH
CHANGES, AND THE INSURER MAY WITHDRAW OR MODIFY ANY OUTSTANDING QUOTATIONS AND/OR
AUTHORIZATIONS OR AGREEMENTS TO BIND THE INSURANCE. THE "EFFECTIVE DATE" IS THE DATE THE
COVERAGE IS BOUND OR THE FIRST DAY OF THE CURRENT POLICY PERIOD, WHICHEVER IS LATER. SIGNING
OF THIS APPLICATION DOES NOT BIND THE APPLICANT OR THE INSURER TO COMPLETE THE INSURANCE,
BUT [T IS AGREED THAT THIS APPLICATION SHALL BE THE BASIS OF THE CONTRACT SHOULD A POLICY BE
ISSUED AND IT WILL BE ATTACHED TO AND BECOME A PART OF THE POLICY. ALL WRITTEN STATEMENTS
AND MATERIALS FURNISHED TO THE INSURER IN CONJUNCTION WITH THIS APPLICATION ARE HEREBY
INCORPORATED BY REFERENCE INTO THIS APPLICATION AND MADE A PART HEREOF. THIS APPLICATION
MUST BE SIGNED BY THE CHAIRMAN OF THE BOARD, CHIEF EXECUTIVE OFFICER, CHIEF FINANCIAL OFFICER

OR THE PRESIDENT OF THE COMPANY.

"SIGNATURE bus Bore

TITLE: CFO DATE 04/06/2015

PLEASE SUBMIT THIS PROPOSAL AND APPROPRIATE MATERIALS TO:
(Enter the address and phone number of the focal The Hartford office.)

Required applicants in Flo: a, Jowa & Ne' ampshi

NAME OF BROKER Alllant Insurance Services BROKER LICENSE NO.
ADDRESS 9901 Business Parkway, Lanham, MD 20706
BROKER SIGNATURE _(Required: New Hampshire only)_-

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From: Bob Buczkowski [mailto:bobb@madisonmechanical.net]
Sent: Friday, September 25, 2015 4:56 PM
To: Chris Rogan <crogan@nnzlawfirm.com>
Subject: Madison

 

Chris,
First of thanks for all of you input on this issue and helping us to get closure.

I wanted to reach out to you on a persona level here as I am looking for some advice and guidance. We discussed the
fact that Madison was considering closing its doors and starting up something new. While that decision has
officially been made and I am not going to be part of the new company that is being setup. The reason for me not
being part of the new venture going forward is due to the position that I took in regards to what I felt was the best
“business” decision for Madison and not for ail of the partners. My positon on the matter was that if we made the
right decisions for Madison as an entity we would then be making what in the end would be the best decision for
all parties involved both partners and employees. I will try to layout some of the basic facts for you here in the email
but it is probably going to make more sense to have a discussion either by phone or in person for a full
understanding. Once you have the understanding of everything I would be looking for guidance on:

1} What do I need to do in order to protect myself in regard to Madison and any open/potential Itabilities,

2) What are my rights/options, if any, in regards to the decisions that have been made that I do not feel were in
the best interests of Madison and therefore myself by the others which has cost me both in terms of a) equity that I
had built up in the company, b) monies that I put back into the company and c) the loss of future equity by being
carved out as a member in the new entity going forwards.

3) This probably somewhat relates to item 1, and that would be the creation of some type of indemnification
agreement that would release me from the items noted above as well as any other items that I may have
overlooked. As well as some sort of agreement that would protect me from , lack of a better way of putting, being
the “fall guy” for any issues that might get conveniently blamed on the “money guy” in the organization. Who by
the way is not part of the “new” ongoing operations. Makes it look like I was the issue. Don’t need any negative

comments or innuendos following me around upon my departure.

4) Negotiating some type of settlement in regards to my exit either sometime in the near future or hanging
around and closing up of Madison.

Here is some basic information and we can get in to more details later and what else you may or may not need:

Ownership:

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Madison is currently owned by 5 individuals as noted below, Company was purchased from the Cooke Estate as of
December 31, 2007 for approximately $2.8m.

Glenn Haslam- 54% has been with Madison since it started. Madison was setup by Blasé Cook( owner of Harkins
Builders) to complete jobs that Glenn’s old company was doing for them when Glenn’s old company went into
bankruptcy. Blasé owned the company until his death in 2007. Glenn had an agreement where he could purchase

90% of the company upon his death.

Gary Garofalo- 13% Gary is the CFO of Harkins Builders and helped setup Madison. Gary had the right to purchase
the other 10% of Madiosn upon Blases' death.

Robert Buczkowski- 13% I came to Madison in 2002 and as part of my agreement to come on board it was agreed
with Glenn and myself that if and when Madiosn was purchased from the Blasé that I would be entitled to become

part owner,

Dick Lombardo- Dick is the President of Harkins Builders. Dick was offered ownership in Madison because we felt
that he would provide business guidance to Madison.

Larry Kraemer — Larry is VP of Estimating for Harkins Builders, Larry was also offered ownership for the same
reason as Dick.

There was no upfront cash payments required in the purchase of Madison, A note was executed with the Cooke
estate and payment were made from the profits of the company. In discussions leading up to bringing Dick and
Larry it was verbally discussed that the ownership interests of Glenn, myself and Gary were earned via “sweat
equity” over the years. Dick and Larry’s interests were supposed to be “earned in”. This definition for us meant
that they were not required to put in any money but that prior to any distributions(other than tax) going out that the
three of us would get a “preferential payment of 20% of the purchase price. This was never put down in writing by

Gary who was handling the issue.

Madison:

Madison had some good years and we were able to build up equity until we signed several large jobs with Clark
Construction. Due to improper staffing and management of these jobs Madison lost significant amounts of money.
We went from an equity balance of $7m to a negative equity of (1.7m) in 2013 followed up with a loss of ($1.6m) in
2014. Ownership has put in $975,000 in loans and capital contributions of $1.5m in 2014 and an additional $593k
in 2015, My portion of these amounts are $150k in loans and $143,000 in equity contributions.

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Loans ~ Madison owed BBT $2.9m for loc loans which were personally guaranteed by all shareholders. Loan has
been paid down to $1.3m currently.

Bonding ~ prior to July 2014 no one was personally signed on bonds. Due to some poor advice from our Bonding
agent we ended up signing for two new bonds which had the effect of making us liable for all previously issued
bonds as well. This was something that was not communicated to us and we made the mistake of not reading the
“fine print” in the agreement. Madison’s bonding company, Chubb, is the same bonding company for Harkins
Builders.

Jobs- other than the large jobs that we sustained the large losses on the work that we do has been profitable and
averages in the 20% margin range. Going back to our “bread and butter” work that we should have never strayed
from shows us returning back to the profitable years that we used to have.

New Company- the new company will consist of all parties but myself, with an individual named Rick Arnold
coming in. Glenn will give up 20% of his ownership, Gary will give up 1% and with my 13% he will have 34%,
Glenn now 34% , Gary 12%, Dick and Larry stay at 10% each.

Daily Operations- For the past 2.5 years we have been in a week to week situation with cash on hand and being able
to make payroll, We have used the profits from all of the new jobs to fund

Reason for my departure-
My take on it was for various reasons:

1) My positon that we needed to do the best thing for Madison as an entity which would be the best thing for all.
This was not looked upon as an option by Gary, Dick and Larry for several reasons, A) we shared bonding
companies and they thought by Madison walking away from the jobs that it would have an adverse impact upon
them.

2) The fact that Larry, Dick and Gary are part of Madison is not known to people. They are the top three that
run Harkins and it would not look good that they have been investors/partners in a company that they do work with
and it not being disclosed to all Harkins employees(they are an ESOP).

3) Related to the above is the fact that over the years there have been questions about Madison/Harkins
relationship and it has been told to some of our bigger repeat customers( Whiting Turner) that there was no
relationship that existed. If it was to get out then this could have an adverse impact upon Glenn as he was the one

telling people there was no involvement.

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4) Dick is involved in a lot of community and business activities being the President of Harkins. He did not
want it to get out that he was part of Madison who had filed for bankruptcy.

5) In the latter half of last year 1 made a stand and told them that I was not going to put in any more money until
there was a meeting amongst all and we actually had an overall game plan on how we would work our way out of
the current situation and what we would do going forwards. There have been no meetings and I did not make any
contribution that last time they wanted to make a capital call. It would have been throwing good money after bad

money. This seems to of been the right cal] in many ways as now I am not part of what is going to be “New Co” for
Madiosn and there was never any guarantee that me putting money in would of made a difference.

I am going to stop writing here as I was trying to get you a “brief” overview and as I write it appears that I could go
on for pages laying everything out for you. It would be best if you were to let me know when you could talk and
we could have a conversation on the topic and you could let me know what if anything you could help me on or
point me in the right direction. :

Thanks- Bob

Bob Buczkowski, CPA
Madison Mechanical, Inc, CFO
410-461-7301 (0)
410-461-8470 (F)
410-984-1636 (C)

From: Chris Rogan [mailto:crogan@rmzlawfirm.com]

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SCARLETT, CROLL.& MYERS, PA.

Arronneys Ar Law
SUITE 600
201 NORTH CHARLES STREET
BALTIMORE, MARYLAND 21201 «4110

 

(410) 468-3100
Trrerax (410) 332-4026

VIRGINA OFFICE:
616 KING STREET
SUITE 400

MICHAEL 8. MYERS
. RScarjett@ScarlettCroll.com ALEXANDRIA, VIRGINIA 22314

ROBERT BD. SCARLETT*
ANOREW M. CROLL

* Ataa Aperrran w D.C.

November 11, 2015

"VIA FEDERAL EXPRESS

Mr. Glenn A. Haslam
12154 Mt. Albert Road
Ellicott City, MD 21042

Glenwood, MB 21738

  
 

 

 
 

tk Drive
p, MD 21794

‘Mr Lawrence Kraemer

 

“3039 Exéélsior Springs Court
Ellicott City, MD 21042

 

Re: — Robert J. Buczkowski and Madison Mechanical, Inc.

Gentlemen:

The undersigned represents Robert Buezkowski with respect to his interests in Madison
Mechanical OS Corp., which owns directly, or indirectly Madison Mechanical, Inc. and Madison
Contracting, LLC.-; It: is. my: understanding the; ownership of Madison Mechanical OS Corp.

(“Madison Mechanical”) i is as follows:

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Mr. Gary Garofalo

Mr, Richard Lombardo
Mr, Lawrence Kraemer
Mr. Richard:G. Armold
November 11, 2015
Page 2

 

 

 

 

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I janical Contracting,

 

LLC ‘aré $0 similar.

~ Ifitis your plan to divert.the contracts and corporate opportunity of Madison Mechanical,
please consider this letter putting you on notice of the potential litigation liability of such actions
both on a corporate and personal level. Please cease and desist any such action to divert any
corporate opportunity that. Madison Mechanical has to either yourselves or Madison Mechanical
Contracting, LLC without the consent of my firm’s client, Robert Buczkowski.

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Mr. Glenn A. Haslam
Mr. Gary Garofalo
Mr. Richard Lombardo
Mr. Lawrence Kraemer
Mr. Richard G, Amold
November 11, 2015
Page 3

My client has made it clear to me that he does not want to enter into civil litigation, given
his long-standing relationship with each of you. He would prefer to sit down and try to work out
ny potential differences while at the same time preserving his thirteen percent (13%) interest in
Madison Mechanical. I would Suggest that each of you take this letter to your. respective
attorneys so they can advise you as to the law on this matter and then call me so we can schedule a

” “conveniéiit date atid'time to furthér discuss the issues set forth inthis lettér.” Orice again, I mis’
emphasize that my client would rather discuss these matters with each of you and try to resolve the
differences between the parties in an amicable fashion,

Please either contact me or have your counsel contact me within thirty (30) days from the
date of this letter to avoid potential legal action.

I will look forward to working with each of you.

‘Very truly yours,

SCARLETPCROLL & MYERS, P.A,
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Pf We enn

  

RBS/akr

cc; Robert Buczkowski (via email)

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November 18, 2015

Mr. Rabert Buczkowski
804. Winchester Drive
Westminster, MD 22457

 

Dear Mr. Buczkowski,

For the reasons that have been discussed with you on numerous occasions, you were previously
_advised that your employment with Madison Mechanical, Inc. (the Company) was being terminated for
cause. Although the projected date of termination was originally expected ta be November 25, 2045,
the Company has decided to accelerate the date of your termination, and your employment is heréby
terminated for cause, elfective immediately. Despite having no obligation to da so, the Company will
continue ta pay you your regular pay, less applicable taxes and withhaldings, through the originally
scheduled termination date of November 25, 2015.

As you are aware, in order to ease your transition, the Company previously offered to pay you
severance. It Is the understanding of the Company that you have rejected that offer, Accordingly,
unless otherwise agreed, all wages and henefits will cease subsequent to November 25, 2015.
Additional Information regarding continuation of benefits will be provided under separate cover.

Please immediately return all Company property, including the laptop that was provided to you
by the Company as well as all Campany materials and documentation. You may retain your company
issued cell phones, but service for al} phones in your possession will be discontinued and your phones
will be rernoved from the Company’s service plan. Please certify that you have not retained any copies,
electronic or otherwise, of the Company's confidential and proprietary Information. As you are aware,
your duty to maintain confidentiality of the Company's non-public, confidential and praprietary
information continues beyond the date of your termination.

We will continue to work towards resolution of any outstanding | issues through our respective
legal representatives.

Sincerely, ,

Glenn Haslam
President
Madison Mechanical, Inc, -

we

 

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STOCKHOLDERS AGREEMENT

THIS AGREEMENT is made effective as of the 31% day of December, 2007, by and
between ROBERT J. BUCZKOWSKI, GLENN A. HASLAM, GARY J, GAROFALO,
RICHARD M. LOMBARDO and LAWRENCE P. KRAEMER (separately the
“Stockholder” and together the “Stockholders”), and MADISON MECHANICAL OS CORP.,

a Maryland corporation (the “Corporation”).
RECITALS:

WHEREAS, the Corporation was formed on December 13, 2007 for the purpose of
acquiring all of the issued and outstanding capital stock of and operating Madison Mechanical,

Inc,; .

WHEREAS, the Corporation has authorized Ten Thousand (10,000) Shares of one class
of Common Stock with a One Cent ($0.01) par value; ,

WHEREAS, the Stockholders presently own 200 Shares of Common Stock
representing all of the issued and outstanding shares of Corporation stock (the “Shares”);

WHEREAS, of even date herewith, the Corporation has acquired all of the issued and
outstanding Common Stock of Madison Mechanical, Inc. (“MMI Stock”) from Dawn Cooke (the
“Transferor’’) in exchange for a Promissory Note from the Corporation secured by a pledge of
the MMI Stock and joint and several guaranties from the Stockholders hereunder;

WHEREAS, of even date herewith, Stockholder Garofalo, Stockholder Lombardo and
Stockholder Kraemer will exchange their Shares of Common Stock for Voting Trust Certificates
and Richard A. Kohr, Jr, Voting Trustee of the Corporation’s Voting Trust (the “Voting
Trustee”) will hold the Stock Certificates in trust to give the Corporation a discrete Identity of

Interest from Harkins Builders, Inc.;

WHEREAS, it is the intention of the Stockholders that there are adequate insurance
proceeds to fund the purchase of the stock held by any existing or future Stockholder by reason

of death; and

WHEREAS, it is the intention of the Stockholders that there be an effective mechanism
to deal with the termination of employment by reason of death, disability, retirement or other
voluntary or involuntary withdrawal of any Stockholder.

NOW, THEREFORE, AND IN CONSIDERATION of the recitals herein contained,
which shall be deemed to be a substantive part of this Agreement, and the mutual covenants,

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promises, representations and warranties of the parties hereto, the parties do hereby covenant,
promise, agree, represent and warrant as follows:

1 Restrictions on Shares. None of the stock of any Stockholder nor any right,
title, or interest therein, whether now owned or hereafter acquired, shall be voluntarily or
involuntarily sold, assigned, pledged, encumbered, exchanged, gifted, disposed of or otherwise
transferred (hereinafter collectively referred to in the singular as a “Transfer”), except in
accordance with the provisions of this Agreement. In no event shall all or any shares of a
Stockholder's Stock be transferred directly to a minor. Any disposition or encumbrance of stock
contrary to the provisions hereof shall be void. The Corporation shall not issue any additional

shares of stock.

2. Authorized Transfers. Notwithstanding the provisions of Paragraph 1, any
Stockholder may transfer all or part of his or her stock by sale, gift or bequest to his or her
spouse, lineal descendants, or other members of his or her immediate family who are actively
employed full-time by Madison Mechanical, Inc., Madison Mechanical OS Corp., or any other
entity related to said entities (the “Corporation and its affiliates”) as determined by a majority of
the Stockholders, but any stock so transferred shall be subject to the terms, conditions, and
restrictions of this Agreernent. The transferee shall be considered to be a “Stockholder”
hereunder only after acknowledging and accepting this Agreement. Any transfer shall be subject
to the tax provisions in Section 13 of this Agreement.

3. Transfer Procedure.

(a) For purposes of this Agreement, the Stockholder who becomes disabled or
insolvent, who fails to contribute upon a default of the Corporation’s obligations to
Transferor, who desires to transfer any portion of his or her Corporation stock during life
or who dies, ail of which is more particularly delineated below, may be referred to as the
“Offering Stockholder” and the other Stockholders subject to this Agreement who have
not become disabled or insolvent or who do not desire to transfer their Corporation stock
or who have not died shall be referred to as “Other Stockholders.”

(b) Corporation Meeting.

(1) The Offering Stockholder or his or her representative shall give at
least thirty (30) days notice in writing by registered or certified
mail, retum receipt requested, to the Other Stockholders and the
Corporation, setting forth the number of shares the Offering
Stockholder owns and that will be transferred. Within the 30-day
period, the Corporation shall call a meeting of the directors to”
which the Stockholders shall be invited upon not less than five
days or more than ten days written notice to all directors and

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Case 1:17-cv-01357-SAG Document 91-5 Filed 10/10/19 Page 41 of 159

(2)

(3)

(4)

Stockholders. Such meeting shal] be held at the Corporation's
principal office or such other place as may be designated in the
notice, during normal business hours. At such meeting, the shares
of the Offering Stockholder shall be offered for sale and shal! be
subject to the Other Stockholders’ option to purchase. The Other
Stockholders may elect to buy those shares in proportion to their
ownership interest in the Corporation (disregarding the shares
owned by the Offering Stockholder and by those Other
Stockholders who do not wish to purchase shares). Should any of
the Other Stockholders elect to exercise his or her option, he or she
shall do so only at the time of such meeting or any adjourned date
thereof not to exceed ten days.

If the Other Stockholders do not purchase all of the shares offered
by the Offering Stockholder, the remaining shares shall be offered
for sale and shal] be subject to an option in favor of the
Corporation to purchase the shares. If any option is exercised, the
exercise shall be at the time of the directors' meeting called
pursuant to the provisions of this paragraph, or any adjourned date
thereof not to exceed ten days.

If the Corporation does not purchase all of the shares offered by
the Offering Stockholder, the remaining shares shal] be offered to
a person that the Stockholders unanimously agree upon, This
person shall be referred to as the “Purchaser.” The Purchaser must
acknowledge and accept all of the terms of this agreement before
any transfer to the Purchaser may be commenced.

Within five days after the meeting of directors, the Secretary of the
Corporation shall notify the Offering Stockholder of the action
taken at the meeting. Such notice shall state how many shares, if

_ any, the Other Stockholders have elected to purchase. If the Other

Stockholders have not elected to purchase all of the shares, the
number of shares, if any, that the Corporation has elected to
purchase, and if the Corporation has not elected to purchase all of
the shares, the number of shares, if any, the Purchaser has elected
to purchase.

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4. Transfers During Lifetime.

(a) Transfers by Reason of Termination of Employment:

(1)

(2)

if

(3)

(4)

Unless a Stockholder is terminated for cause as provided in _
Paragraph (a)(3), the Offering Stockholder shall transfer the *~
Offering Stockholder’s stock according to the provisions of
Section 3 at the price and terms as set forth in Paragraph (a)(4)
below.

The Corporation and its affiliates shall have the right, at all times,
to determine what shall constitute “termination of employment.”
Such determinations may be made pursuant to oral or written
policy and said policy is subject to waiver at the option of the
Corporation and its affiliates.

In the event that a Stockholder has been terminated for cause, then
the purchase price shall be the lesser of the formula for the

purchase price as determined in Section 6 or the amount the
Offering Stockholder paid for such shares. Termination for cause
shall mean termination for persistent non-performance of the
Stockholder’s duties as an employee or officer of the Corporation
and its affiliates or for criminal conduct involving a crime of moral
turpitude, gross negligence, willful misconduct or a breach of the
Stockholder’s fiduciary duty to the Corporation and its affiliates as
an employee, director or officer.:

The price and terms of a sale in the case of retirement or a
voluntary termination from the Corporation or its affiliates shall be
provided in Section 6 hereof, except that in the event the
Corporation is still obligated to the Transferor for its purchase of
MMI Stock, the Offering Stockholder shall surrender his shares in
exchange for an indemnification for and/or release from the
Guaranty for the Corporation’s obligation to Transferor.

(b) Transfers by Reason of Disability:

(1)

Ifa Stockholder becomes disabled as defined in Paragraph (b)(2)
of this Section 4, then and in such event the Disabled Offering
Stockholder or his or her representative shall transfer the Disabled
Offering Stockholder’s stock according to the provisions of
Section 3 at the price and terms as set forth in Section 6 hereof.

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(2)

For purposes of this agreement, “Disabled” shall mean, with
respect to any Stockholder, that such Stockholder is unable to
perform his or her normal duties for the Corporation because of
injury or physical or mental illness for three hundred sixty-five
(365) consecutive days and his or her disability is of a nature that
he or she will not be able to resume his or her duties for another
one hundred eighty (180) days. If the Stockholders do not agree
whether a Stockholder is disabled to the extent specified in and for
the purpose-of this section, then any Stockholder (the “Requiring
Stockholder”) may require the disabled Stockholder to be
examined by a physician by so notifying the Disabled Stockholder.
The notice shall contain the name and address of the physician
selected by the Requiring Stockholder. The Disabled Stockholder
may select a physician within thirty (30) days after notice from the
Requiring Stockholder. If the Disabled Stockholder does not
select a physician within that thirty (30) day period, then the
physician selected by the Requiring Stockholder may act alone,
and the Corporation and the Stockholders shal! be bound by the
opinion of the physician selected by the Requiring Stockholder. If
the Disabled Stockholder selects a physician and the two
physicians selected are unable to agree whether the Disabled
Stockholder is disabled, then, within fifteen (15) days after the
second physician delivers his written opinion, the two physicians
shall select a third physician to examine the Disabled Stockholder.
If the two physicians do not agree upon the selection of a third
physician within fifteen (15) days, then any Stockholder, within
the next fifteen (15) days, may request that the President of the
Medical and Chirurgical Faculty of Maryland select a third
physician. Within thirty (30) days after his or her selection, each
physician who examines the Disabled Stockholder shall prepare
and deliver to the Corporation and the Stockholders a written
opinion as to whether the Disabled Stockholder is, in fact, disabled
within the meaning of this section. The Corporation and the
Stockholders shall be bound by the opinions of the physicians they
select or, if the physicians cannot agree, then by the opinion of the
third physician. Each Stockholder shall pay the fee of the
physician he or she selects, and the Stockholders shall share
equally the fees of the third physician, The “Date of Disability"
shal] be the earlier of: (i) the date that the final opinion of
disability is given, or (ii) the date the Stockholders unanimously
agree that a Stockholder is disabled to the extent specified in this
section.

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(3) Such obligation to transfer the Disabled Offering Stockholder’s
stock as set forth in Paragraph (b)(1) of this Section 4 shal! arise
on the Date of Disability as set forth in Paragraph (b)(2).

(c) Transfers by Reason of Insolvency:

(1) Ifa Stockholder voluntarily or involuntarily enters into or is placed
into bankruptcy, insolvency, rehabilitation, liquidation,
receivership, trusteeship or similar arrangement under, or with
respect to, any federal or state law, ruling or regulation (hereinafter
called “Insolvency”), then and in such event the Offering
Stockholder shall transfer the Offering Stockholder’s stock
according to the provisions of Section 3.

(2) Such obligation to sell and such obligation to purchase as set forth
in Paragraph (c)(1) of this Section 4 shall arise one (1) day before
any court, government body or administrative body obtains
jurisdiction over or any trustee or receiver comes into possession
of the Insolvent Offering Stockholder’s assets and estate (hereafter
called “Date of Insolvency”), it being the intention of this
Agreement to provide a marketplace for the sale of the Insolvent
Stockholder’s Corporation stock at a fair value, to the benefit of
both the Other Stockholders and the estate of the Insolvent
Stockholder. Except for price, the terms of any sale under this
paragraph shall be similar to those found in Section 6.

(d) Transfer due to a Failure of the Stockholder to Contribute upon a
Default of the Corporation’s Obligations to Transferor:

(1) Stockholder has agreed to a joint and several guaranty of the
Corporation’s obligations to Transferor. In the event of a default
of the Corporation’s obligations, the Transferor may choose to
enforce said guaranties against the Stockholders. If any
Stockholder hereunder fails to contribute upon the enforcement of
the guaranty by Transferor and the Other Stockholders are forced
to contribute to cover the Non-contributing Stockholders pro-rata
share of the Corporation’s obligations, the Non-contributing
Stockholder shall be deemed an Offering Stockholder and he shall
offer to sel] his stock according to the provisions of Section 3 at
the price and terms as set forth in Paragraph (d)(2) below.

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(2) The Offering Stockholder’s shall surrender his stock to the Other
Stockholders unless he reimburses the Other Stockholders who
covered the Corporation’s obligations to the Transferor. If the
Other Stockholders or the Corporation shall sell the Offering
Stockholder’s Stock within ninety days of the Offering
Stockholder’s surrender, the Other Stockholder’s or the
Corporation shall remit any amounts paid by the purchaser of said
stock over the Offering Stockholder’s pro rata share of any
amounts advanced by the Other Stockholders.

{e) Other Transfers During Life: If a Stockholder desires to “Transfer” (as
defined above) part or all of his stock in the Corporation for reasons other than disability,
insolvency, or failure to contribute upon a default of the Corporation's obligations to
Transferor as set forth above or death as set forth below, then and in such event the
Offering Stockholder shall notify the Corporation and the Offering Stockholder shall
offer to sell the Offering Stockholder’s stock according to the provisions of Section 3 at
the price and terms as set forth in Sections 6 or as otherwise provided.

5. Transfer at Death. Upon the death of a Stockholder, the Other Stockholders
shall purchase and the personal representative or administrator shal] sel] all of the Corporation
stock owned by the deceased Offering Stockholder to the Other Stockholders in portions equal to
their respective shares in the Corporation among the Other Stockholders. The amount and
payment of the purchase price shall be upon the terms and conditions set forth in Section 8
hereof,

6. Purchase and Terms of Payment.

(a) Value of the Corporation’s Stock: The value of the Corporation’s stock
required to calculate the purchase price hereunder shall be the Book Value of the
Corporation for the most recently completed year. Book Value shall be determined from
the Corporation’s GAAP-basis books as determined the Corporation’s Certified Public
Accountant, except that the investment in MMI Stock shall be valued accerding to the
Book Value of Madison Mechanical, Inc. on a GAAP-basis as long as it is a wholly-
owned subsidiary of the Corporation.

(b} Purchase Price: The value of the Corporation’s stock multiplied by the
Offering Stockholder's percentage interest in the Shares is the tentative purchase price
(“TPP”). The formula for the purchase price is calculated by taking the TPP and adding
an amount equal to the Offering Stockholder’s distributable share of taxable income or
capital gains from the Corporation for any tax year shortened due to the termination
under Paragraph (b) of Section 13 multiplied by the Offering Stockholder’s respective
marginal rate of income tax or the capital gains rate and the state income tax rate (the

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‘Adjusted TPP”). If the transfer is completed without the need for the termination under
said paragraph or if there is a tax loss, then the formula for the purchase price shall be
equal to the TPP. If the Offering Stockholder has received the benefit of a deferral of
taxable income, then an amount equal to the taxable income deferred multiplied by the
Offering Stockholder’s respective marginal rate of income tax and/or the capital gains
rate and the Stockholder’s marginal state income tax rate shall be deducted from the
Adjusted TPP or the TPP, as the case may be. The purchase price shall be paid by the
Corporation, the Other Stockholders, or the Purchaser in proportion to the amount of
shares each has purchased. The Purchase Price shall be determined by the Corporation’s
Certified Public Accountant. .

(c) Payment Terms:

(1)

(2)

Time of Payment: Except as otherwise provided, purchase of
stock will be made no earlier than one (1) year from the
Secretary’s notice provided under Section 3(b)(4) or earlier at the
option of the majority of the Other Stockholders. In the event of a
transfer by reason of disability under Section 4(b) or retirement
under Section 4(d), purchase of stock will be made within ninety
(90) days of the Secretary’s notice provided under Section 3(b)(4).

Manner of Payment: The purchase price shall be paid in cash if
the value of the Offering Stockholder’s stock is One Hundred
Thousand Dollars ($100,000) or less. If the value is more than
One Hundred Thousand Dollars ($100,000), the purchase price
shall be paid by promissory note from the Corporation,
Stockholder, or Purchaser payable with interest at an Annual
Percentage Rate at the greater of five percent (5%) or the
Applicable Federal Rate on the last business day of the month
preceding the date of execution and delivery of the note with
curtailments of no less than One Hundred Thousand Dollars
($100,000) per annum unti! paid. The Corporation, Stockholder,
or Purchaser may prepay the outstanding balance at any time
without penalty, Any default not cured within thirty (30) days of
written notice, wil] entitle the note holder to accelerate the
outstanding balance of the note. The note shall be secured by a
pledge of the Offering Stockholder’s stock and a guaranty by the
Corporation, if the Other Stockholders or a Purchaser purchases
the stock, or a joint and several guaranty by the Other Stockholders
if the Corporation purchases the stock.

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(3) Upon receipt by the Offering Stockholder of the purchase price in
cash, or in cash and promissory notes secured by the stock, the
Offering Stockholder shall endorse and deliver the stock to the
Corporation, Other Stockholders, or Purchaser in portions
consistent with the Secretary’s notice provided under Section

3(b)(4).

(d) Withholding of Payments: Unless the Corporation may exercise its right
of offset to fully satisfy the amounts due from the Offering Stockholder as provided by
Section 7, the Purchaser or Other Stockholders that have agreed to purchase the Offering
Stockholder’s stock shall withhold payments due to the Offering Stockholder and make
the payments to the Corporation until the outstanding balance and accrued interest owed
by the Offering Stockholder to the Corporation as of the date of closing on the stock sale

has been satisfied, ©

7, Right of Offset. To the extent that there is any unpaid balance owed by the
Offering Stockholder to the Corporation, the obligation of the Corporation on the purchase of the
stock shall be offset by an amount equal to the outstanding balance and accrued interest as of the
date of closing on the repurchase and/or the redemption of the stock.

8. Payment of Purchase Price upon Death.

(a) Purchase Price: The purchase price of a deceased Stockholder’s shares
shall be the greater of two times (2x) the purchase price as determined in
Paragraph (b) of Section 6 or any life insurance proceeds from life
insurance obtained on the Stockholder’s life by the Corporation, the Other
Stockholders, or any related entity owned by the Other Stockholders for
the purpose of financing a buyout of the Stockholder’s shares.

(b) Payment Terms:

(1) Time of Payment: Except as provided below, the purchase price
shal] be paid by the Stockholders in cash to the decedent’s estate
within the later of: (1) thirty (30) days after the appointment of a
Personal Representative, or (2) the payment of the death benefits
of any insurance policy on the life of the decedent, but in no event
later than 240 days from the date of death.

(2) | Promissory Note: Ifthe insurance proceeds are insufficient to fund
the amount due to the estate of the deceased Stockholder then the

balance shall be paid by promissory note from the Other
Stockholders payable with interest with interest at an Annual

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Percentage Rate at the greater of five percent (5%) or the
Applicable Federa} Rate on the last business day of the month
preceding the date of execution and delivery of the note with
curtailments of no less than One Hundred Thousand Dollars
($100,000) per annum until paid. The Other Stockholders may
prepay the outstanding balance at any time without penalty. Any
default not cured within thirty (30) days of written notice will
entitle the note holder to accelerate the outstanding balance of the
note. The note shail be secured by a pledge of the Offering
Stockholder’s stock and a guaranty by the Corporation,

(3) Upon receipt by the estate of the deceased Stockholder of the
purchase price in cash, or in cash and promissory notes secured by
the stock, the estates legal representative shall endorse and deliver
the decedent’s stock to the Other Stockholders in shares in
proportion to their ownership interest in the Corporation
(disregarding the shares owned by the Offering Stockholder and by
those Other Stockholders who did not purchase shares),

9, Insurance, The Corporation may maintain insurance on the life of each
Stockholder, naming itself as a beneficiary in the amount as decided by the Stockholders.
Insurability for future Stockholders is an important consideration to the Corporation and any new
Stockholder shall cooperate so as to obtain life insurance in amounts requested by the
Stockholders to fund the purchase of a Stockholder’s stock in the Corporation. All such policies
shall be subject to the terms of this Agreement. The Corporation shall pay all premiums due on
the policies and shall give proof of payment to the Stockholders within fifteen (15) days after the
due date of each premium. Stockholder agrees to freely consent to the Corporation’s acquisition
of any life insurance policies on the Stockholder’s life. Nothing contained herein shall prevent
the Stockholders from establishing another entity for the purposes of acquiring the life insurance
contemplated herein. Any such entity created shall be obligated to adopt the terms and
conditions of this Agreement, as amended.

10. Rights and Obligations Concerning Policies, If the Corporation purchases life
insurance policies, the Corporation shall be the sole owner of all policies taken out on the lives
of Stockholders, and may exercise all rights under such policies, Any person, such as the
Corporation, the Other Stockholders, or the Purchaser, who is obligated on the note for the
purchase of an Offering Stockholder's stock, shall be obligated to keep in full force and effect
any insurance policies on the life of an Offering Stockholder. If the Offering Stockholder dies
during the term of the unpaid loan obligation 1o him or her, the insurance proceeds shall be used
to fund the unpaid balance owed to the Offering Stockholder. If obligated, the Corporation shal}
pay the premiums on the Offering Stockholder’s policy, or the Other Stockholders or the
Purchaser shal! make cash contributions for the premiums to the Corporation. If the Corporation

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has given the Offering Stockholder a note for all or a portion of the Offering Stockholder's
stock, the Corporation shall be designated, in whole or in part, as the beneficiary of said policy

until the unpaid loan obligation has been fully paid.

11. Distributions. Before the Corporation admits New Stockholders, it shall be
permitted to make a distribution to any existing Stockholder. The Corporation also agrees to.
utitize its best efforts to distribute sufficient payments to fund the Stockholder’s tax liabilities on
their share of Sub S Taxable Income.

12. Corporate Restrictions After Purchase, So long as any part of the purchase

price of stock purchased in accordance with this Agreement or the Corporation’s obligation to
the Transferor remains unpaid, the Corporation shall not: (a) reorganize its capital structure
(except to reduce its capital as required by the provisions of Section 11 of the Agreement); (b)
merge or consolidate with any other Corporation or sell any of its assets except in the regular
course of business; or (c) increase the salary or bonus of any officer of the Corporation except
for reasonable increases; (d) or take any action to dilute the Book Net Income of the
Corporation; or (e) to divest any corporate opportunity, directly or indirectly. So long as any
part of such purchase price remains unpaid, the transferor or the Decedent’s personal
representatives, as the case may be, shal] have the right to examine the Corporation’s books and
records from time to time and receive copies of all accounting reports and tax returns prepared
for or on behalf of it. If the Corporation breaches any of its obligations under this Paragraph, the
transferor or the Decedent's personal representative, as the case may be, in addition to ail other
remedies available, may elect to declare the entire unpaid purchase price due and payable

forthwith.
13. Tax Provisions.

{a) Subchapter S Status: No Stockholder shall take any action that would
cause the Corporation to lose its Subchapter S status or cause the Subchapter S status to
be terminated except upon election by the Stockholders and Corporation in accordance
with Section 1361 et seg. of the Internal Revenue Code of 1986, as amended (the

“Code”).

(b) Termination of Taxable Year of Corporation: The Corporation and the
Stockholders agree that on the date of purchase of an Offering Stockholder’s stock the
tax year of the Corporation shall be terminated in accordance with Section 1377(a)(2) of

the Code.

14, Investment Representations: Endorsement on Stock Certificates,

(a) | Each Stockholder represents to the Corporation that he has acquired the
Corporation stock for the sole purpose of investment and without a view to the public

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distribution thereof, and that the Corporation stock has not been registered or qualified
under the Securities Act of 1933, as amended, or under the Maryland Securities Act, and
may not be assigned, hypothecated, pledged, sold or otherwise transferred for a period of
two (2) years without an effective registration or qualification under said Acts, unless an
exemption under said Acts from registration or qualification is in fact available.

(b) Upon the execution of this Agreement, the certificates of stock subject
hereto shal! be surrendered to the Corporation and endorsed as follows:

“The shares of Corporation stock represented by this Certificate have been
acquired for the sole purpose of investment and without a view to public
distribution thereof; None of the Corporation stock represented by this
certificate have been registered or qualified under the Securities Act of
1933, as amended, or under the Maryland Securities Act, and may not be
assigned, hypothecated, pledged, sold or otherwise transferred for a period
of two (2) years without an effective registration or qualification under
said Acts, unless an exemption from registration or qualification under
said Acts is in fact available. This certificate is transferable only upon
compliance with the provisions of the Stockholders Agreement between
ROBERT J. BUCZKOWSKI, GLENN A. HASLAM, GARY J.
GAROFALO, RICHARD M. LOMBARDO, LAWRENCE P.
KRAEMER, and MADISON MECHANICAL OS CORP.., a Maryland
corporation effective the 31st day of December, 2007, a copy of which is
on file with the Secretary of the Corporation.”

(c} After endorsement, the certificates shal] be returned to the Stockholders
who shall, subject to the terms of this Agreement, be entitled to exercise ail rights of

ownership of such stock.

16. Specific Performance, {f any party hereto or the personal representative of a
Decedent institutes any action or proceeding to enforce the provisions hereof, any person
(including the Corporation) against whom such action or proceeding is brought hereby waives
the claim or defense therein that such party or such personal representative has an adequate
remedy at law and accept a remedy of specific performance and such other as may exist in law

and equity.

17, Attorneys Fees. In the event of a breach or default by any party to this
Agreement, the non-defaulting parties shall be entitled to reasonable attorney’s fees, costs and

expenses against the defaulting party or parties in enforcing, prosecuting or defending any
dispute or litigation under this Agreement.

18. Further Assurances. Each of the parties hereto will cooperate and provide all

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necessary documentation and take such other actions as necessary to carry out the meaning and
intention of this Agreement.

19, Notices, AJ! notices, designations, consents, offers, acceptances, or any other
communication provided for herein shall be given in writing by registered or certified mail,
retum receipt requested. Such notices shall be addressed, in the case of the Corporation, to its
principal office, and in the case of any Stockholder, to his or her address appearing on the books
of the Corporation or his or her residence or to such other address as he or she may designate.

 

20. Invalid Provision. The invalidity or unenforceability of any provision of this
Agreement shall not affect the other provisions hereof, and the Agreement shall be construed in
all respects as if such invalid or unenforceable provisions were omitted,

21. Entire Agreement. This Agreement supersedes all prior agreements between the
parties relating to its subject matter. There are no other understandings or agreements between

them concerning the subject matter.

22. Non-waiver. No delay or failure by a party to exercise any right under this
Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any

other right, unless otherwise expressly provided herein.

23. Weadings, Headings in this Agreement are for convenience only and shall not be
used to interpret or construe its provisions.

24, Governing Law. This Agreement shall be construed in accordance with the laws
of the state of Maryland.

25. Counterparts. This Agreement may be executed in two or more counterparts,
each of which shall be deemed an original but all of which together shall constitute one and the

same instrument.

26. Binding effect. The provisions of this Agreement shall be binding upon and
inure to the benefit of each of the parties and their respective successors and assigns. Any
required action of the Voting Trustee in connection with a sale of any stock under this
Agreement shall be implicitly authorized according to the terms of this Agreement and the
Voting Trust Agreement. Any needed action of a Stockholder, his personal representatives or
assigns, thereunder shall not be unreasonably withheld.

27. Spousal Consent. If the spouse of a Stockholder is not actually a party to this
agreement, the Stockholder must obtain his/her spouse’s consent to its terms by executing the

consent attached as Exhibit A.

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28, Amendments. This Agreement may be altered, amended or terminated upon the
mutual written consent of all parties hereto.

[Signatures appear on following page]

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IN WITNESS WHEREOF, the Corporation has. caused this Agreement to be signed by
its duly authorized officer, and its corporate seal to be affixed hereto, and the Stockholders have
hereunto set their hand and seal, both the day and year as hereinbefore noted.
WITNESS/ATTEST: STOCKHOLDERS:

JE RAT) Prrepkerds (seat)

Robert J. Bdczkowskt

“Glenn A. Haslam

ME 6. IF (Ye (SEAL)

Gary J. Garofalo

Eft rt (SEAL)

Richard M. Lombardo

JE Za

Lawfence P. Kraemer

 

 

 

 

WITNESS/ATTEST: MADISON MECHANICAL OS CORP.
a Maryland corpotation

MELE La np ELLE (SEAL)

“Glenn A. Haslatn~President

Stockholders Agmt.v2.DOC

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EXHIBIT A
Spousal Consent

The Spouse of hereby consents to the terms and restrictions of

this Stockholders Agreement, effective this 31st day of December, 2007, by and between
ROBERT J. BUCZKOWSKI, GLENN A. HASLAM, GARY J. GAROFALO, RICHARD
M. LOMBARDO, LAWRENCE P. KRAEMER, and MADISON MECHANICAL OS

CORP., a Maryland corporation.

IN WITNESS WHEREOF, the Stockholder has caused this Spousal Consent to be
signed by his Spouse, and the Spouse has hereunto set her hand and seal, on this__ day of
, 2007,

WITNESS/ATTEST:

 

(SEAL)
Name:

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Spousal Consent

The Spouse of ROBERT J. BUCZKOWSKI hereby consents to the terms and -
restrictions of this Stockholders Agreement, effective this 31st day of December, 2.007,. ,
by and between ROBERT J. BUCZKOWSKI, GLENN A. HASLAM, GARY J. .
GAROFALO, RICHARD M. LOMBARDO, LAWRENCE P. KRAEMER, and
MADISON MECHANICAL OS CORP., a Maryland corporation,

IN WITNESS WHEREOF, the Stockholder has caused this Spousal Consent to be
signed by his Spouse, and the Spouse has hereunto set her hand and seal, on this 26 day

Of Decembe- __, 2007.
WITNESS/ATTEST:
. — |
Pot Fe — Mca JID Bay Bassa, (SEAL)

 

Name: Boaut Gey map

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Spousal Consent

The Spouse of GLENN A. HASLAM hereby consents to the terms and
restrictions of this Stockholders Agreement, effective this 31st.day of December, 2007, .
by and between ROBERT J. BUCZKOWSKI, GLENN A. HASLAM, GARY J.
GAROFALO, RICHARD M. LOMBARDO, LAWRENCE F. KRAEMER, and
MADISON MECHANICAL OS CORP., a Maryland corporation.

IN WITNESS WHEREOF, the Stockholder has caused this Spousal Consent to 2 Pen .
ai by his Spouse, and the Spouse has hereunto set her hand and seal, on this? 06 "Gay

f Decembe-s , 2007.

 

 

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Spousal Consent

The Spouse of GARY J. GAROFALO hereby consents to the terms and
restrictions of this Stockholders Agreement, effective this 31st day of December, 2007,
by and between ROBERT J. BUCZKOWSKI, GLENN A. HASLAM, GARY J.
GAROFALO, RICHARD M. LOMBARDO, LAWRENCE P. KRAEMER, and
MADISON MECHANICAL OS CORP., a Maryland corporation.

IN WITNESS WHEREOF, the Stockholder has caused this Spousal Consent to be
signed by his Spouse, and the Spouse has hereunto set her hand and seal, on this 30 day

of Deconbe, > 2007,

 

 

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Witness

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Spousal Consent

The Spouse of LAWRENCE P. KRAEMER hereby consents to the terms and
restrictions of this Stockholders Agreement, effective this 31st day of December, 2607,
by and between ROBERT J. BUCZKOWSKI, GLENN A.-HASLAM; GARY J.
GAROFALO, RICHARD M. LOMBARDO, LAWRENCE P. KRAEMER, and
MADISON MECHANICAL OS CORP., a Maryland corporation,

IN WITNESS WHEREOF, the Stockholder has caused this Spousal Consent to be
signed by his Spouse, and the Spouse has hereunto set her hand and seal, on this 3/3 day

 

 

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Case 1:17-cv-01357-SAG Document 91-5 Filed 10/10/19 Page 59 of 159

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Baxter, Baker, Sidle, Conn & Jones, P.A.
Attorneys at Law
120 E. Baltimore Street, Suite 2100
Baltimore, Maryland 21202-1643

 

Daryl J. Sidle Telephone (410) 230-3800
Direct Line (410) 385-8077 Facsimile (410) 230-3801
e-mail; djs@bbsclaw.com

January 14, 2016

Robert B. Scarlett

Scarlett, Croll & Myers, P.A.

201 North Charles Street, Suite 600
Baltimore, MD 21201-4100

Re: Robert J. Buczkowski
Dear Mr. Scarlett:

I write to you as counsel for Madison Mechanical OS Corp. (“Madison”). As you are
aware, your client, Robert J. Buczkowski's employment with Madison terminated on
November 24, 2015. Accordingly, pursuant to the Madison Stockholders Agreement, of which
your client is a party, Mr. Buczkowski is now obligated to sell his stock in Madison.

I understand that your client has been furnished with the independently prepared financial
statements for Madison’s year ending December 31, 2014. The December 31, 2014,
consolidated balance sheet for Madison reflects a negative book value of approximately
$3 million. Pursuant to the Stockholders Agreement, that negative book value forms the
foundation for the purchase price of your client’s stock. The negative number will be increased
by the taxes imposed on your client’s distributable share of taxable income for the portion of
calendar year 2015 in which he was employed. While that number is not yet available to us, it is
our belief that Madison’s taxable income for calendar year 2015 will be less than the negative
book value as of the end of 2014,

Accordingly, pursuant to the Stockholders Agreement, the purchase price for your
client’s capital stock in Madison is currently calculated to be $0. - If the independently prepared
income statement for 2015 reveals income in excess of the negative December 31, 2014 book
value, an appropriate portion of the excess will be remitted to your client as additional purchase
price. Please have your client endorse his stock certificate .in blank and forward it to me to
consummate the stock purchase.

On a related note, it is our understanding that Madison is indebted to your client in the
amount of approximately $150,000, plus accrued interest, pursuant to a promissory note from
Madison payable to the order of your client, dated October 17, 2014, In addition, however, your
client is indebted to Madison in the amount of approximately $140,609, which represents his

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Case 1:17-cv-01357-SAG Document 91-5 Filed 10/10/19 Page 60 of 159

om om

Robert B. Scarlett

Scarlett, Croll & Myers, P.A.
January 14, 2016

Page 2

 

delinquent capital contributions. We propose to set-off the amount due from your client against
the amount due to your client and pay the excess to him.

Finally, I want to address certain allegations contained in your letter dated November 11,
2015, concerning alleged diversion of Madison’s business opportunities. At the time of your
letter, no business had been diverted from Madison to any affiliate. In late December, 2015,
Madison Mechanical, Inc., the wholly-owned subsidiary of Madison Mechanical OS Corp.,
entered into a voluntary dissolution. At this point, Madison Mechanical (the operating
subsidiary) exists solely for the purpose of winding up its existing business and consummating
the orderly liquidation and distribution of its net assets (if any). It is not accepting any new
business.

Please do not hesitate to contact me if you should have any questions in connection with
this matter.

Very truly yours, ~

Daryl J. Sidle

DJS:dar

ce: Glenn Haslam

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o “

Robert Buczkowski
804 Winchester Drive
Westminster, Maryland

 

Glenn A. Haslam May 10, 2016
12154 Mt. Albert Road
Ellicott City, MD 21042

Madison Mechanical OS Corp. VIA —EMAIL, US MAIL
c/o Glenn A. Haslam

1539 Fannie Dorsey Road

Sykesville, MD 21784

Madison Mechanical OS Corp.
cfo Glenn A. Haslam

5621 Old Frederick Road
Catonsville, MD 21228

Re: Shareho!der Demand and Request to Inspect Corporate Records
Dear Mr. Haslam:

1 am writing to you in my capacity as a minority shareholder of Madison Mechanical OS
Corp. This letter constitutes a demand for Board action to recover damages suffered by the
corporation and to prevent further financial harm to the corporation, and a request to inspect
books and records of account of the corporation.

On or about August 20, 2015, you, Richard Amold, Gary Garofalo, Richard Lombardo,
and Lawrence Kraemer formed Madison Mechanical Contracting, LLC, Within months of its
formation, Madison Mechanical Contracting, LLC took over ongoing projects that were
previously being performed by Madison Mechanical, Inc.—a wholly-owned subsidiary of
Madison Mechanical OS Corp.—and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members. Madison Mechanical Contracting, LLC assumed
ongoing projects under subcontracts that were entered into by Madison Mechanical, Inc. Upon
information and belief, Madison Mechanical Contracting, LLC is using the trade name, Madison
Mechanical, Inc. Madison Mechanical Contracting, LLC misappropriated the name, goodwill,
assels, trade secrets, and accounts receivable of Madison Mcchanieal, Ine.

In addition, you, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer—all of whom are
shareholders of Madison Mechanical OS Corp.—have diverted corporate opportunities for new
projects from Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison ,
Mechanical Contracting, LLC. You, Mr. Garofalo, Mr, Lombardo, and Mr. Kraemer used
knowledge and information obtained through your positions as sharcholders, officers, directors,
and/or employees of Madison Mechanical OS Corp. to compete with Madison Mechanical OS

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Corp. and to divert corporate opportunities from Madison Mechanical OS Corp. for the benefit of
Madison Mechanical Contracting, LLC and its members.

You wrongfully and unlawfully dissolved Madison Mechanical, Inc., without properly
informing the shareholders of Madison Mechanical OS Corp. or the creditors of Madison
Mechanical, Inc. You did this in order to facilitate the above-referenced misappropriation of the

name, goodwill, assets, records, trade secrets, and accounts receivable of Madison Mechanical,
Inc. for the benefit af Madison Mechanical Contracting, LLC and its members.

Furthermore, you purported to terminate my employment for Madison Mechanical OS
Corp., allegedly for cause, despite the fact that there was no cause for my termination. You did
this for the improper purpose of attempting to force me to transfer my shares to the corporation.
In furtherance of this effort, your lawyer demanded that I transfer my stock back to the
corporation for no consideration.

These actions by you, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer constitute breaches
of your fiduciary duties to the corporation and myself,

The above-described actions are unlawful, have caused monetary and non-monetary harm
to Madison Mechanica] OS Corp., and give rise to causes of action for (i) oppression of minority
shareholder, (ii) breach of fiduciary duty, (iii) tortious interference with economic relations, (iv)
unjust enrichment, (v) unfair competition (misappropriation of trade secrets), and (vi)
constructive trust, and possibly others. As a shareholder of Madison Mechanical OS Corp., |
request that the corporation file suit against you, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr.
Arnold, and Madison Mechanica! Contracting, LLC, to recover damages and prevent further
harm to the corporation.

This letter shall constitute a demand that the Board of Directors of Madison Mechanical
OS Corp. vote to institute legal action against you, Mr. Garofalo, Mr. Lombardo. Mr. Kraemer,
Mr. Arnold, and Madison Mechanical Contracting, LLC. Should the Board fail to do so within
15 days of the date of this letter, ] intend to bring a derivative action on behalf of Madison
Mechanical OS Corp. against you, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr. Amold, and
Madison Mechanical Contracting, LLC.

In addition, as a 13% shareholder of Madison Mechanical OS Corp., I request that, within
20 days of the date of this letter, the corporation provide copies of or access to the following
records:

* All books, records, and other documents related to Madison Mechanical, Inc. from
December 13, 2007 to the present. This request includes the following: all financial
records relating to the company, including accounts receivable, accounts payable,
ledgers, copies of invoices, profit & loss statements, Joan balances, liability
statements, documents conceming any loans, or other document reflecting company
finances; all documents regarding distributions, loans, loan repayments,
reimbursements of any kind, costs and expenses (including invoices), or capital
contributions; all information regarding the state of the business and financial

 

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condition of the company; alt other information regarding the affairs of the company;
and all federal, state, or local income tax returns of the company;

* Inregard to Madison Mechanical, Inc., the articles of incorporation, articles of
organization, operating agreement, stockholders’ agreement, and all amendments to
the aforementioned documents; the minutes of all meetings of the board of directors;
the minutes of all meetings of the shareholders; and all corporate resolutions:

* Alt books, records, and other documents related to Madison Mechanical OS Corp.
from December 13, 2007 to the present. This tequest includes the following: all
financial records relating to the company, including accounts receivable, accounts
payable, ledgers, copies of invoices, profit & loss statements, loan balances,
liability statements, documents concerni ng any loans, or other document reflecting
company finances; all documents regarding distributions, loans, loan repayments,
reimbursements of any kind, costs and expenses (including invoices), or capital
contributions; all information regarding the state of the business and financial
condition of the company; and all federal, state, or local income tax returns of the
company; ;

* Integard to Madison Mechanical OS Corp., the articles of incorporation, articles of
organization, operating agreement, stockholders’ agreement, and all amendments to
the aforementioned documents; the minutes of all meetings of the board of directors:
the minutes of al! meetings of the shareholders; and all corporate resolutions;

Sincerely,
Robert ‘Boal
ce: Gary Garofalo
Lawrence Kraemer
Richard Lombardo

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Baxter, Baker, Sidle, Conn & Jones, P.A.
Attorneys at Law
120 E. Baltimore Street, Suite 2100
Baltimore, Maryland 21202-1643

 

Daryl J. Sidle Telephone (410) 230-3800
Direct Line (410) 385-8077 Facsimile (410) 230-3801
e-mail: djs@bbsclaw.com

May 11, 2016

VIA CERTIFIED MAIL

RETURN RECEIPT REQUESTED

Robert J, Buczkowski
804 Winchester Drive
Westminster, Maryland 21157-5735

Re: Letter dated May 10, 2016

Dear Mr. Buczkowski:

I am writing in response to the captioned letter you addressed to Mr, Haslam and
Madison Mechanical OS Corp.

Your request to inspect the books and records of Madison Mechanical OS Corp. (the
“Corporation”) is denied. Under Maryland law, only current stockholders of a corporation have
inspection rights, It is the position of the Corporation that you are no longer a stockholder of the

Corporation.

As you are well aware, your employment with the Corporation terminated on
November 24, 2015. Pursuant to the terms of the Corporation’s Stockholders Agreement of
which you are a party (the “Agreement”), upon the termination of your employment you were
obligated to sell your stock pursuant to the Agreement.

By letter dated January 14, 2016, a copy of which is enclosed, I notified your counsel,
Mr. Scarlett, of your obligation to sell your stock and explained that pursuant to the terms of the
Agreement the purchase price for the stock was $0. I requested at that point that Mr. Scarlett
secure your endorsement of your stock certificate and forward it to me to consummate the stock

purchase. Your failure to cooperate with that request in no way changes the fact that you have

ceased to be a stockholder in the Corporation. As a result, you have no statutory inspection
rights.

Your allegations of diversion of corporate opportunities are also unfounded. Regardless
of when Madison Mechanical Contracting, LLC (the “LLC”) was formed, no business was done
by that entity until afler the dissolution of the Corporation’s wholly-owned operating subsidiary

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Robert J. Buczkowski
May 11. 2016
Page 2

 

(the “Subsidiary"). Again, contrary to your allegations, the Subsidiary was dissolved because it
was no longer expedient to conduct business within it. Once that entity was dissolved, there
were no business opportunities to divert,

As a wholly-owned subsidiary of the Corporation. it is the stockholder of the subsidiary
and the subsidjary’s Board of Directors that determine whether it will continue to conduct
business in the ordinary course or dissolve. This does not require the approval of the
Corporation's shareholders, nor docs it require them to be informed of that fact. In lact, all of
your allegations concerning the terms and conditions of the Subsidiary’s dissolution are
misplaced. Since you were not a stockholder of the Corporation when those actions occurred.
you have no standing to complain about them.

Agnin, contrary to the statements conlained in your letter, your employment was not
“purported” to be terminated. Jt was in facl terminated. Whether your employment was
terminated with or without cause is irrelevant, You were an at-will employee whose
employment could be terminated at any time or any reason, or for no reason.

Your request to inspect books and records of the subsidiary has no basis in Maryland
corporate law, since you were never u shareholder of the Subsidiary.

Your demand that the Board of the Corporation institute legal action agains| Messrs.
Haslam, Garafolo, Lombardo. Kraemer. Arnold and the I.LC has been considered by the
Corporation’s Board and rejected as baseless. The Board also believes that there is no rightful
basis on which you may bring a derivative action, since you are no longer a shareholder of the
Corporation. Under Maryland law. it is clear that to bring a derivative action on behalf of the
Corporation you must hald stock in the Corporation “continuously from the time of the wrong
through the end of the litigation” (James J. Hank, Jr. Maryland Corporation Law $7.21).

I am sending this letter to you since it was you, and not your counsel, Mr, Scarlett, who
signed the letter to which ] respond. Mr, Scarlett will receive a copy of this letter and may
inform me if all future communications on this matter should be addressed to him.

Sincerely,

WV bby

Daryl J. Sidle

DIS:dar
Enclosure
ce: Robert B. Scarlet, Esq. (without enclosure)

HART00000212
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AFFIDAVIT OF ROBERT BUCZKOWSKI
I, Robert Buczkowski, hereby state and affirm as follows:

1, Jam over the age of eighteen years and competent to testify.

2. The following is based upon my personal knowledge.

3. Beginning in the spring of 2014, a capital call was made by Glenn Haslam as President
and CEO of Madison Mechanical OS Corp. (“OS Corp.”), which is a holding company
for Madison Mechanical, Inc. (“MMT”).

4. Each shareholder of OS Corp. was asked to contribute his equitable share to the capital
contribution. In March and December of 2014, and throughout the months of January
through March of 2015, capital calls were made by Glenn Haslam in which my equitable
percentage (13%) totaled $283,609. 1 contributed $143,609 in total. Specifically, I only
made two capital contributions. The first was in the amount of $130,000 on March 1,
2014. The second was in the amount of $13,000 on December 16, 2014. While the
remaining shareholders made additional contributions during the time period from
January through March of 2015, I did not. .

5, As of April 1, 2015, Mr. Haslam and OS Corp diluted my ownership interest from 13%
to 7.774%.

6. The dilution occurred and was effective as of April 1, 2015.

I SOLEMNLY AFFIRM under the penalties of perjury and upon personal knowledge that

the contents of the foregoing paper are true.

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Date Robert Buczkowski
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From: Gary Garofalo

Sent: Wednesday, October 19, 2011 5:10 PM

To: Glenn Haslam; Bob Buczkowski; Dick Lombardo, Larry Kraemer

Subject: FW: Consequences of failure to pay call

Attachments: email re adjustment of ownership interests.DOC; Madison Mechanical--Reallocation

Calculations (2).XLS

Categories: Red Category

Gents,
At our September 1% meeting in Madison’s office, we discussed that since the current Stockholders Agreement

(SA) was silent on what would happen if a shareholder did not make their requested cash call obligation, that |
would look into some alternatives, from which we could generate a policy that we would use to amend the SA.
Attached are some suggestions that Bill Davidow came up with, that are pretty straightforward to help us out.
Please let me know which alternative you prefer, or feel free to suggest another means of reallocation. If possible,
Pd like to be able to discuss the matter at our next quarterly meeting.

Bob,
When do you think you will have the 9/30/11 FS completed, so we can schedule our next meeting?

Gary J. Garofalo

CFO/VP Finance

Harkins Builders, Inc.

2201 Warwick Way
Marriottsville, MD 21104
410.480.4232 (W)
410.480.4299 {F}

443.277.1555 (C)}
ggarofalo@harkinsbuilders.com
www.harkinsbuilders.com

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SBC

 

 

 

From: Davidow, Jr., William M. [mailto:wdavidow@afrlaw.com]
Sent: Monday, October 17, 2011 5:10 PM

To: Gary Garofalo

Subject: Consequences of failure to pay call

Gary: apologies for the delay....attached is the analysis re failure to pay capital calls. Bill

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or written to be used, and cannot be used, for purposes of (i) avoiding penalties under the Internal Revenue
Code, or (ii) promoting, marketing or recommending to another party any tax-related matter addressed herein.

 

PL000378 Defs'0012

 
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MEMORANDUM
TO: Gary Garofalo
FROM: William M. Davidow, Jr., Ext. 4253
DATE: October 17, 2011
RE: Consequences of Failing to Pay Capital Calls

The purpose of this memorandum is to summarize the basic approaches to adjusting ownership
interests in cases where one of the owners does not satisfy a required capital call. The
alternatives range from relatively “benign” consequences to “punitive” consequences. For
example, assume the following ownership interests:

Stockholder A 55%
Stockholder B 30%
Stockholder C 15%

If a capital call in the amount of $100,000 were made and Stockholder B did not respond to the
call, i.e., did not pay $30,000, the basic alternatives are as follows:

1. Personal Debt to the Company. The Unpaid Contribution is considered a personal
debt due to the Company from Stockholder B and is repaid with interest from
future distributions/dividends to Stockholder B or upon sale of the Company.
There would be no adjustment of ownership interests. This is a relatively benign
approach.

2. Personal Debt to the Other Stockholders. The Unpaid Contribution (in the
amount of $30,000) is contributed by Stockholders A and C and is considered a
personal debt due to them from Stockholder B and paid from future
dividends/distributions to Stockholder B, upon sale of the company or upon a
date certain in the future. Again, there is no adjustment of ownership interests;
Stockholders A and C have effectively loaned $30,000 to Stockholder B.

3. Dilution Based _on Value. The Unpaid Contribution is contributed to the
Company by Stockholders A and C and ownership is adjusted in accordance with
“fair market value” of the Company as determined after the contribution. For
example, if the fair market value of the Company is $1,000,000 pre-contribution,
then the Unpaid Contribution and the other contributions made at the time of the

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call are added to the pre-contribution value as a means of determining ownership
interests. This approach is illustrated by the worksheet attached as Exhibit A.

4, Dilution Based on Capital Invested. The Unpaid Contribution is contributed by
Stockholders A and C and the proportionate ownership of the entity is reallocated
in accordance with the sum of each owner’s invested capital and the aggregate
amount of the required contributions. (This amount in the case of an S
Corporation can be in accordance with tax basis, where the tax basis is a fair
indicator of capital investment.) This approach is more punitive than Alternative
3 because the dilution ignores the value of the defaulting stockholder’s stock.
This approach is illustrated by the worksheet attached as Exhibit B.

5. Forfeiture. The ownership interest of the defaulting owner is forfeited. This is
extremely punitive and may not be enforceable as a legal matter.

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Case 1:17-cv-01357-SAG Document 91-5 Filed 10/10/19 Page 74 of 159

 

From: : Glenn Haslam <glennh@madisonmechanical.net>

Sent: Friday, March 6, 2015 9:26 AM

To: Bob Buczkowski; Gary Garofalo; Dick Lombardo; Larry Kraemer
Subject: FW: Madison Equity 03 07 2015.xIsx

Attachments: Madison Equity 03 01 2015.xIsx

Categories: Red Category

Guys see attached a accounting of capital calls /loans by all partners we need to do a capital call to pay bbt next week
you will see the amounts needed listed as march bank payment as always we will follow the operating agreement as it

relates to capital calls thanks Glenn

 

From: Bob Buczkowski

Sent: Wednesday, March 04, 2015 6:07 PM
To: Glenn Haslam; Gary Garofalo

Subject: Madison Equity 03 01 2015.xlsx
Glenn,

Here is the equity schedule we discussed.

Bobdick

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From: Bob Buczkowski

Sent: Tuesday, March 17, 2015 2:25 PM

To: Bill Franey, Sr.

Ce: Brenda Patterson; Jeri Russell

Subject: . RE: Madison Mechanical Financials 2014
Attachments: Madison Equity 03 17 2015.xlsx

See attached. Hilited in yellow is 2015 money that was put in. If you need anything else let me know.

Bob

&

Bob Buezkowski. CPA
Madison Mechanical, Inc. CFO
410-461-7301 (0)
410-461-8470 (F)
410-984-1636 (C)

&

From: Bill Franey, Sr. [mailto:wfraney@alliant.com]
Sent: Tuesday, March 17, 2015 12:01 PM

* To: Bob Buczkowski

Ce: Brenda Patterson; Jeri Russell

Subject: RE: Madison Mechanical Financials 2014

&

Bob, have the shareholders contributed money to the Corporation in 2015? If so how much? Thanks Bill

&

William G. Franey

Executive Vice President
Commercial and Corporate Group
Alliant Americas

9901 Business Parkway

Ste. B

“4
PL004442 Defs'4079

 
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&

 

From: Bob Buczkowski [mailto:bobb@madisonmechanical.net]

Sent: Tuesday, March 17, 2015 11:19 AM

To: Bill Franey, Sr.
Subject: FW: Madison Mechanica! Financials 2014 -

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Bill,

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Here is the draft 6that was sent over to Reznick. Any questions let me know.
&

Thanks-Bob

&

Bob Buozkowski, CPA
Madison Mechanical, Inc. CFO
410-461-7301 (O)}
410-461-8470 (F)
410-984-1636 (C)

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STAMP & RETURN

IN THE CIRCUIT COURT FOR BALTIMORE COUNTY, MARYLAND

ROBERT BUCZKOWSKI,

804 Winchester Drive
Westminster, MD 21157

 

Plaintiff Case No,

Vv...

MADISON MECHANICAL
CONTRACTING, LLCO, |

Serve:

Richard G, Arnold

2929 Excelsior Springs Ct.
Ellicott City, MD 21042

and

MADISON MECHANICAL OS
CORP.,

Serve:
State Department of
Assessments & Taxation
301 W. Preston Street
Baltimore, MD 21201

and
GLENN A. HASLAM,
“Serve:
Glenn A. Haslam

12154 Mt. Albert Road
Ellicott City, MD 21042

and

 

 

 
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GARY GAROFALO,

Serve:

Gary Garofalo

2818 Hunt Valley Drive
Glenwood, MD 21738

and
RICHARD LOMBARDO,

Serve:

Richard Lombardo

3194 Danmark Drive

West Friendship, MD 21794

and
LAWRENCE KRAEMER,

Serve:

Lawrence Kraemer

2201 Warwick Way
Marriottsville, MD 21104

and
RICHARD G. ARNOLD,
Serve:
Richard G. Arnold
2929 Excelsior Springs Ct,
Ellicott City, MD 21042

Defendants

 

 
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COMPLAINT

COMES NOW, the Plaintiff, Robert Buczkowski, by and through counsel, and
sues the Defendants, Madison Mechanical Contracting, LLC, Madison Mechanical OS
Corporation, Glenn A. Haslam, Gary Garofalo, Richard Lombardo, Lawrence
Kraemer, and Richard G. Arnold, and for cause states as follows:

The Parties and Related Entities

1, Plaintiff Robert Buczkowslx is a resident of the State of Maryland, who
resides at 804 Winchester Drive, Westminster, MD 21157,

2. Defendant Madison Mechanical Contracting, LLC.is a Maryland limited
liability company with its principal place of business located at 5621 Old Frederick
Road, Catonsville, MD 21228.

3. Defendant Madison Mechanical OS Corp. is a Maryland corporation with

its principal place of business located at 5621 Old Frederick Road, Suite 1,

Catonsville, MD 21228.

4. Defendant Glenn Haslam is a resident of the State of Maryland, who
resides at 12154 Mt. Albert Road, Ellicott City, MD 21042.

5. Defendant Gary Garofalo is a resident of the State of Maryland, who

resides at 2818 Hunt Valley Drive, Glenwood, MD 21738. .
6. Defendant Richard Lombardo is a resident of the State of Maryland, who
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resides at 3194 Danmark Drive, West Friendship, MD 21794. : a

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7. Defendant Lawrence Kraemer is a resident of the State of Maryland,
whose place of employment is located at 2201 Warwick Way, Marriottsville, MD

21104.
8. Defendant Richard G. Arnold is a resident of the State of Maryland, who

resides at 2929 Excelsior Springs Court, Ellicott City, MD 21042.
Jurisdiction and Venue

9. This Court has jurisdiction over this action under Md. Code, Cts. & Jud.
Proc. § 1-501.

10. This Court has jurisdiction over the parties to this action under Md.
Code, Cts. & Jud. Proc. § 6-102, as the natural persons who are parties to this action
are domiciled in-and/or maintain their principal places of business in Maryland, and
the entity parties to this action were organized under the laws of Maryland.

11. This Court is a proper venue for this action under Md. Code, Cts. & dud.

| Proc. § 6-201, as Defendants Madison Mechanical Contracting, LLC and Madison
Mechanical Os Corp. have their principal places of business in Baltimore County,
Maryland. There is no single venue applicable to all Defendants. Because Baltimore
County is a’'venue in which one of the Defendants could be sued, it is an appropriate
venue under Cts. & Jud. Proc. § 6-2010).
Facts Common to All Counts

A. Formation of Madison Mechanical, Inc,
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12. Inthe early 1990s, Defendant Glenn Haslam was a partner in an entity
known as Baltimore Mechanical Services, Inc., a construction subcontractor.

13. Baltimore Mechanical Services performed work as a subcontractor for
Harkins Builders, Inc, and other general contractors. The sole shareholder of Harkins
Builders was J.P. “Blasé” Cooke.

14. In 1992, Baltimore Mechanical Services filed a petition for bankruptcy
under Chapter 11 of the Bankruptcy Code.

15. In 1993, Blasé Cooke founded Madison Mechanical, Inc. Madison
Mechanical, Inc. was incorporated as a Maryland corporation on March 10, 1993. Mr.

Cooke was the sole shareholder of Madison Mechanical, Inc.

‘16. The initial purpose of Madison Mechanical, Inc. was to complete work
that had been left incomplete by Baltimore Mechanical Services when it filed for
bankruptcy. However, Madison Mechanical, Inc. began to bid for other work as well,

and became profitable within several years after its founding.

17. Mr. Haslam was the president of Madison Mechanical, Inc. Upon
information and belief, Mr. Cooke and Mr. Haslam had an agreement permitting Mr.
Haslam to purchase Mr. Cooke’s 100% ownership interest in Madison Mechanical, Inc.

18. Plaintiff Robert Buczkowski is a certified public accountant with
extensive experience in the construction industry.

19. In 2001 Madison Mechanical, Inc. was having operational and financial

difficulties.
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20. In 2001, Defendant Gary. Garofalo—who was then and still is employed
by Harkins Builders and provided oversight of Madison Mechanical, Inc. for Mr.
Cooke—retained the services of Mr. Buczkowski as a consultant to assist in updating
and organizing Madison Mechanical, Inc.’s accounting records and procedures.

21. In 2002, Madison Mechanical, Inc. offered Mr. Buczkowski a fulltime
employment position.

22. Mr. Buczkowski met with Mr. Haslam and Mr. Garofalo to negotiate the
terms of his employment for Madison Mechanical, Inc. Mr. Buezkowski learned of Mr.
Haslam’s buyout agreement with Mr. Cooke. Mr. Buczkowski made it clear that if he
accepted employment for Madison Mechanical, Inc., he expected to be part of the
buyout, receiving a 20% ownership interest and 10% of profits. Mr. Haslam orally
agreed to these terms. Mr. Buczkowski began his employment for Madison
Mechanical, Inc. in April 2002. He held the position of Chief Financial Officer.

23, From 2002-2007, Madison Mechanical, Inc.’s revenues and profits
steadily increased. During this time period Mr. Buczkowsli was involved in both the
financial and operational] side of the busimess, helping to control the growth and
profitability of the corporation and manage its day-to-day operations.

B. Formation of Madison Mechanical OS Corp. ‘and purchase of Madison
Mechanical, Inc. stock.

24, Jnor around 2006 or 2007, as Mr. Cooke was suffering from cancer, Mr.
Haslam, Mr. Garofalo, and Mr. Buczkowski had various discussions regarding the
purchase of Mr. Cooke’s 100% interest in Madison Mechanical, Inc.

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25. Mr. Garofalo strongly recommended that the parties allow two other
individuals to buy into Madison Mechanical, Inc.: Defendant Richard Lombardo, who
was the Chief Executive Officer of Harkins Builders, and Defendant Lawrence
Kraemer, who was Vice President of Estimating at Harkins Builders.

26. Mr. Cooke died on October 2, 2007.

27, On or about December 18, 2007, Mr. Haslam, Mr. Garofalo, Mr.

Bueczkowski, Mr. Lombardo, and Mr. Kraemer formed a new entity called Madison

‘Mechanical OS Corp.
28. The purpose of Madison Mechanical OS Corp. was to purchase all of the

stock of Madison Mechanical, Inc. and to operate Madison Mechanical, Inc. as a
wholly-owned subsidiary of Madison Mechanical OS Corp.
29. Onor about December 31, 2007, the above parties entered into a

Stockholders Agreement with Madison Mechanical OS Corp.

30. The Stockholders Agreement provided that the corporation had been
formed “for the purpose of acquiring all of the issued and outstanding capital stock of
and operating Madison Mechanical, Inc.” (Stockholders Ag. at 1.) |

31.. The Stockholders Agreement further provided that “the Corporation has
acquired all of the issued and outstanding Common Stock of Madison Mechanical, Inc.
(MMI Stock’) from Dawn Cooke (the ‘Transferor’) in exchange for a Promissory Note
from the Corporation secured by a pledge of the MMI Stock and joint and several

guaranties from the Stockholders hereunder.” (Stockholders Ag. at 1.)

 
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82. Thus, as of December 31, 2007, Madison Mechanical OS Corp. was the
sole shareholder of Madison Mechanical, Inc.; Madison Mechanical, Inc. was a wholly-
owned subsidiary of Madison Mechanical OS Corp.

33. The shareholders of Madison Mechanical OS Corp. were, and still are,
Mr. Haslam, Mr. Garofalo, Mr. Buczkowski, Mr. Lombardo, and Mr. Kraemer.

34, Upon information and belief, Mr. Haslam is the sole Director of Madison
Mechanical OS Corp.

35. Upon information and belief, Madison Mechanical OS Corp. agreed to
purchase the shares of Madison Mechanical, Inc. from the Cooke Estate for a purchase
price of $3.8 million, with $1 million paid prior to closing via an owner distribution
and a Promissory Note for the balance. of $2.8 million, which was to be paid from
Madison Mechanical, Inc. profits.

36. Upon information and belief, the shares of Madison Mechanical OS Corp.

were owned as follows:

Glenn Haslam: 54%
Gary Garofalo: 13%
Robert Buczkowski: 18%
Richard Lombardo: 10%
Lawrence Kraemer: 10%

37. Having been involved with Madison Mechanical, Inc. for many years,
Mr. Haslam, Mr. Garofalo, and Mr. Buczkowski all had substantial “sweat equity” in
the corporation. Mr. Lombardo and Mr. Kraemer had no prior involvement with

Madison Mechanical, Inc. It was agreed that Mr. Haslam, Mr. Garofalo, and Mr.
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Buczkowshi would be entitled to a “preferential distribution/note” in the amount of
$760,000—20% of the $3.8 million purchase price—in order to purchase their shares.
Mr. Garofalo was tasked with memorializing this transaction in a written document
signed by all parties, but he failed to do so. There was never a “preferential
“distribution made, so effectively Mr. Lombardo and Mr. Kraemer each acquired a
10% ownership interest in Madison Mechanical OS Corp. for no consideration. Upon
the purchase of Mr. Cooke’s shares, Mr. Buczkowski’s receipt of profits was increased
to 5%. There was an oral agreement between Mr. Buczkowski and Mr. Haslam that
Mr. Buezkowski’s profit share would be gradually increased to 10%, as originally
discussed in his employment negotiations. However, this did not occur.

C. Madison Mechanical OS Corp. Stockholders Agreement regarding
transfer of shares.

88. As explained above, upon the formation of Madison Mechanical OS
Corp., Mr. Buczkowski became a 13% shareholder of the corporation.

39. Under the Madison Mechanical OS Corp. Stockholders Agreement, the
stockholders’ stock could be transferred only in the following circumstances: (a) sale,
gift, or bequest to a shareholder's direct family member, (b) disability of a shareholder,
(c) insolvency of a shareholder, (d) failure by a shareholder to contribute upon a
default of the corporation’s obligations to a transferor of shares, (e) desire by the
shareholder to transfer his stock, (f) death, or (g) termination for cause.

40. The Stockholders Agreement defines “termination for cause” as
“termination for persistent non-performance of the Stockholder’s duties as an.

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employee or officer of the Corporation and its affiliates or for criminal conduct
involving a crime of moral turpitude, gross negligence, willful misconduct or a breach
of the Stockholder’s fiduciary duty to the Corporation and its affiliates as an employee,
director, or officer.” (Stockholders Ag. § 4(a)(8).)

41. The Stockholders Agreement provides: “In the event of a breach or
default by any party to his Agreement, the non-defaulting parties shall be entitled to
reasonable attorney's fees, costs and expenses against the defaulting party or parties
in enforcing, prosecuting or defending any dispute or litigation under this Agreement.”
(Stockholders Ag. § 17.) |
D. Financial difficulties of Madison Mechanical, Inc.

42. As described above, Madison Mechanical OS Corp. was formed in 2007
and became the sole shareholder of Madison Mechanical, Inc. Madison Mechanical OS
Corp. continued to operate Madison Mechanical, Inc. as it had operated previously:

43.. From 2007-2012, Madison Mechanical, Inc. continued to be profitable. As
of December 31, 2012, the five shareholders of Madison Mechanical OS Corp. had
equity in the corporation of $7,165,066. That same year, Madison Mechanical os
Corp. made its last payment to the Cooke Estate for Mr. Cooke's shares, and thereby
owned Madison Mechanical, Inc. free and clear.

44, Jn 201] and 2012, at the urging of Mr. Haslam and over the objections of
Mr. Buezkowski and other employees, Madison Mechanical, Inc, took on six large

construction projects simultaneously. Five of the projects were subcontracts under

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Clark Construction Group, LLC: City Center (a $17.5 million project), City Market (a
$16.3 million project), Wardman (a $10 million project), Lot31/31A (a $4.6 million
project), and 14W (a $7.4 million project) located in Washington, D.C. and Maryland.
A sixth project was a subcontract under The Whiting Turner Contracting Company for
a project known as Mid-Pike Block 10 (a $10 million project) located in Montgomery
. County, Maryland.

| 45. Mr. Haslam would not allow the hiring of the appropriate amount of
additional staff needed to run these jobs simultaneously.

46. Under the oversight of Mr. Haslam, the above-referenced projects were
incorrectly bid, insufficiently staffed, and mismanaged.

47. Asaresult, Madison Mechanical, Inc. incurred severe financial
difficulties in 2013-2015.

48. In 2018, Clark Construction expressed an intention to “call” Madison
Mechanical, Inc,’s bonds. Although this would have been problematic, the Madison

‘Mechanical OS Corp. shareholders were not personally liable on the bonds.

49. InJune-July 2013, Madison Mechanical, Inc. incurred significant cash-
flow difficulties on the Clark projects. As a result, Madison Mechanical, Inc.’s $1.5
million line of credit with BB&T Bank was exhausted. Mr. Buczkowski successfully
negotiated with the Bank to convert the existing $1.5 million line of credit to a term

note and was able to obtain an additional $2 million line of credit, both with extended

payment terms favorable to Madison Mechanical.

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50. By December 2013, due to continued cash-flow problems on the Clark
projects, Madison Mechanical exhausted the new $2 million line of credit.

51. Under the $1.5 million note, payments of $875,000 were due in
December 2013 and March 2014. Due to continuing financial difficulties in the Clark
projects, Madison Mechanical had no funds available for these payments when they
came due. In December 2013, Mr. Buczkowski was able to negotiate with the Bank for
a waiver of the December 2013 payment and a three-month extension of the note.

52. When the $375,000 payment was due in March 2014, Madison
Mechanical, Inc. was still unable to make the payment. Mr. Buczkowski continued to
communicate with the Bank and was able to maintain the status quo of the situation,
without the Bank declaring a default, through June 2014.

53. In June 2014, due to Madison Mechanical, Inc.’s continued inability to
make payments on thé notes, the local BB&T branch with whom Madison Mechanical,
Inc. was working turned the loans over to BB&T’s “troubled asset” division.

54. Mr. Buczkowski once again proposed to Mr. Haslam and Mr. Garofalo
that Madison Mechanical, Inc. consider filing for bankruptcy to protect the equity in
the corporation. He also proposed that the corporation make a nominal payment to |
BB&T and continue to negotiate with the Bank in order to preserve much-needed cash
flow.

55. Mr. Haslam and Mr. Garofalo once again declined to even discuss the

possibility of filing for bankruptcy. They stated that they would not consider these

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options because it would put them in a bad light and could harm their reputations in
the business community. This was particularly a concern of Mr. Lombardo, Mr.
Kraemer, and Mr. Garofalo, who were officers of Harkins Builders. Harkins Builders
used the same bonding company as Madison Mechanical, Inc. and Mr. Lombardo, Mr.
Kraemer, and Mr. Garofalo were concerned about the implications with the bonding
company if Madison were to file for bankruptcy protection.

56. Mr. Haslam and Mr. Garofalo decided to become directly involved in the
discussions with BB&T.

57. Mr. Haslam and Mr. Garofalo decided not to include Madison
Mechanical, Inc.’s legal counsel in their discussions with BB&T or the decision-
making process as strongly recommended by Mr. Buczkowski. Over the objections of
Mr. Buczkowski, Mr. Haslam and Mr. Garofalo decided to use Madison Mechanical,
Ine.’s little available cash to pay the notes and related fees, without any further
discussion or negotiation with the bank, which was to the immediate detriment of
Madison Mechanical, Inc.’s day-to-day operations and ability to pay vendors.

58. During this time period, Mr. Haslam suffered serious mental and
emotional distress.

59. As noted above, Mr. Buczkowski’s role with Madison Mechanical OS
Corp. and Madison Mechanical, Inc. was as Chief Financial Officer. However, because
of his extensive experience in the construction industry, he often spent much of his

time at jobsites serving as a de facto Project Manager.

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60. Given the poor planning and mismanagement involved in the Clark
Construction projects, Mr. Buczkowski began to spend most of his time on a daily
basis on jobsites attempting to resolve numerous problems and placate the General
Contractor and Owners. At the same time, Mr. Haslam retained final say on virtually
all major business decisions, and often vetoed Mr. Buczkowski’s proposed solutions,
such as hiring additional personnel to help manage the troubled projects.

61. As Madison Mechanical, Inc.’s and Madison Mechanical OS Corp.’s
financial situation deteriorated, Mr. Buczkowski urged the other shareholders to
consider all options to protect the equity in the corporation, including bankruptcy if
necessary. The other shareholders resisted. As noted above, Mr. Lombardo, Mr.
Garofalo, and Mr. Kraemer~who retained their positions as officers of Harkins ©
Builders—were concerned about their personal and professional reputations in the
industry and did not want others outside of Madison Mechanical OS Corp. to even
know they were involved with Madison.

62. Indune 2014, Madison Mechanical, Inc. sought to obtain two. bonds
totaling $1.5 million. Mr. Haslam and Mr. Garofalo led the negotiations of the bonds
while Mr. Buczkowski was consumed with the day-to-day management of the Clark
Construction projects and juggling vendor issies and relations due to the day-to-day
cash-flow issues.

63. Mr. Haslam and/or Mr. Garofalo informed Mr. Buczkowski that they had

secured the $1.5 million bonds, but the shareholders would have to sign personal

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guarantees. Mr. Haslam and/or Mr. Garofalo.assured Mr. Buczkowski that the
guarantees applied only to the $1.5 million bonds. In reliance on this assurance, Mr.
Buczkowski signed the guarantees. Mr. Buczkowski later learned that guarantees
actually applied to the prior bonds as well, which totaled over $35 million. In addition
to misleading Mr. Buczkowski into guaranteeing the prior bonds, Mr. Haslam and Mr.
Garofalo failed to even negotiate better terms for the bonds before causing all the

shareholders to retroactively guarantee them.

64, Madison Mechanical, Inc.’s and Madison Mechanical OS Corp.'s financial
situation continued to deteriorate. In 2014, the shareholders made loans and capital
contributions to the corporations totaling more than $3 million in an effort to keep the
corporations financially viable.

65. Madison Mechanical, Inc. sustained losses of $12-15 million on the Clark
Construction projects, which completely negated the shareholders’ previous retained
earnings, profitable job earnings, and the more than $3 million in loans and capital
contributions.

66. Mr. Buczkowski repeatedly informed the other shareholders that it was
his position that they should all be focused on doing what is best for the long-term
health of Madison Mechanical, Inc. and Madison Mechanical OS Corp., rather than
what is best for each of them individually and their own personal reputations.

E. Formation of Madison Mechanical Contracting, LLC.

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67. Throughout 2013-2015, Madison Mechanical OS Corp. had ongoing
discussions with Defendant Richard Arnold regarding Mr. Arnold’s buying into the
corporation or joining the shareholders in forming a new entity. Mr. Haslam and Mr,
Garofalo were directly engaged in these discussions and kept Mr. Buczkowski
informed of the various proposed terms. The proposals that were relayed to Mr.
Buczkowski all entailed either Mr. Arnold buying shares of Madison Mechanical OS
Corp. or forming a new entity with the shareholders, to include Mr. Buczkowski.

68. Inlate 2014 and early 2015, Mr. Haslam and Mr. Garofalo updated Mr.
Buczkowski less frequently. When Mr. Buczkowski inquired, Mr. Haslam stated that

it appeared there would not be a deal involving Mr. Arnold.

69. In the summer of 2015, Mr. Haslam told Mr. Buczkowski that Mr.
Lombardo was unhappy with Mr. Buczkowski’s position that all the shareholders
should be more concerned with the financial health of Madison Mechanical, Inc. and
Madison Mechanical OS Corp. than with their own personal reputations. According to
Mr. Haslam, Mr, Lombardo—who was apparently more concerned about his own
reputation than about the well-being of the Madison entities—took offense at Mr.
Buczkowski’s position.

70. Sometime in 2015, Mr. Haslam and Mr. Garofalo stopped informing Mr.

Buczkowski of their ongoing negotiations with Mr. Arnold.

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71. Unbeknownst to Mr. Buczkowski, on or about August 20, 2015, the other
shareholders of Madison Mechanical OS Corp., along with Richard Arnold, formed a

new entity called Madison Mechanical Contracting, LLC.

72. Madison Mechanical Contracting, LLC consists of the following

members:
Richard Arnold: 84%
Glenn Haslam: 84%
Gary Garofalo: 12%
Richard Lombardo: 10%
Lawrence Kraemer: 10%

73. |The members of Madison Mechanical Contracting, LLC entered into an
Operating Agreement on or about October 15, 2015.

74. Upon information and belief, the purpose of this new company was to
take business and corporate opportunities from Madison Mechanical, Inc. and
Madison Mechanical OS Corp. for the benefit of Madison Mechanical Contracting,
LLC and its members.

75. In October 2015, Mr. Haslam and Mr. Garofalo informed Mr.
Buczkowski that they intended to “part ways” with him. They indicated that they no
longer wanted him as a business partner, but offered to hire him as an outside
consultant. They did not tell him about Madison Mechanical Contracting, LLC or their
intent to take business and corporate opportunities from Madison Mechanical, Inc.

76. Mr. Buczkowski continued to work on behalf of Madison Mechanical, Inc.

and Madison Mechanical OS Corp., as he had before.

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77. Mr. Buczkowski first learned of the existence of Madison Mechanical
Contracting, LLC in November 2015. He also uncovered evidence that Madison
Mechanical Contracting, LLC was diverting business and corporate opportunities

from Madison Mechanical, Inc.

78. On November 11, 2015, Mr. Buczkowski, through counsel, informed Mr.
Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, and Mr. Arnold that their
diversion of business and corporate opportunities from Madison Mechanical, Inc. to

Madison Mechanical Contracting, LLC was unlawful, and demanded that they cease

and desist doing so.

F. Termination of Mr. Buczkowski.

78. On November 6, 2015, Mr. Buczkowski informed several Madison
Mechanical, Inc. employees that the corporation had not received certified payrolls
from certain sub-subcontractors on a project for which Madison Mechanical, Inc. was a
subcontractor for Plano-Coudon, LLC, the general contractor. It was required by law
that the sub-subcontractors provide certified payrolls to Madison Mechanical, Inc. Mr.
Buczkowski was informed by the accounting manager that Mr. Haslam had told him

and other employees not to worry about getting the certified payrolls from the

subcontractors on this job.

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80. On November 16, 2015, Mr. Buezkowski informed Mr. Garofalo, Mr.
Lombardo, and Mr. Kraemer of the issue with the lack of certified payrolls and
requested guidance on how to approach this matter with Plano-Coudon. Mr.
Buczkowski initially received no response. Mr. Kraemer eventually responded, stating
that he was not aware of the issue. Mr. Garofalo and Mr, Lombardo never responded.

81. Onor about November 18, 2015, Mr. Haslam gave Mr. Buczkowski a
letter on Madison Mechanical, Inc. letterhead, and signed by Mr. Haslam in his
capacity as president of Madison Mechanical, Inc. The letter stated that Mr.

Buczkowski was terminated “for cause, effective immediately.”

82. The letter stated, “[flor the reasons that have been discussed with you on
numerous occasions, you were previously advised that your employment with Madison
Mechanical, Inc. (the Company) was being terminated for cause.” In fact, Mr.

Buczkowski had never previously been informed that he would be terminated, with,

our without cause

88. When Mr. Haslam gave the letter to Mr. Buczkowski on November 18,
2015, Mr. Buczkowski read it in the presence of Mr. Haslam and Brant Geiman, the
Accounting Manager for Madison Mechanical, Inc. Mr. Buczkowsk asked Mr. Haslam
what the “cause” was for his termination, as no one at Madison Mechanical had ever
accused Mr. Buczkowski of any actions that would constitute cause for termination.
Mr. Haslam responded there was no cause for Mr. Buczkowski’s termination, and that

“the lawyer just put that language in there,” or words to that effect.

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84. Mr. Haslam further stated to Mr. Buczkowski that he had no problems
with anything Mr. Buczkowski had done, and that he appreciated all he had done for
Madison Mechanical, Inc. over the years. Mr. Haslam indicated that it was the other
shareholders who wanted to terminate Mr. Buczkowski. Mr. Haslam stated that the
other shareholders—particularly Mr. Lombardo—disagreed with Mr. Buczkowski’s
position that they should put the financial health of Madison Mechanical, Inc. and
Madison Mechanical OS Corp. ahead of their own personal reputations. Mr. Haslam
further stated that the other shareholders of Madison Mechanical OS Corp. had
decided they did not want Mr. Buczkowski to be a part of their new business venture.

85. The effort to terminate Mr. Buczkowski “for cause” was an attempt to
force a transfer of his stock in Madison Mechanical OS Corp.

86. However, the letter of termination came not from Madison Mechanical
OS Corp., the parent corporation, but from Madison Mechanical, Inc., the subsidiary.

Therefore, it could not possibly have been a termination (with or without cause) by

Madison Mechanical OS Corp.

87. Furthermore, there was no cause for Mr. Buczkowski’s termination. He
had not engaged in persistent non-performance of his duties as an employee or officer
of Madison Mechanical OS, nor had he engaged in criminal conduct involving a crime
of moral turpitude, gross negligence, willful misconduct, or a breach of his fiduciary

duties to the corporation. As Mr. Haslam admitted to Mr. Buczkowski, there was no

cause for the termination.

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88. Nevertheless, on or about January 14, 2016, Madison Mechanical OS
Corp., through counsel, informed Mr. Buczkowski’s counsel that (a) Mr. Buczkowski’s
employment with Madison Mechanical OS Corp. had allegedly been terminated on
November 24, 2015, (b) Mr. Buczkowski was obligated to sell his shares in Madison
Mechanical OS Corp. based on the book value of Madison Mechanical OS Corp. in
2014, (c) the book value of Madison Mechanical OS Corp. in 2014 was negative, and

(d) the purchase price for Mr. Buczkowsh’s stock in Madison Mechanical OS Corp.

was $0.

89. Inthe January 14, 2016 letter, Madison Mechanical OS demanded that
Mr. Buczkowski “endorse his stock certificate in blank and forward it to [Madison

Mechanical OS Corp.’s counsel] to consummate the stock purchase.” Mr. Buczkowski,

rightfully, has not done so.

90. Mr. Buczkowski has not endorsed his stock certificate to Madison
Mechanical OS Corp. or to anyone else. He remains a stockholder of the corporation.

G. Dissolution of Madison Mechanical, Inc.

91. On December 21, 2015, Defendants dissolved Madison Mechanical, Inc.
92. Mr. Haslam signed Articles of Dissolution of the corporation under
penalties of perjury, which were filed with the Department of Assessments and

Taxation on December 2], 2015.

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93. Upon information and belief, Mr. Haslam did not give notice to or hold a
meeting of the stockholders of Madison Mechanical OS Corp. before he unilaterally
dissolved its subsidiary, Madison Mechanical, Inc.

94, Under Md. Code, Corps. & Assocs. § 3-404, “fnJot less than 20 days prior
to the filing of articles of dissolution with the Department, the corporation shall mail
notice that dissolution of the corporation has been approved to all its known creditors
at their addresses as shown on the records of the corporation and to its employees,
either at their home addresses as shown on the records of the corporation, or at their
business addresses.”

95. Inthe Articles of Dissolution that Mr. Haslam signed, he stated that
“(notice of the approved dissolution was mailed to all known creditors of the
Corporation on December 21, 2015.”

96. Mr. Haslam’s statement in the Articles of Dissolution that notice was
sent to all known creditors was false. Notice of the dissolution of Madison Mechanical,
Ine. was not sent to all of the corporation’s creditors.

97. Mr. Buezkowski is a creditor of Madison Mechanical, Inc. pursuant to a
Promissory Note in the amount of $150,000 that was signed by Mr. Haslam on behalf
the corporation in favor of Mr. Buczkowski on or about October 17, 2014, little more
than a year before the dissolution.

98. Despite the fact-that Mr, Buczkowski was a creditor of Madison

Mechanical, Inc.—and despite Mr. Haslam’s statement under oath that notice was

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sent to all known creditors of the corporation—notice of the dissolution of Madison
Mechanical, Inc. was not sent to Mr. Buczkowski.

99. Myr. Buczkowski learned of the dissolution of Madison Mechanical, Inc.
by reviewing the corporate status of the various Madison entities after his

termination.

100. The dissolution of Madison Mechanical, Inc. was an act of default under
the above-referenced Promissory Note.

101. Mr. Buczkowski brought an action against Madison Mechanical, Inc. on
the Note. On March 3, 2016, the Circuit Court for Howard County entered a judgment
by confession in favor of Mr. Buczkowski and against Madison Mechanical, Inc. in the
amount of $204,297.94. As such, Mr. Buczkowski remains a creditor of Madison
Mechanical, Inc.

102. Upon information and belief, Madison Mechanical, Inc. also failed to
send notice of its dissolution to other creditors in addition to Mr. Buczkowski.

103. Even if Mr. Haslam's statement that notice was sent to all creditors was
accurate (which, as explained above, it was not), his filing of the Articles of Dissolution
was premature. Corps. & Assocs. § 3-407(a)(1) states that a “corporation shall file
articles of dissolution for record with the Department... If there are any known
creditors of the corporation, after the 19th day following the mailing of notice to

them.” Mr. Haslam stated that notice was mailed to creditors on December 21, 2015,

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the same day as the filing of the Articles of Dissolution. The Articles of Dissolution

was therefore filed prematurely.

FB, Diversion of corporate opportunities from Madison Mechanical, Inc.
and Madison Mechanical OS Corp. to Madison Mechanical
Contracting, LLC.

104. | Upon information and belief—at or around the time of the formation of
Madison Mechanical Contracting, LLC, termination of Mr. Buczkowski, and
dissolution of Madison Mechanical, Inc-——Madison Mechanical Contracting, LLC took
over ongoing projects that were previously being performed by Madison Mechanical,
Inc. as well as several contracts that had been negotiated under Madison Mechanical,

Inc.’s name and began performing the projects for the benefit of Madison Mechanical

Contracting, LLC.

105. Effective January 1, 2016, all Madison Mechanical, Inc. employees

became employed by Madison Mechanical Contracting, LLC.

106. Madison Mechanical, Inc. corporate records show that as of September
30, 2015, Madison Mechanical, Inc, had subcontracts and/or commitments for the
following projects: Ashby Ponds 2.4; Ashby Ponds Reconfiguration; Brentwood; Pier

Hotel II; Perryhall BV; and Havre de Grace Readiness.

107. Madison Mechanica] Contracting, LLC records show that as.of February
1, 2016, Madison Mechanical Contracting, LLC was performing these same

subcontracts.

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108. Madison Mechanical Contracting, LLC effectively misappropriated the
name, goodwill, records, trade secrets, assets, and accounts receivables of Madison
Mechanical, Inc. for no consideration.

109. Because Madison Mechanical, Inc. was a wholly-owned subsidiary of
Madison Mechanical OS Corp., the misappropriation of Madison Mechanical, Inc. by
Madison Mechanical Contracting, LLC was to the detriment of Madison Mechanical
OS Corp. and its shareholders and to the benefit of Madison Mechanical Contracting,

- LLC and its members.

110. In addition to misappropriating current, ongoing projects and accounts .
receivable to benefit their new company, Madison Mechanical Contracting, LLC, Mr.
Garofalo, Mr. Haslam, Mr. Kraemer, and Mr. Lombardo have diverted corporate

opportunities from Madison Mechanical OS Corp. to Madison Mechanical Contracting,

LLC.
111. Upon information and belief, Madison Mechanical Contracting, LLC is

performing services on numerous projects that were previously Madison Mechanical,

Inc. subcontracts.

112. Upon information and belief, all of these projects are the types of projects
that could have—and, absent the interference of Madison Mechanical Contracting,
LLC—would have been performed by Madison Mechanical OS Corp. through its

wholly-owned subsidiary, Madison Mechanical, Inc.

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118. Defendants have persisted in their unlawful diversion of business and
income from Madison Mechanical, Inc. to Madison Mechanical Contracting, LLC.

114. Defendants simply took over and misappropriated the name, goodwill,
trade secrets, assets, and accounts receivable of Madison Mechanical, Inc—a wholly-
owned subsidiary of Madison Mechanical OS Corp.—with no consideration to Madison
Mechanical OS Corp. and in direct competition with Madison Mechanical OS Corp.

115. Defendants continue to use the Madison Mechanical, Inc. name,
goodwill, trade secrets, assets, and accounts receivable, but for their own benefit and
with no benefit to Madison Mechanical, Inc. or its parent, Madison Mechanical OS

Corp.

Count 1- Declaratory Judgment

(Against Madison Mechanical OS Corp., Glenn A. Haslam,
Gary Garofalo, Richard Lombardo, and Lawrence Kraemer)

116. The Plaintiff incorporates by reference the substance of all the foregoing

factual allegations.

117. This declaratory judgment action is brought pursuant to Md. Code, Cts.
& Jud. Proc. §§ 8-406 and 3-407 for the purpose of determining questions of actual

controversy between the parties and terminating uncertainty and controversy giving

rise to this proceeding.

118. Mr. Buczkowski owns 13% of the shares of Defendant Madison

Mechanical OS Corp.

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119. The remaining 87% of the shares of Madison Mechanical OS Corp. are
owned by Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer.

120. On or about December 31, 2007, Mr. Buczkowski, Mr. Haslam, Mr.
Garofalo, Mr. Lombardo, and Mr. Kraemer entered into a Stockholders Agreement
with Madison Mechanical OS Corp.

121. The Stockholders Agreement is a valid and binding contract.

122. Mr. Buczkowski has not breached the Stockholders Agreement.

123. Under the Madison Mechanical OS Corp. Stockholders Agreement, the
stockholders’ stock could be transferred only in the following circumstances: (a) sale,
gift, or bequest to a shareholder’s direct family member, (b) disability of a shareholder,
(c) insolvency of a shareholder, (d) failure by a shareholder to contribute upon a
default of the corporation’s obligations to a transferor of shares, (e) desire by the
shareholder to transfer his stock, (f) death, or (g) termination for cause.

124. The Stockholders Agreement defines “termination for cause” as
“termination for persistent non-performance of the Stockholder’s duties as an
employee or officer of the Corporation and its affiliates or for criminal conduct
involving a crime of moral turpitude, gross negligence, willful misconduct or a breach
of the Stockholder’s fiduciary duty to the Corporation and its affiliates as an employee,
director, or officer.” (Stockholders Ag. § 4(a)(3).)

125. Onor about November 18, 2015, Mr. Haslam gave Mr. Buczkowski a

letter on Madison Mechanical, Inc. letterhead, and signed by Mr. Haslam in his

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capacity as president of Madison Mechanical, Inc. The letter stated that Mr.
Buczkowski was terminated “for cause, effective immediately.”

126. The effort to terminate Mr. Bucakowski “for cause” was an attempt to
force a transfer of his stock in Madison Mechanical OS Corp.

127. However, the letter of termination came not from Madison Mechanical
OS Corp., but from Madison Mechanical, Inc. Therefore, it could not possibly have
been a termination (with or without cause) by Madison Mechanical OS Corp.

128. Furthermore, there was no cause for Mr. Buczkowski’s termination. He
had not engaged in persistent non-performance of his duties as an employee or officer
of Madison Mechanical OS Corp., nor had he engaged in criminal conduct involving a
crime of moral turpitude, gross negligence, willful misconduct, or a breach of his
fiduciary duties to the corporation. There was no cause for his purported termination.

129. Nevertheless, on or about January 14, 2016, Madison Mechanical OS
Corp., through counsel, informed Mr. Buczkowski’s counsel that (a) Myr, Buczkowski’s
employment with Madison Mechanical OS Corp. had allegedly been terminated on
November 24, 2015, (b) Mr. Buczkowski was obligated to sell his shares in Madison.
Mechanical OS Corp. based on. the book value of Madison Mechanical os Corp. in
2014, (c) the book value of Madison Mechanical OS Corp. in 2014 was negative, and

(d) the purchase price for Mr. Buczkowski’s stock in Madison Mechanical OS Corp.was

$0,

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180. In the January 14, 2016 letter, Madison Mechanical OS demanded that
My. Buczkowski “endorse his stock certificate in blank and forward it to [Madison
Mechanical OS Corp.’s counse}] to consummate the stock purchase.” Mr. Buczkowski,
rightfully, has not done so.

131. Mr. Buczkowski has not endorsed his stock certificate to Madison
Mechanical OS Corp. or to anyone else. He remains a stockholder of the corporation.

132. Itis Mr. Buczkowski’s position that he was never actually terminated by
Madison Mechanical OS Corp. because the letter of termination came not from
Madison Mechanical OS Corp., but from Madison Mechanical, Inc. Mr. Buczkowski
therefore retains his employment and shares in Madison Mechanical OS Corp.

133. Inthe alternative, even if the letter from Madison Mechanical, Inc. can

be considered a termination by Madison Mechanical OS Corp., there was no cause for

the termination.

134. There therefore exists an actual controversy concerning justiciable issues
between Plaintiff and Defendants within the jurisdiction of this Court, involving the
issue of whether Mr. Buczkowski has been terminated by Madison Mechanical OS
and, if so, whether there was cause for his termination and whether he remains an
employee and/or a shareholder of Madison Mechanical OS.

135. Antagonistic claims are present between the parties. Those claims

indicate imminent and inevitable litigation.

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136. Under §§ 3-401 through 3-415 of the Courts and Judicial Proceedings
Article, Plaintiff is entitled to a judgment declaring the rights and responsibilities of
the Plaintiff and Defendants, and further settling the legal relations, rights, and
responsibilities of the parties,

WHEREFORE, the Plaintiff demands:

a. That the Court issue a declaratory judgment that Plaintiff remains an
employee and a shareholder of Madison Mechanical OS Coyp.; and

b. That the Court issue injunctive relief ordering the Defendants to take
any and all appropriate action to recognize Plaintiffs continued employment and
ownership of shares in Madison Mechanical OS; and

C. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and

expenses incurred in prosecuting this action pursuant to the terms of the Stockholders

Agreement; and
d. That the Court award the Plaintiff such other and further relief as in law

and justice he may be entitled to receive.
Count 2- Breach of Contract

(Against Madison Mechanical OS Corp., Glenn A. Haslam, . “
Gary Garofalo, Richard Lombardo, and Lawrence Kraemer).

137. The Plaintiff incorporates by reference the substance of all the foregoing

factual allegations.

138. Mr. Buczkowski owns 13% of the shares of Defendant Madison

Mechanical OS Corp,

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139. The remaining 87% of the shares of Madison Mechanical OS Corp. are
owned by Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer.

140. On or about December 31, 2007, Mr. Buczkowski, Mr, Haslam, Mr.
Garofalo, Mr. Lombardo, and Mr. Kraemer entered into a Stockholders Agreement
with Madison Mechanical OS. Corp.

141. The Stockholders Agreement is a valid and binding contract.

142. Mr. Buczkowski has not breached the Stockholders’ Agreement.

143. Under the Madison Mechanical OS Corp. Stockholders Agreement, the
stockholders’ stock could be transferred only in the following circumstances: (a) sale,
gift, or bequest to a shareholder’s direct family member, (b) disability of a shareholder,
(c) insolvency of a shareholder, (a) failure by a shareholder to contribute upon a
default of the corporation’s obligations to a transferor of shares, (e) desire by the
shareholder to transfer his stock, (f) death, or (g) termination for cause.

144. The Stockholders Agreement defines “termination for cause” as
“termination for persistent non-performance of the Stockholder’s duties as an
employee or officer of the Corporation and its affiliates or for criminal conduct
involving a crime of moral turpitude, gross negligence, willful misconduct or a breach
of the Stockholder’s fiduciary duty to the Corporation and its affiliates as an employee,
director, or officer.” (Stockholders Ag. § 4(a)(8).)

145. On or about November 18, 2015, Mr. Haslam gave Mr. Buczkowski a

letter on Madison Mechanical, Inc. letterhead, and signed by Mr. Haslam in his

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, capacity as president of Madison Mechanical, Inc. The letter stated that Mr.
Buczkowski was terminated “for cause, effective immediately.”

146. The effort to terminate Mr. Buczkowski “for cause” was an attempt to
force a transfer of his stock in Madison Mechanical OS Corp.

147. However, the letter of termination came not from Madison Mechanical
OS Corp., but from Madison Mechanical, Inc. Therefore, it could not possibly have
been a termination (with or without cause) by Madison Mechanical OS Corp.

148. furthermore, there was no cause for Mr. Buczkowski’s termination. He
had not engaged in persistent non-performance of his duties as an employee or officer
of Madison Mechanical OS Corp., nor had he engaged in criminal conduct involving a
crime of moral turpitude, gross negligence, willful misconduct, or a breach of his
fiduciary duties to the corporation. There was no cause for his purported termination.

149. Nevertheless, on or about January 14, 20 16, Madison Mechanical OS
Corp., through counsel, informed Mr. Buczkowski’s counsel that (a) Mr. Buczkowski’s
employment with Madison Mechanical OS had allegedly been terminated on
November 24, 2015, (b) Mr. Buczkowski was obligated to sell his shares in Madison
Mechanical OS based on the book value of Madison Mechanical OS in 2014, () the
book value of Madison Mechanical OS in 2014 was negative, and (d) the purchase
price for Mr. Buczkowski’s stock in Madison Mechanical OS was $0.

150. Inthe January 14, 2016 letter, Madison Mechanical OS Corp. demanded

that Mr. Buczkowski “endorse his stock certificate in blank and forward it to [Madison

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Mechanical OS Corp.’s counsel} to consummate the stock purchase.” Mr. Buczkowski,
rightfully, has not done so.

151. Defendant’s efforts to terminate Mr. Buczkowski without cause and
obtain his shares in Madison Mechanical OS Corp. for no consideration constitute a
breach of the Stockholders Agreement.

152. Asa result of this breach, Mr. Buczkowski has suffered monetary
damages and non-monetary harm.

WHEREFORKH, the Plaintiff demands:

a. That the Court enter judgment in favor of Plaintiff and against
Defendants, and award damages to Plaintiff in an amount exceeding $75,000;
b. That the Court issue a declaratory judgment that Plaintiff remains an

employee and a shareholder of Madison Mechanical OS Corp.; and

c. That the Court issue injunctive relief ordering the Defendants to take
any and all appropriate action to recognize Plaintiffs continued employmént and

ownership of shares in Madison Mechanical OS Corp.; and
a. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and

expenses incurred in prosecuting this action pursuant to the terms of the Stockholders

Agreement; and

e, That the Court award the Plaintiff such other and further relief as in law

and justice he may be entitled to receive.

Count 3 - Oppression of Minority Shareholder

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(Against Glenn A. Haslam, Gary Garofalo, Richard Lombardo, and
Lawrence Kraemer)

153. The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.

154. At all times relevant to this case, Mr. Buczkowski was, and remains, a
13% shareholder of Madison Mechanical OS Corp., a Maryland corporation.

155. Defendants Glenn Haslam (54%), Gary Garofalo (13%), Lawrence
Kraemer (10%), and Richard Lombardo (10%) are the other shareholders of Madison
Mechanical OS Corp.

156. Asa majority shareholder, Mr. Haslam owes a fiduciary duty to Mr.
Buczkowski to not exercise his control to the disadvantage of Mr. Buezkowski. Mr.
Haslam owes a fiduciary duty to Mr. Buczkowski to not use his voting power for his
own benefit or for a purpose adverse to the interests of the corporation and its
stockholders.

157. Asa majority of the shareholders, Mr. Haslam, Mr. Garofalo, Mr.
Kraemer, and Mr, Lombardo owe a fiduciary duty to Mr. Buczkowski to not exercise
their control to the disadvantage of Mr. Buczkowski. The majority shareholders owe a
fiduciary duty to Mr. Buczkowski to not use their voting power for their own benefit
or for a purpose adverse to the interests of the corporation and its stockholders.

158. Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer breached
the above duties when they (a) formed a new entity, Madison Mechanical
Contracting, LLC, to compete directly with Madison Mechanical OS Corp. and its

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subsidiary, Madison Mechanical, Inc.; (b) concealed their plan and actions from Mr.
Buczkowski; (c) purported to terminate Mr. Buczlowski’s employment without cause;
(d) demanded that Mr. Buczkowski transfer his shares in Madison Mechanical OS
Corp. back to the corporation for no consideration; (e) usurped the ongoing business of
Madison Mechanical, Inc. for the benefit of their new entity and themselves; (f)
usurped the name, goodwill, assets, trade secrets, and accounts receivable of Madison
Mechanical, Inc.; (g) usurped corporate opportunities for the benefit of their new
entity and themselves, which rightfully belonged to Madison Mechanical, Inc. and
Madison Mechanical OS Corp.; and (h) dissolved Madison Mechanical, Inc.

159. Madison Mechanical OS Corp. has suffered monetary and non-monetary
harm as a result of the above breaches of fiduciary duty.

160. Mr. Buczkowslki suffered direct harm as a result of these breaches,
separate and distinct from the harm suffered by the corporation, in that Defendants
wrongfully terminated his employment and demanded that he transfer his shares in
Madison Mechanical OS Corp. back to the corporation for no consideration.

161. Furthermore, unlike all of the other shareholders of Madison Mechanical
OS Corp., Mr. Buczkowski is not a member of Madison Mechanical Contracting, LLC.

WHEREFORE, the Plaintiff demands:

a. That the Court enter judgment in favor of Plaintiff and against

Defendants, and award damages in an amount exceeding $75,000;

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b. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical OS Corp. from December
13, 2007 to the present;

ce, That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 13,
2007 to the present;

d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of .
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; Gi) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Corp.; and (iii) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or.
Madison Mechariical OS Corp.;

e. That the Court issue a declaratory judgment that Defendants wrongfully

and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation

be revived;

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£. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and
expenses incurred in prosecuting this action; and

g. That the Court award the Plaintiff such other and further rehef as in law

and justice he may be entitled to receive.

Count 4-— Oppression of Minority Shareholder
(Derivative Action on Behalf of Madison Mechanical OS Corp.)

(Against Glenn A. Haslam, Gary Garofalo, Richard Lombardo, and
Lawrence Kraemer)

162. The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.

163. At all times relevant to this case, Mr. Buczkowski was, and remains, a
13% shareholder of Madison Mechanical OS Corp., a Maryland corporation.

164. Defendants Glenn Haslam (54%), Gary Garofalo (13%), Lawrence
Kraemer (10%), and Richard Lombardo (10%) are the other shareholders of Madison
Mechanical OS Corp.

165. Asa majority shareholder, Mr. Haslam owes a fiduciary duty to Mr.
Buczkowski to not exercise his control to the disadvantage of Mr. Buczkowski. Mr.

Haslam owes a fiduciary duty to Mr. Buczkowski to not use his voting power for his

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own benefit or for a purpose adverse to the interests of the corporation and its
stockholders.

166. As a majority of the shareholders, Mr, Haslam, Mr. Garofalo, Mr.
Kraemer, and Mr. Lombardo owe a fiduciary duty to Mr. Buczkowski to not exercise
their control to the disadvantage of Mr. Buczkowski. The majority shareholders owe a
fiduciary duty to Mr. Buczkowski to not use their voting power for their own benefit or
for a purpose adverse to the interests of the corporation and its stockholders.

167. Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer breached
the above duties when they (a) formed a new entity, Madison Mechanical Contracting,
LLC, to compete directly with Madison Mechanical OS Corp. and its subsidiary,
Madison Mechanical, Inc.; (b) concealed their plan and actions from Mr. Buezkowski;
(c) purported to terminate Mr. Buczkowski’s employment without cause; (a) demanded
that Mr. Buczkowski transfer his shares in Madison Mechanical OS Corp. back to the
corporation for no consideration; (e) usurped the ongoing business of Madison

” Mechanical, Inc. for the benefit of their new entity and themselves; (f) usurped the
name, goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical,
Inc.; (g) usurped corporate opportunities for the benefit of their new entity and
themselves, which rightfully belonged to Madison Mechanical, Inc. and Madison
Mechanical OS Corp.; and (h) dissolved Madison Mechanical, Inc.

168. Madison Mechanical OS Corp. has suffered monetary and non-monetary

harm as a result of the above breaches of fiduciary duty.

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169. Any demand by Mr. Buczkowski on Madison Mechanical OS Corp. to
take legal action against Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer
would be futile because a majority of the directors and shareholders of the corporation
are so personally and directly conflicted or committed to the decisions in dispute that
they cannot reasonably be expected to respond to a demand in good faith and within

the ambit of the business judgment rule.

170. Nevertheless, on May 10, 2016, Mr. Buczkowski informed Mr. Haslam,
the Director and President of the corporation, of these breaches of fiduciary duty and
demanded that the corporation take legal action against Mr. Haslam, Mr. Garofalo,

Mr. Lombardo, and Mr. Kraemer.

171. By letter from counsel on May 18, 2016, Mr. Haslam on behalf of
Madison Mechanical OS Corp. informed Mr. Buczkowski that his demand “has been
considered by the Corporation’s Board and rejected as baseless.”

WHEREFORE, the Plaintiff, on behalf of Madison Mechanical OS Corporation,

demands:

a. That the Court enter judgment in favor of Plaintiff and against

Defendants, and award damages in an amount exceeding $75,000;
b. That the Court order Defendants to provide a full accounting of all

financial dealings and transactions of Madison Mechanical OS Corp. from December

. 18, 2007 to the present;

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c. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 13,
2007 to the present;

a. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from G) using the name, goodwiil, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; Gi) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madisori Mechanical, Inc. or Madison Mechanical
OS Corp.; and (ii) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or
Madison Mechanical OS Corp.;

e. That the Court issue a declaratory judgment that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation
be revived;

£. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and

expenses incurred in prosecuting this action; and

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g. That the Court award the Plaintiff such other and further relief as in law

and justice he may be entitled to receive.

Count 5 ~ Breach of Fiduciary Duty

(Against Glenn A. Haslam, Gary Garofalo, Richard Lombardo, and
Lawrence Kraemer)

172. The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.

173. Defendants Glenn Haslam (54%), Gary Garofalo (18%), Lawrence
Kraemer (10%), and Richard Lombardo (10%) are the other shareholders of Madison
Mechanical OS Corp.

174. Upon information and belief, Defendant Haslam is the sole Director of
Madison Mechanical OS Corp, and is the President of the corporation.

175, As a director and officer of Madison Mechanical OS Corp, Mr. Haslam
owes fiduciary duties to the corporation and its shareholders.

176. Among other duties, Mr. Haslam owes duties of care, loyalty, and good
faith to the corporation and its shareholders.

177. Under Md. Code, Corps. & Assocs. § 2-405.1(a), Mr. Haslam has a duty
to, at all times, manage the corporation in good faith, in a manner he reasonably
believes to be in the best interests of the corporation; and with the care that an

ordinarily prudent person in a like position would use under similar citcumstances.

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178. Asa director and officer of the corporation, Mr. Haslam has a duty to not
usurp, for his personal benefit, a business opportunity rightfully belonging to the
corporation.

179. As shareholders of the corporation, Mr. Garofalo, Mr. Lombardo, and Mr.
Kraemer likewise owe duties of loyalty to the corporation, and may not usurp, for their
own personal benefit, a business opportunity rightfully belonging to the corporation.

180. Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer breached
the above duties when they (a) formed a new entity, Madison Mechanical Contracting,
LLC, to compete directly with Madison Mechanical OS Corp. and its subsidiary,
Madison Mechanical, Inc.; (b) usurped the ongoing business of Madison Mechanical,
Inc. for the benefit of their new entity and themselves; (c) usurped the name, goodwill,
trade secrets, assets, and accounts receivable of Madison Mechanical, Inc.; (d) usurped
corporate opportunities for the benefit of their new entity and themselves, which

rightfully belonged to Madison Mechanical, Inc.; and (e) dissolved Madison

Mechanical, Inc.

181, Madison Mechanical OS Corp. has suffered monetary and non-monetary

harm as a result of the above breaches of fiduciary duty.

182. Mr. Buczkowski suffered direct harm as a result of these breaches,
separate and distinct from the harm suffered by the corporation, in that Defendants
wrongfully terminated his employment and demanded that he transfer his shares in

Madison Mechanical OS Corp. back to the corporation for no consideration.

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188. Furthermore, unlike all of the other shareholders of Madison Mechanical
OS Corp., Mr. Buczkowski is not a member of Madison Mechanical Contracting, LLC.

WHEREFORE, the Plaintiff demands:

a. That the Court enter judgment in favor of Plaintiff and against
Defendants, and award damages in an amount exceeding $75,000;

b. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical OS Corp. from December
13, 2007 to the present;

c. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 13,
2007 to the present;

d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; (ii) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical

OS Corp.; and (iii) usurping corporate opportunities for themselves or Madison

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Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or
Madison Mechanical OS Corp.; |

e. That the Court issue a declaratory judgment that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation
be revived;

£ | That the Court award Plaintiff his reasonable attorneys fees, costs, and
expenses incurred in prosecuting this action; and

g. That the Court award the Plaintiff such other and further relief as in law
_and justice he may be entitled to receive.

Count 6 — Breach of Fiduciary Duty
(Derivative Action on Behalf of Madison Mechanical OS Corp.)

(Against Glenn A. Haslam, Gary Garofalo, Richard Lombardo, and
Lawrence Kraemer)

184. The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.

185. | At all times relevant to this case, Mr. Buczkowski was, and remains, a
18% shareholder of Madison Mechanical OS Corp., a Maryland corporation.

186. Defendants Glenn Haslam (64%), Gary Garofalo (13%), Lawrence
Kraemer (10%), and Richard Lombardo (10%) are the other shareholders of Madison
Mechanical OS Corp. .

187. Upon information and belief, Defendant Haslam is the sole Director of
Madison Mechanical OS Corp., and is the President of the corporation.

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188. Asa director and officer of Madison Mechanical OS Corp., Mr. Haslam
owes fiduciary duties to the corporation and its shareholders.

189. Among other duties, Mr. Haslam owes duties of care, loyalty, and good.
faith to the corporation and its shareholders.

190. Under Md. Code, Corps. & Assocs. § 2-405.1(a), Mr. Haslam has a duty
to, at all times, manage the corporation in good faith, in a manner he reasonably
believes to be in the best interests of the corporation; and with the care that an
ordinarily prudent person in a like position would use under similar circumstances.

191. As a director and officer of the corporation, Mr. Haslam has a duty to not

usurp, for his personal benefit, a business opportunity rightfully belonging to the

corporation.

192. As shareholders of the corporation, Mr. Garofalo, Mr. Lombardo, and Mr.
Kraemer likewise owe duties of loyalty to the corporation, and may not usurp, for their
own personal benefit, a business opportunity rightfully belonging to the corporation.

193. In addition, as employees of Madison Mechanical OS Corp., Mr. Haslam,
Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer have a duty of loyalty to the
corporation, and may not solicit for themselves business which their positions require
them to obtain for the corporation, their employer. They have a duty to refrain from
actively and directly competing with the corporation for customers and employees, and

must continue te exert their best efforts on behalf of the corporation.

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194, Mr. Haslam, Mr, Garofalo, Mr. Lombardo, and Mr. Kraemer breached
the above duties when they (a) formed a new entity, Madison Mechanical Contracting,
LLC, to compete directly with Madison Mechanical OS Corp. and its subsidiary,
Madison Mechanical, Inc.; (b) usurped the ongoing business of Madison Mechanical,
Inc. for the benefit of their new entity and themselves; (c) usurped the name, goodwill,
trade secrets, assets, and accounts receivable of Madison Mechanical, Inc.; (d) usurped
corporate opportunities for the benefit of their new entity and themselves, which
rightfully belonged to Madison Mechanical, Inc. and Madison Mechanical OS Corp.;
and (e) dissolved Madison Mechanical, Inc.

195. Madison Mechanical OS Corp. has suffered monetary and non-monetary
harm as a result of the above breaches of fiduciary duty.

196. Any demand by Mr. Buczkowski on Madison Mechanical OS Corp. to
take legal action against Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr. Kraemer
would be futile because a majority of the directors and shareholders of the corporation
are so personally and directly conflicted or committed to the decisions in dispute that
they cannot reasonably be expected to respond to a demand in good faith and within
the ambit of the business judgment rule.

197. Nevertheless, on May 10, 2016, Mr. Buczkowski informed Mr. Haslam,
the Director and President of the corporation, of these breaches of fiduciary duty and
requested that the corporation take legal action against Mr. Haslam, Mr. Garofalo,

Mr. Lombardo, and Mr. Kraemer.

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198. By letter from counsel on May 13, 2016, Mr. Haslam on behalf of
Madison Mechanical OS Corporation informed Mr. Buczkowski that his demand “has
been considered by the Corporation’s Board and rejected as baseless.”

WHEREFORE, the Plaintiff, on behalf of Madison Mechanical OS Corporation,
demands:

a That the Court enter judgment in favor of Plaintiff and against,
Defendants, and award damages in an amount exceeding $75,000;

b. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical OS Corp. from December
18, 2007 to the present;

c. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 13,
2007 to the present;

a. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from G) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; (i) performing

services for the benefit of Madison Mechanical Contracting, LLC under subcontracts

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entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Corp.; and (iii) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or

Madison Mechanical OS Corp.;

e. That the Court issue a declaratory judgment that Defendants wrongfully

and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation

be revived;
f£ That the Court award Plaintiff his reasonable attorneys’ fees, costs, and
expenses incurred in prosecuting this action; and
g. That the Court award the Plaintiff such other and further relief as in law
and justice he may be entitled to receive.
Count 7- Tortious Interference with Economic Relations
(Against Glenn A. Haslam, Gary Garofalo,
Richard Lombardo, Lawrence Kraemer, Richard Arnold,
‘and Madison Mechanical Contracting, LLC)
199. The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.
200. On or about August 20, 2015, Richard Arnold, Glenn Haslam, Gary
Garofalo, Richard Lombardo, and Lawrence Kraemer formed Madison Mechanical
Contracting, LLC.

201. Within months of its formation, Madison Mechanical Contracting, LLC

took over ongoing projects that were previously being performed by Madison

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Mechanical, Inc. and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members.

202. Madison Mechanical Contracting, LLC assumed ongoing projects under
subcontracts that were entered into by Madison Mechanical, Inc.

203. Madison Mechanical Contracting, LLC misappropriated the name,
goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical, Inc.

204. Defendants diverted corporate opportunities for new projects from
Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison Mechanical
Contracting, LLC. |

205. Defendants used knowledge and information obtained through their
positions as shareholders, officers, directors, and/or employees of Madison Mechanical
OS Corp. to compete with Madison Mechanical OS Corp. and civert corporate
opportunities from Madison Mechanical OS Corp. for the benefit of Madison
Mechanical Contracting, LLC and its members.

206. Defendants dissolved Madison Mechanical, Inc.

207. Because Madison Mechanical, Inc. was a subsidiary of Madison
Mechanical OS Corp., the above actions by Defendants was to the detriment.of
Madison Mechanical OS Corp.

208. Defendants thus took intentional and willful actions, which were

calculated to cause damage and loss to Madison Mechanical OS Corp. in its lawful

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business, and which were done for the unlawful purpose of causing such damage and
loss, and which resulted in damage and loss to the corporation.

209. Mr. Buczkowski suffered direct harm as a result of the above tortious
interference, separate and distinct from the harm suffered by the corporation, in that
Defendants wrongfully terminated his employment and demanded that he transfer

his shares in Madison Mechanical OS Corp. back to the corporation for no

consideration.

210. Furthermore, unlike all of the other shareholders of Madison Mechanical
OS Corp., Mr. Buczkowski is not a member of Madison Mechanical Contracting, LLC.

WHEREFORE, the Plaintiff demands:

a. That the Court enter judgment in favor of Plaintiff and against
Defendants, and award damages in an amount exceeding $75,000;
b. That the Court order Defendants to provide a full accounting of all

financial dealings and transactions of Madison Mechanical OS Corp. from December

18, 2007 to the present;

CG. That the Court order Defendants to provide a full accounting of all

financial dealings and transactions of Madison Mechanical, Inc. from December 13,

2007 to the present;

d. That the Court order Defendants to provide a full accounting of all

financial dealings and transactions of Madison Mechanical Contracting, LLC from

August 20, 2015 to the present;

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e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechamical Contracting, LLC; (ii) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Corp. ; and (iii) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or
Madison Mechanical OS Corp.;

e, That the Court issue a declaratory judgment that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation
be revived;

£ That the Court award Plaintiff his reasonable attorneys’ fees, costs, and
expenses incurred in prosecuting this action; and

g. That the Court award the Plaintiff such other and further relief as in law
and justice he may be entitled to receive.

Count 8 — Tortious Interference with Economic Relations
(Derivative Action on Behalf of Madison Mechanical OS Corp.)
(Against Glenn A. Haslam, Gary Garofalo,

Richard Lombardo, Lawrence Kraemer, Richard Arnold,
and Madison Mechanical Contracting, LLC)

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211. The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.
212. Onor about August 20, 2015, Richard Arnold, Glenn Haslam, Gary

Garofalo, Richard Lombardo, and Lawrence Kraemer formed Madison Mechanical

Contracting, LLC.

213. Within months of its formation, Madison Mechanical Contracting, LLC
took over ongoing projects that were previously being performed by Madison
Mechanical, Inc. and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members.

' 214. Madison Mechanical Contracting, LLC assumed ongoing projects under
subcontracts that were entered into by Madison Mechanical, Inc. Upon information
and belief, Madison Mechanical Contracting, LLC is using the trade name, Madison
Mechanical, Inc.

215. Madison Mechanical Contracting, LLC misappropriated the name,
goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical, Inc.

216. Defendants diverted corporate opportunities for new projects from
Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison Mechanical
Contracting, LLC.

217. Defendants used knowledge and information obtained through their
positions as shareholders, officers, directors, and/or employees of Madison Mechanical

OS Corp. to compete with Madison Mechanical OS Corp. and divert corporate

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opportunities from Madison Mechanical OS Corp. for the benefit of Madison
Mechanical Contracting, LLC and its members.

218. Defendants dissolved Madison Mechanical, Inc.

219, Because Madison Mechanical, Inc. was a subsidiary of Madison
Mechanical OS Corp., the above actions by Defendants was to the detriment of
Madison Mechanical OS Corp.

220. Defendants thus took intentional and willful actions, which were
calculated to cause damage and loss to Madison Mechanical OS Corp. in its lawful
business, and which were done for the unlawful purpose of causing such damage and
loss, and which resulted in damage and loss to the corporation.

221. Any demand by Mr. Buczkowski on Madison Mechanical OS Corp. to
take legal action against Mr. Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr.
Arnold, and Madison Mechanical Contracting, LLC would be futile because a majority
of the directors and shareholders of the corporation are so personally and directly
conflicted or committed to the decisions in dispute that they cannot reasonably be
expected to respond to a demand in good faith and within the ambit of the business
judgment rule.

222. Nevertheless, on May 10, 2016, Mr. Buczkowski informed Mr. Haslam,
the Director and President of the corporation, of the above tortious interference and
requested that the corporation take legal action against Mr. Haslam, Mr. Garofalo,

Mr. Lombardo, Mr. Kraemer, Mr. Arnold, and Madison Mechanical Contracting, LLC.

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223. By letter from counsel! on May 13, 2016, Mr. Haslam on behalf of
Madison Mechanical OS Corporation informed Mr. Buczkowski that his demand “has
been considered by the Corporation’s Board and rejected as baseless.”

WHEREFORE, the Plaintiff demands:

a. That the Court enter judgment in favor of Plaintiff and against
Defendants, and award damages in an amount exceeding $75,000;

b. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical OS Corp. from December
18, 2007 to the present;

c. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 13,
2007 to the present;

d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of
Madison Mechaniéal, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; (ii) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts

entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical

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OS Corp.; and Gii) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or

Madison Mechanical OS Corp.;

e. That the Court issue a declaratory judgment that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation

be revived;

£. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and
expenses incurred in prosecuting this action; and

g. That the Court award the Plaintiff such other and further relief as in law
and justice he may be entitled to receive.

Count 9 — Unjust Enrichment
(Against Glenn A. Haslam, Gary Garofalo,
Richard Lombardo, Lawrence Kraemer, Richard Arnold,
and Madison Mechanical Contracting, LLC)

224. The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.

225. On or about August 20, 2015, Richard Arnold, Glenn Haslam, Gary
Garofalo, Richard Lombardo, and Lawrence Kraemer formed Madison Mechanical
Contracting, LLC.

226. Within months of its formation, Madison Mechanical Contracting, LLG

took over ongoing projects that were previously being performed by Madison

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Mechanical, Inc. and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members.

227. Madison Mechanical Contracting, LLC assumed ongoing projects under
subcontracts that were entered into by Madison Mechanical, Inc. Upon information
and belief, Madison Mechanical Contracting, LLC is using the trade name, Madison
Mechanical, Inc.

228. Madison Mechanical Contracting, LLC misappropriated the name,
goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical, Inc.

229. Defendants diverted corporate opportunities for new projects from
Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison Mechanical
Contracting, LLC.

230. Defendants used knowledge and information obtained through their
positions as shareholders, officers, directors, and/or employees of Madison Mechanical
OS Corp. to compete with Madison Mechanical OS Corp. and divert corporate
opportunities from Madison Mechanical OS Corp. for the benefit of Madison
Mechanical Contracting, LLC and its members.

231. Thus, benefits were conferred on Defendants by Madison Mechanical OS

~ Corp. |

232. Defendants are aware and have knowledge of the benefits they received

from Madison Mechanical OS Corp.

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238. Under the circumstances, in would be inequitable for Defendants to
retain these benefits without paying the value of these benefits or returning the funds
wrongfully obtained to Madison Mechanical OS Corp.

234. Mr. Buczkowski suffered direct harm as a result of the above unjust
enrichment, separate and distinct from the harm suffered by the corporation, in that
Defendants wrongfully terminated his employment and demanded that he transfer

his shares in Madison Mechanical OS Corp. back to the corporation for no

consideration.

235. Furthermore, unlike all of the other shareholders of Madison Mechanical
OS Corp., Mr. Buezkowski is not a member of Madison Mechanical Contracting, LLC.

WHEREFORE, the Plaintiff demands:

a. That the Court enter judgment in favor of Plaintiff and against

Defendants, and award damages in an amount exceeding $75,000;
b. That the Court order Defendants to provide a full accounting of all

financial dealings and transactions of Madison Mechanical OS Corp. from December .

18, 2007 to the present;

C. That the Court order Defendants to provide a full accounting of all

financial dedlings and transactions of Madison Mechanical, Inc. from December 13,

2007 to the present;

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d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

é. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; Gi) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Corp.; and (iii) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or
Madison Mechanical OS Corp.;

e. That the Court issue a declaratory judgment that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation
be revived;

f. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and

expenses incurred in prosecuting this action; and

g. That the Court award the Plaintiff such other and further relief as in law

and justice he may be entitled to receive.

Count 10 — Unjust Enrichment

(Derivative Action on Behalf of Madison Mechanical OS Corp.)

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(Against Glenn A. Haslam, Gary Garofalo,
Richard Lombardo, Lawrence Kraemer, Richard Arnold,
and Madison Mechanical Contracting, LLC)

236, The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.

237. On or about August 20, 2015, Richard Arnold, Glenn Haslam, Gary
Garofalo, Richard Lombardo, and Lawrence Kraemer formed Madison Mechanical
Contracting, LLC.

238. Within months of its formation, Madison Mechanical Contracting, LLC
took over ongoing projects that were previously being performed by Madison
Mechanical, Inc. and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members.

239. Madison Mechanical Contracting, LLC assumed ongoing projects under
subcontracts that were entered into by Madison Mechanical, Inc. Upon information
and belief, Madison Mechanical Contracting, LLC is using the trade name, Madison
Mechanical, Inc.

240. Madison Mechanical Contracting, LLC misappropriated the name,
goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical, Inc.

241. Defendants diverted corporate opportunities for new projects from

Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison Mechanical

Contracting, LLC.

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242. Defendants used knowledge and information obtained through their
positions as shareholders, officers, directors, and/or employees of Madison Mechanical
OS Corp. to compete with Madison Mechanical OS Corp. and divert corporate
opportunities from Madison Mechanical OS Corp. for the benefit of Madison
Mechanical Contracting, LLC and its members.

243. Thus, benefits were conferred on Defendants by Madison Mechanical OS

Corp.

4d, Defendants are aware and have knowledge of the benefits they received
from Madison Mechanical OS Corp.

245. Under the circumstances, in would be inequitable for Defendants to
retain these benefits without paying the value of these benefits or returning the funds
wrongfully obtained to Madison Mechanical OS Corp.

246. Any demand by Mr. Buczkowski on Madison Mechanical OS Corp. to
take legal action against Mr. Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr.
Arnold, and Madison Mechanical Contracting, LLC would be futile because a majority
of the directors and shareholders of the corporation are so personally and directly
conflicted or committed to the decisions in dispute that they cannot reasonably be
expected to respond to a demand in good faith and within the ambit of the business
judgment rule.

247. Nevertheless, on May 10, 2016, Mr. Buczkowski informed Mr. Haslam,

the Director and President of the corporation, of the above unjust enrichment and

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requested that the corporation take legal action against Mr. Haslam, Mr. Garofalo,
Mr. Lombardo, Mr. Kraemer, Mr. Arnold, and Madison Mechanical Contracting, LLC,

248. By letter from counsel on May 13, 2016, Mr. Haslam on behalf of
Madison Mechanical OS Corporation informed Mr. Buezkowski that his demand “has
been considered by the Corporation’s Board and rejected as baseless.”

WHEREFORE, the Plaintiff demands:

a. That the Court enter judgment in favor of Plaintiff and against
Defendants, and award damages in an amount exceeding $75,000;

b. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical OS Corp. from December
18, 2007 to the present;

c. That the Court order Defendants.to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 13,
2007 to the present;

d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of

themselves individually or Madison Mechanical Contracting, LLC; (i) performing

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services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Corp.; and (iii) usurping corporate opporfunities for themselves or Madison

Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or

Madison Mechanical OS Corp.;

e, That the Court issue a declaratory judgment that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation
be revived;

f. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and
expenses incurred in prosecuting this action; and

g. That the Court award the Plaintiff such other and further relief as in law

and justice he may be entitled to receive.

Count 11: Unfair Competition — Misappropriation of Trade Secrets,

(Against Glenn A. Haslam, Gary Garofalo,
Richard Lombardo, Lawrence Kraemer, Richard Arnold,
and Madison Mechanical Contracting, LLC)

249. The Plaintiff incorporates by reference the substance of all the foregoing

factual allegations.

250. On or about August 20, 2015, Richard Arnold, Glenn Haslam, Gary

Garofalo, Richard Lombardo, and Lawrence Kraemer formed Madison Mechanical

Contracting, LLC.

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251. Within months of its formation, Madison Mechanical Contracting, LLC
took over ongoing projects that were previously being performed by Madison
Mechanical, Inc. and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members.

252. Madison Mechanical Contracting, LLC assumed ongoing projects under
subcontracts that were entered into by Madison Mechanical, Inc. Upon information
and belief, Madison Mechanical Contracting, LLC is using the trade name, Madison
Mechanical, Inc. |

253. Madison Mechanical Contracting, LLC misappropriated the name,
goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical, Inc.

254. Defendants diverted corporate opportunities for new projects from

Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison Mechanical

Contracting, LLC.

255. Defendants used knowledge and information obtained through their
positions as shareholders, officers, directors, and/or employees of Madison Mechanical
OS Corp. to compete with Madison Mechanical OS Corp. and divert corporate
opportunities from Madison Mechanical OS Corp. for the benefit of Madison
Mechanical Contracting, LLC and its members.

256. In doing so, Defendants improperly acquired trade secrets that were

developed and/or possessed by Madison Mechanical OS Corp. and used those trade

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secrets to the benefit of themselves individually and Madison Mechanical Contracting,
LLC, and to the detriment of Madison Mechanical OS Corp.

257. Defendants knew or should have known that the trade secrets were
acquired by improper means.

258. Madison Mechanical OS Corp. suffered, and continues to suffer, harm
due to the misappropriation of its trade secrets.

259. Mr. Buczkowski suffered direct harm as a result of the above
misappropriation of trade secrets, separate and distinct from the harm suffered by the
corporation, in that Defendants wrongfully terminated his employment and demanded

that he transfer his shares in Madison Mechanical OS Corp. back to the corporation

for no consideration.

260. Furthermore, unlike all of the other shareholders of Madison Mechanical
OS Corp., Mr. Buczkowski is not a member of Madison Mechanical Contracting, LLC.

WHEREFORE, the Plaintiff demands:

a, That the Court enter judgment in favor of Plaintiff and against

Defendants, and award damages in an amount exceeding $75,000;
b, That the Court order Defendants to provide a full accounting of all

financial dealings and transactions of Madison Mechanical OS Corp. from December

13, 2007 to the present; —

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Cc. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 18,
2007 to the present;

d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (j) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; Gi) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Corp.; and (iii) usurping corporate opportunities for themselves or Madison

Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or

Madison Mechanical OS Corp.;

e. That the Court issue a declaratory judgment that Defendants wrongfully

and improperly dissolved Madison Mechanical, Inc, and ordering that the corporation

be revived:

f. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and

expenses incurred in prosecuting this action; and

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g, That the Court award the Plaintiff such other and further relief as in law
and justice he may be entitled to receive.

Count 12: Unfair Competition — Misappropriation of Trade Secrets

(Derivative Action on Behalf of Madison Mechanical OS Corp.)
(Against Glenn A. Haslam, Gary Garofalo,
‘Richard Lombardo, Lawrence Kraemer, Richard Arnold,
and Madison Mechanical Contracting, LLC)

261, The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.

262. On or about August 20, 2015, Richard Arnold, Glenn Haslam, Gary
Garofalo, Richard Lombardo, and Lawrence Kraemer formed Madison Mechanical
Contracting, LLC.

263. Within months of its formation, Madison Mechanical Contracting, LLC
took over ongoing projects that were previously being performed by Madison
Mechanical, Inc. and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members.

264. Madison Mechanical Contracting, LLC assumed ongoing projects under
subcontracts that were entered into by Madison Mechanical, Inc. Upon information
and belief, Madison Mechanical Contracting, LLC is using the trade name, Madison
Mechanical, Inc.

265. Madison Mechanical Contracting, LLC misappropriated the name,

goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical, Inc,

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266. Defendants diverted corporate opportunities for new projects from
Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison Mechanical
Contracting, LLC.

267. Defendants used knowledge and information obtained through their
positions as shareholders, officers, directors, and/or employees of Madison Mechanical

Os Corp. to compete with Madison Mechanical OS Corp. and divert corporate
opportunities from Madison Mechanical OS Corp. for the benefit of Madison
Mechanical Contracting, LLC and its members.

268. In doing so, Defendants improperly acquired trade secrets that were
developed and/or possessed by Madison Mechanical OS Corp. and used those trade
secrets to the benefit of themselves individually and Madison Mechanical Contracting,
LLC, and to the detriment of Madison Mechanical OS Corp.

269, Defendants knew or should have known that the.trade secrets were
acquired by improper means. |

270. Madison Mechanical OS Corp. suffered, and continues to suffer, harm
due to the misappropriation of its trade secrets.

271, Any demand by Mr. Buczkowski on Madison Mechanical OS Corp. to
take legal action against Mr. Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr.
Arnold, and Madison Mechanical Contracting, LLC would be futile because a majority
of the directors and shareholders of the corporation are so personally and directly

conflicted or committed to the decisions in dispute that they cannot reasonably be

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expected to respond to a demand in good faith and within the ambit of the business
judgment rule.

272. Nevertheless, on May 10, 2016, Mr. Buczkowski informed Mr. Haslam,
the Director and President of the corporation, of the above unfair competition and
misappropriation of trade secrets, and requested that the corporation take legal action
against Mr. Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr. Arnold, and

Madison Mechanical Contracting, LLC.

273. By letter from counsel on May 13, 2016, Mr. Haslam on behalf of
Madison Mechanical OS Corporation informed Mr. Buczkowski that his demand “has
been considered by the Corporation’s Board and rejected as baseless.”

WHEREFORE, the Plaintiff demands:

a. That the Court enter judgment in favor of Plaintiff and against

Defendants, and award damages in an amount exceeding $75,000;
b. That the Court order Defendants to provide a full accounting of all .

financial dealings and transactions of Madison Mechanical OS Corp. from December

18, 2007 to the present;

c. That the Court order Defendants to provide a full accounting of all

financial] dealings and transactions of Madison Mechanical, Inc. from December 13,

2007 to the present;

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d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

e. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; (ii) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Corp.; and (iii) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or
Madison Mechanical OS Corp.;

e. That the Court issue a declaratory judgement that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation
be revived;

f. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and
expenses incurred in prosecuting this action; and

g. That the Court award the Plaintiff such other and further relief as in law
and justice he may be entitled to receive.

Count 18: Constructive Trust

(Against Glenn A. Haslam, Gary Garofalo,
Richard Lombardo, Lawrence Kraemer, Richard Arnold,

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and Madison Mechanical Contracting, LLC)

274, The Plaintiff incorporates by reference the substance of ali the foregoing
factual] allegations.

275. Onor about August 20, 2015, Richard Arnold, Glenn Haslam, Gary
Garofalo, Richard Lombardo, and Lawrence Kraemer formed Madison Mechanical
Contracting, LLC.

276. Within months of its formation, Madison Mechanical Contracting, LLC
took over ongoing projects that were previously being performed by Madison
Mechanical, Inc. and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members.

277. Madison Mechanical Contracting, LLC assumed ongoing projects under
subcontracts that were entered into by Madison Mechanical, Inc. Upon information
and belief, Madison Mechanical Contracting, LLC is using the trade name, Madison
Mechanical, Inc.

278. Madison Mechanical Contracting, LLC misappropriated the name,
goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical, Inc.

279. Defendants diverted corporate opportunities for new projects from
Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison Mechanical
Contracting, LLC.

280. Defendants used knowledge and information obtained through their

positions as shareholders, officers, directors, and/or employees of Madison Mechanical

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OS Corp. to compete with Madison Mechanical OS Corp. and divert corporate
opportunities from Madison Mechanical OS Corp. for the benefit of Madison
Mechanical Contracting, LLC and its members.

281. In doing so, Defendants improperly acquired trade secrets that were
developed and/or possessed by Madison Mechanical OS Corp. and used those trade
secrets to the benefit of themselves individually and Madison Mechanical Contracting,
LLC, and to the detriment of Madison Mechanical OS Corp.

282, Thus, Mr. Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr.
Arnold, and Madison Mechanical Contracting, LLC acquired property in which
Madison Mechanical OS Corp. and Mr. Buczkowski have a good and equitable interest
and claim.

288. Defendants acquired this property through fraud, misrepresentation,

and/or other improper methods,

284. Furthermore, Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr.
Kraemer acquired this property in breach of their fiduciary duties to, and confidential
relationship with, Madison Mechanical OS Corp. and Mr. Buczkowski.

285. Defendants have been unjustly enriched by wrongfully misappropriating
the name, goodwill, assets, records, trade secrets, accounts receivable, and corporate -
opportunities of Madison Mechanical OS Corp.

286. Mr. Buczkowski suffered direct harm as a result of the above unjust

enrichment, separate and distinct from the harm suffered by the corporation, in that

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Defendants wrongfully terminated his employment and demanded that he transfer

his shares in Madison Mechanical OS Corp. back to the corporation for no

consideration.

287. Furthermore, unlike all of the other shareholders of Madison Mechanical
OS Corp., Mr. Buczkowski is not a member of Madison Mechanical Contracting, LLC.

WHEREFORE, the Plaintiff demands:

a. That the Court charge upon Defendants a constructive trust consisting of
the name, goodwill, assets, records, trade secrets, accounts receivable, and any
revenue they wrongfully acquired from Madison Mechanical OS Corp., and order
Defendants to convey this property back to Madison Mechanical OS Corp.;

b. That the Court enter judgment in favor of Plaintiff and against
Defendants, and award damages in an amount exceeding $75,000;

Cc. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical OS Corp. from December
18, 2007 to the present;

d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 13, .
2007 to the present;

e. That the Court order Defendants to provide a full accounting of all

financial dealings and transactions of Madison Mechanical Contracting, LLC from

August 20, 20165 to the present;

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f. That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Inc. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; (1) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Corp.; and Git) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that-rightfully belong to Madison Mechanical, Inc. or
Madison Mechanical OS Corp.;

g. That the Court issue a declaratory judgment that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation
be revived:

h. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and
expenses incurred in prosecuting this action; and

i. That the Court award the Plaintiff such other and further relief as in law
and justice he may be entitled to receive.

Count 14: Constructive Trust
(Derivative Action on Behalf of Madison Mechanical OS Corp.)
(Against Glenn A. Haslam, Gary Garofalo,

Richard Lombardo, Lawrence Kraemer, Richard Arnold,
and Madison Mechanical Contracting, LLC)

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288. The Plaintiff incorporates by reference the substance of all the foregoing
factual allegations.

288. On or about August 20, 2015, Richard Arnold, Glenn Haslam, Gary
Garofalo, Richard Lombardo, and Lawrence Kraemer formed Madison Mechanical
Contracting, LLC.

290. Within months of its formation, Madison Mechanical Contracting, LLC
took over ongoing projects that were previously being performed by Madison
Mechanical, Inc. and began performing the projects for the benefit of Madison
Mechanical Contracting, LLC and its members.

291, Madison Mechanical Contracting, LLC assumed ongoing projects under
subcontracts that were entered into by Madison Mechanical, Inc. Upon information
and belief, Madison Mechanical Contracting, LLC is using the trade name, Madison
Mechanical, Inc. |

292. Madison Mechanical Contracting, LLC misappropriated the name,
goodwill, assets, trade secrets, and accounts receivable of Madison Mechanical, Inc.

293. Defendants diverted corporate opportunities for new projects from
Madison Mechanical, Inc. and Madison Mechanical OS Corp. to Madison Mechanical
Contracting, LLC. |

294. Defendants used knowledge and information obtained through their
positions as shareholders, officers, directors, and/or employees of Madison Mechanical

OS Corp. to compete with Madison Mechanical OS Corp. and divert corporate

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opportunities from Madison Mechanical OS Corp. for the benefit of Madison
Mechanical Contracting, LLC and its members.

295, In doing so, Defendants improperly acquired trade secrets that were
developed and/or possessed by Madison Mechanical OS Corp. and used those trade
secrets to the benefit of themselves individually and Madison Mechanical Contracting,
LLC, and to the detriment of Madison Mechanical OS Corp.

296. Thus, Mr. Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr.
Arnold, and Madison Mechanical Contracting, LLC acquired property in which
Madison Mechanical OS Corp. and Mr. Buczkowski have a good and equitable interest
and claim.

297. Defendants acquired this property through fraud, misrepresentation,
and/or other improper methods.

298. Furthermore, Mr. Haslam, Mr. Garofalo, Mr. Lombardo, and Mr.
Kraemer acquired this property in breach of their fiduciary duties to, and confidential
relationship with, Madison Mechanical OS Corp. and Mr. Buczkowski.

299. Defendants have been unjustly enriched by wrongfully misappropriating
the name, goodwill, assets, records, trade secrets, accounts receivable, and corporate
opportunities of Madison Mechanical OS Corp. |

300. Any demand by Mr. Buczkowski on Madison Mechanical OS Corp. to
take legal action against Mr. Haslam, Mr. Garofalo, Mr. Lombardo, Mr. Kraemer, Mr.

Arnold, and Madison Mechanical Contracting, LLC would be futile because a majority

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of the directors and shareholders of the corporation are so personally and directly
conflicted or committed to the decisions in dispute that they cannot reasonably be
expected to respond to a demand in good faith and within the ambit of the business
judgment rule.

301. Nevertheless, on May 10, 2016, Mr. Buczkowski informed Mr. Haslam,
the Director and President of the corporation, of the above actions and requested that
the corporation take legal action against Mr. Haslam, Mr. Garofalo, Mr. Lombardo,
Mr. Kraemer, Mr. Arnold, and Madison Mechanical Contracting, LLC.

302. By letter from counsel on May 13, 2016, Mr. Haslam on behalf of
Madison Mechanical OS Corporation informed Mr. Buczkowski that his demand “has
been considered by the Corporation’s Board and rejected as baseless.”

WHEREFORE, the Plaintiff demands:

a. That the Court charge upon Defendants a constructive trust consisting of
the name, goodwill, assets, records, trade secrets, accounts receivable, and any
revenue they wrongfully acquired from Madison Mechanical OS Corp., and order
Defendants to convey this property back to Madison Mechanical OS Corp.;.

b. That the Court enter judgment in favor of Plaintiff and against
Defendants, and award damages in an amount exceeding $75,000;

¢. That the Court order Defendants to provide a full accounting of all

financial dealings and transactions of Madison Mechanical OS Corp. from December

18, 2007 to the present;

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d. That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical, Inc. from December 18,
2007 to the present;

e, That the Court order Defendants to provide a full accounting of all
financial dealings and transactions of Madison Mechanical Contracting, LLC from
August 20, 2015 to the present;

f, That the Court enter a preliminary and permanent injunction
prohibiting Defendants from (i) using the name, goodwill, trade secrets, or assets of
Madison Mechanical, Ine. or Madison Mechanical OS Corp. for the benefit of
themselves individually or Madison Mechanical Contracting, LLC; Gi) performing
services for the benefit of Madison Mechanical Contracting, LLC under subcontracts —
entered into by or for the benefit of Madison Mechanical, Inc. or Madison Mechanical
OS Coxp.; and (iii) usurping corporate opportunities for themselves or Madison
Mechanical Contracting, LLC that rightfully belong to Madison Mechanical, Inc. or
Madison Mechanical OS Corp.;

g. That the Court issue a declaratory judgment that Defendants wrongfully
and improperly dissolved Madison Mechanical, Inc. and ordering that the corporation Lo
be revived;

h. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and

expenses incurred in prosecuting this action; and

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h. That the Court award Plaintiff his reasonable attorneys’ fees, costs, and

expenses incurred in prosecuting this action; and

i, That the Court award the Plaintiff such other and further relief as in law

and justice he may be entitled to receive.
JURY DEMAND
COMES NOW the Plaintiff, Robert Buczkowski, by and through counsel, and

demands a trial by jury as to all issues triable by jury in this matter.

 

   

Respectfully submitted,
Pim a F, Maloney ‘
‘Joséph M. Creed

Joseph, Greenwald & Laake, P.A.
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Greenbelt, Maryland 20770

. (801) 220-2200 (phone).
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Counsel for Plaintiff

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IN THE CIRCUIT COURT FOR BALTIMORE COUNTY, MARYLAND

MADISON MECHANICAL, INC.,
ET AL.,

Plaintiffs

v. Case No. 03-C-17-003743

THE HARTFORD FINANCIAL
PRODUCTS, ET AL.,

Defendants.

 

 

ORDER
UPON CONSIDERATION of Defendant Robert Buczkowski’s Motion to
Dismiss Complaint or, in the Alternative, Motion to Stay this Action, any opposition

thereto, it is this day of , 2017, by the Circuit Court for Baltimore

 

County, Maryland,
‘ORDERED that Defendant Robert Buczkowski’s motion to dismiss be and
hereby is GRANTED; and it is further
ORDERED that the Complaint be and hereby is DISMISSED; or,
alternatively, |
ORDERED that the above-captioned action is STAYED pending the
resolution of Buczkowski vu. Madison Mechanical Contracting, LLC, et al., Case No.

03-C-16-005782 (Cir. Ct. for Baltimore Cnty.).

 

Judge,
Circuit Court for Baltimore County

Bt
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